                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                      Document      Page 1 of 735
                                                                                    Form 1                                                                                Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                              §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                 Claims Bar Date:            07/12/13

                                1                                          2                         3                          4                   5                     6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

 1       Base, Shipping tray dieholder                                  166,905.98                           0.00                                 168,626.13                     FA

 2       Barclays, Lakin Rose Limited Re Nan Acct. No. XX                        0.00                        0.00                                         0.00                 0.00

 3       JPMorgan Chase Bank, N.A., 10 S. Dearborn St., C                  1,259.00                          0.00                                         0.00                 0.00

 4       FC Skokie LP, PO Box 72502, Cleveland, OH 44192                  38,636.00                          0.00                                         0.00                 0.00

 5       Hacienda Investors, c/o Cooper and Company, 718                   6,381.00                          0.00                                         0.00                 0.00

 6       PucoTech - SIV-000267/SI-000271                                   2,142.00                          0.00                                         0.00                 0.00

 7       PucoTech - SIV-000276/SI-000280                                   2,142.00                          0.00                                         0.00                 0.00
 8       PucoTech - SIV-000612/SI-000616                                   1,617.25                          0.00                                         0.00                 0.00

 9       PucoTech - SIV-000613/SI-000617                                   4,063.05                          0.00                                         0.00                 0.00

10       PucoTech - SIV-000614/SI-000618                                   4,063.05                          0.00                                         0.00                 0.00

11       PucoTech - SIV-000615/SI-000619                                   4,063.05                          0.00                                         0.00                 0.00

12       Dakota County Technical College - SIV-000619/SI-                      815.00                        0.00                                       815.00                   FA

13       Quantum Design Japan - SIV-000633/SI-000637                           385.00                        0.00                                         0.00                 0.00

14       University of Alabama-Birmingham - 50014_022/400                 Unknown                            0.00                                         0.00                 0.00

15       Karlsruhe Institute of Technology - 50024_022/40                 Unknown                            0.00                                         0.00                 0.00

16       West Virginia University - SIV-000427/SI-000431                       988.65                        0.00                                         0.00                 0.00

17       LOT Oriel AG - SIV-000621/SI-000625                               1,312.50                          0.00                                         0.00                 0.00

18       Solid State Physics Laboratory - SIV-000555/SI-0                 38,146.00                          0.00                                         0.00                 0.00

19       Exsor Com. e Imp. de Equipamentos de Precis?o Lt                 15,009.00                          0.00                                         0.00                 0.00


                                                                                                                                                Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                      Document      Page 2 of 735
                                                                                    Form 1                                                                                Page: 2

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                              §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                 Claims Bar Date:            07/12/13

                                1                                          2                         3                          4                   5                     6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

20       Oakton Community College - SIV-000611/SI-000615                  59,500.00                          0.00                                  59,500.00                     FA

21       Oakton Community College - SIV-000635/SI-000639                   3,100.00                          0.00                                    3,100.00                    FA

22       Cambridge Bioscience - SIV-000568/SI-000572                           356.80                        0.00                                        0.00                  0.00

23       Patent 7,060,977 - Nanolithographic Calibaration                 Unknown                            0.00                                        0.00                  0.00

24       Patent 8,256,017 - Using Optical Deflection of C                 Unknown                            0.00                                        0.00                  0.00

25       Patent 7,279,046 - Method and Appartus for Align                 Unknown                            0.00                                        0.00                  0.00

26       Patent TW I266339 - Method and Appartus for Alig                 Unknown                            0.00                                        0.00                  0.00
27       Patent 8,043,652 - Method and Appartus for Align                 Unknown                            0.00                                        0.00                  0.00

28       Patent 7,034,854 - Methods and Apparatus for Ink                 Unknown                            0.00                                        0.00                  0.00

29       Patent 7,762,638 - Methods and Apparatus for Ink                 Unknown                            0.00                                        0.00                  0.00

30       Patent US 2010/0242765 A1 - Methods and Apparatu                 Unknown                            0.00                                        0.00                  0.00

31       Patent 61/659XXX - Method and Apparatus for Inte                 Unknown                            0.00                                        0.00                  0.00

32       Patent 8,017,191 - Fast Dip for Reduced Wicking                  Unknown                            0.00                                        0.00                  0.00

33       Patent 7,524,534 - MethodsUtilizing Scanning Pro                 Unknown                            0.00                                        0.00                  0.00

34       Patent US 2011/0014436 A1 - Methods for Forming                  Unknown                            0.00                                        0.00                  0.00

35       Patent WO 2011/008781 A1 - Methods for Forming H                 Unknown                            0.00                                        0.00                  0.00

36       Patent EP 107346XXX - Methods for Forming Hydoge                 Unknown                            0.00                                        0.00                  0.00

37       Patent JP 2012-520XXX - Methods for Forming Hydo                 Unknown                            0.00                                        0.00                  0.00

38       Patent KR 10-2012-7003XXX - Methods for Forming                  Unknown                            0.00                                        0.00                  0.00


                                                                                                                                                Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 3 of 735
                                                                                Form 1                                                                              Page: 3

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

39       Patent CA 2768XXX - Methods for Forming Hydogels             Unknown                          0.00                                        0.00                  0.00

40       Patent AU 2010273XXX - Methods for Forming Hydog             Unknown                          0.00                                        0.00                  0.00

41       Patent US 2010/0221505 A1 - Large Area, Homogene             Unknown                          0.00                                        0.00                  0.00

42       Patent WO 2010/085769 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

43       Patent EP EP2389614 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

44       Patent JP 2011-548XXX - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

45       Patent KR 10-2011-124214 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00
46       Patent CA - Large Area, Homogeneous Array Fabric             Unknown                          0.00                                        0.00                  0.00

47       Patent AU 10206594A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

48       Patent SG 0172852A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

49       Patent WO 2011088379 A1 - Patterned Surfaces and             Unknown                          0.00                                        0.00                  0.00

50       Patent 13/522XXX - Material and Methods for Cell             Unknown                          0.00                                        0.00                  0.00

51       Patent US 20120135876A1 - High-Throughput Assay              Unknown                          0.00                                        0.00                  0.00

52       Patent WO2012061308A1 - High-Throughput Assay Me             Unknown                          0.00                                        0.00                  0.00

53       Patent TW 100139XXX - High-Throughput Assay Meth             Unknown                          0.00                                        0.00                  0.00

54       Patent US 2012-0108461 - High-Throughput Slide P             Unknown                          0.00                                        0.00                  0.00

55       Patent WO2012061314A1 - High-Throughput Slide Pr             Unknown                          0.00                                        0.00                  0.00

56       Patent TW 100139XXX - High-Throughput Slide Proc             Unknown                          0.00                                        0.00                  0.00

57       Patent US 2011/0277193 - Sensors and Biosensors              Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document      Page 4 of 735
                                                                                    Form 1                                                                              Page: 4

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

58       Patent WO 2011/133663A1 - Sensors and Biosensors                 Unknown                          0.00                                        0.00                  0.00

59       Patent TW 100113XXX - Sensors and Biosensors - F                 Unknown                          0.00                                        0.00                  0.00

60       Patent EP - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

61       Patent JP - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

62       Patent KR - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

63       Patent CA - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

64       Patent AU - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00
65       Patent US 2012/0088694 - Single Live Cell Assay                  Unknown                          0.00                                        0.00                  0.00

66       Patent WO 2012/047808- Single Live Cell Assay -                  Unknown                          0.00                                        0.00                  0.00

67       Patent US 2012/0309647 - Patterning and Cellular                 Unknown                          0.00                                        0.00                  0.00

68       Patent WO 2012/166794 - Patterning and Cellular                  Unknown                          0.00                                        0.00                  0.00

69       Patent 13/624,XXX - Accurate Quantitation of Bio                 Unknown                          0.00                                        0.00                  0.00

70       Patent PCT/US12/56XXX - Accurate Quantitation of                 Unknown                          0.00                                        0.00                  0.00

71       Patent TW 101134XXX - Accurate Quantitation of B                 Unknown                          0.00                                        0.00                  0.00

72       Patent 61/724,XXX - On Chip Enzyme Activity Assa                 Unknown                          0.00                                        0.00                  0.00

73       Patent 7,005,378 - Process for Fabricating Condu                 Unknown                          0.00                                        0.00                  0.00

74       Patent WO 05 038529 A3 - Process for Fabricating                 Unknown                          0.00                                        0.00                  0.00

75       Patent KR XX-XXXXXXX - Process for Fabricating C                 Unknown                          0.00                                        0.00                  0.00

76       Patent EP 1665360 A2 - Process for Fabricating C                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 5 of 735
                                                                                Form 1                                                                              Page: 5

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

77       Patent JP 4740850 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

78       Patent CN ZL 8003167.4- Process for Fabricating              Unknown                          0.00                                        0.00                  0.00

79       Patent CA 2537023 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

80       Patent HK 1097954 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

81       Patent US 2009/0181172 A1 - Dip-Pen Nanolithogra             Unknown                          0.00                                        0.00                  0.00

82       Patent WO 2009/052120 A1- Lithography of Nanopar             Unknown                          0.00                                        0.00                  0.00

83       Patent TW 200934833 - Lithography of Nanoparticl             Unknown                          0.00                                        0.00                  0.00
84       Patent EP 08839215.4- Lithography of Nanoparticl             Unknown                          0.00                                        0.00                  0.00

85       Patent JP 2011-502183- Lithography of Nanopartic             Unknown                          0.00                                        0.00                  0.00

86       Patent KR 10-2010-700XXX- Lithography of Nanopar             Unknown                          0.00                                        0.00                  0.00

87       Patent CA 2701XXX- Lithography of Nanoparticle I             Unknown                          0.00                                        0.00                  0.00

88       Patent AU 2008312XXX - Lithography of Nanopartic             Unknown                          0.00                                        0.00                  0.00

89       Patent US 2010/0288543 - Conducting Lines, Nanop             Unknown                          0.00                                        0.00                  0.00

90       Patent WO 2010/120809 - Conducting Lines, Nanopa             Unknown                          0.00                                        0.00                  0.00

91       Patent EP 2419793 - Conducting Lines, Nanopartic             Unknown                          0.00                                        0.00                  0.00

92       Patent JP 2012-506XXX - Conducting Lines, Nanopa             Unknown                          0.00                                        0.00                  0.00

93       Patent KR 10-2012-133322 - Conducting Lines, Nan             Unknown                          0.00                                        0.00                  0.00

94       Patent CA 2754XXX - Conducting Lines, Nanopartic             Unknown                          0.00                                        0.00                  0.00

95       Patent AU 2010236XXX - Conducting Lines, Nanopar             Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document      Page 6 of 735
                                                                                     Form 1                                                                              Page: 6

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

96       Patent 7,691,541 - Methods for additive repair o                  Unknown                          0.00                                        0.00                  0.00

97       Patent WO 2004/038504 A2 - Nanometer-scale engin                  Unknown                          0.00                                        0.00                  0.00

98       Patent KR XX-XXXXXXX - Nanometer-scale engineere                  Unknown                          0.00                                        0.00                  0.00

99       Patent 8,071,168 - Micrometric Direct-Write Meth                  Unknown                          0.00                                        0.00                  0.00

100      Patent WO 2005/084092A2 - Micrometric Direct-Wri                  Unknown                          0.00                                        0.00                  0.00

101      Patent TW 200604692 - Micrometric Direct-Write M                  Unknown                          0.00                                        0.00                  0.00

102      Patent KR XX-XXXXXXX - Micrometric Direct-Write                   Unknown                          0.00                                        0.00                  0.00
103      Patent CN 101002513 - Micrometric Direct-Write M                  Unknown                          0.00                                        0.00                  0.00

104      Patent JP 2007-500XXX - Micrometric Direct-Write                  Unknown                          0.00                                        0.00                  0.00

105      Patent EP 057237XX.X - Micrometric Direct-Write                   Unknown                          0.00                                        0.00                  0.00

106      Patent CA 2557472 - Micrometric Direct-Write Met                  Unknown                          0.00                                        0.00                  0.00

107      Patent HK 1110168A - Micrometric Direct-Write Me                  Unknown                          0.00                                        0.00                  0.00

108      Patent US 2012010034A1 - Micrometric Direct-Writ                  Unknown                          0.00                                        0.00                  0.00

109      Patent WO 2011/002806A1 - Advanced Photomask Rep                  Unknown                          0.00                                        0.00                  0.00

110      Patent US 20120164564 A1 - Advanced Photomask Re                  Unknown                          0.00                                        0.00                  0.00

111      Patent EP 2449427 - Advanced Photomask Repair -                   Unknown                          0.00                                        0.00                  0.00

112      Patent JP 2012-517XXX - Advanced Photomask Repai                  Unknown                          0.00                                        0.00                  0.00

113      Patent KR 10-2012-104966 - Advanced Photomask Re                  Unknown                          0.00                                        0.00                  0.00

114      Patent CA 2766XXX - Advanced Photomask Repair -                   Unknown                          0.00                                        0.00                  0.00


                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document      Page 7 of 735
                                                                                    Form 1                                                                              Page: 7

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

115      Patent AU 2010266XXX - Advanced Photomask Repair                 Unknown                          0.00                                        0.00                  0.00

116      Patent 8,261,662 - Methods To Manufacture Enhanc                 Unknown                          0.00                                        0.00                  0.00

117      Patent 8,205,268 - Cantilever and Pivoting Actua                 Unknown                          0.00                                        0.00                  0.00

118      Patent WO 2009/070622 A2 - Cantilever and Pivoti                 Unknown                          0.00                                        0.00                  0.00

119      Patent EP 2227718A2 - Cantilever and Pivoting Ac                 Unknown                          0.00                                        0.00                  0.00

120      Patent JP 2011-505000 - Cantilever and Pivoting                  Unknown                          0.00                                        0.00                  0.00

121      Patent KR 2010101573 - Cantilever and Pivoting A                 Unknown                          0.00                                        0.00                  0.00
122      Patent CA 2705XXX - Cantilever and Pivoting Actu                 Unknown                          0.00                                        0.00                  0.00

123      Patent AU 8329813AA - Cantilever and Pivoting Ac                 Unknown                          0.00                                        0.00                  0.00

124      Patent 7,199,305 - Protosubstrates - Issued, Apr                 Unknown                          0.00                                        0.00                  0.00

125      Patent TW 1279392 - Protosubstrates - Issued, Ap                 Unknown                          0.00                                        0.00                  0.00

126      Patent 7,491,422 - Direct-Write Nanolithography                  Unknown                          0.00                                        0.00                  0.00

127      Patent 8,220,317 - Massively Parallel Lithograph                 Unknown                          0.00                                        0.00                  0.00

128      Patent WO 2007/126689 - Massively Parallel Litho                 Unknown                          0.00                                        0.00                  0.00

129      Patent TW 200804173 - Massively Parallel Lithogr                 Unknown                          0.00                                        0.00                  0.00

130      Patent 8,192,794 - Massively Parallel Lithograph                 Unknown                          0.00                                        0.00                  0.00

131      Patent EP 2013662 - Massively Parallel Lithograp                 Unknown                          0.00                                        0.00                  0.00

132      Patent JP 2009-50XXX - Massively Parallel Lithog                 Unknown                          0.00                                        0.00                  0.00

133      Patent SG 200807XXX - Massively Parallel Lithogr                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document      Page 8 of 735
                                                                                    Form 1                                                                              Page: 8

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

134      Patent US 2012/0297509 A1 - Massively Parallel L                 Unknown                          0.00                                        0.00                  0.00

135      Patent US 2008/0309688 - Nanolithigraphy With Us                 Unknown                          0.00                                        0.00                  0.00

136      Patent WO 2008/112713 A1 - Nanolithigraphy With                  Unknown                          0.00                                        0.00                  0.00

137      Patent TW 2008-43867 - Nanolithigraphy With Use                  Unknown                          0.00                                        0.00                  0.00

138      Patent EP 2130093A1 - Nanolithigraphy With Use o                 Unknown                          0.00                                        0.00                  0.00

139      Patent JP 2010-521325 - Nanolithigraphy With Use                 Unknown                          0.00                                        0.00                  0.00

140      Patent KR 10015321 - Nanolithigraphy With Use of                 Unknown                          0.00                                        0.00                  0.00
141      Patent CA 2678XXX - Nanolithigraphy With Use of                  Unknown                          0.00                                        0.00                  0.00

142      Patent AU 8225XXX - Nanolithigraphy With Use of                  Unknown                          0.00                                        0.00                  0.00

143      Patent 8,256,018 - Array and Cantilever Array Le                 Unknown                          0.00                                        0.00                  0.00

144      Patent WO/2009/099619 - Cantilever Array Levelin                 Unknown                          0.00                                        0.00                  0.00

145      Patent EP 2250533A2 - Array and Cantilever Array                 Unknown                          0.00                                        0.00                  0.00

146      Patent JP 2011-513945 - Cantilever Array Levelin                 Unknown                          0.00                                        0.00                  0.00

147      Patent KR 10-2010-121634 - Array and Cantilever                  Unknown                          0.00                                        0.00                  0.00

148      Patent CA 2714XXX - Array and Cantilever Array L                 Unknown                          0.00                                        0.00                  0.00

149      Patent AU 2009210XXX - Array and Cantilever Arra                 Unknown                          0.00                                        0.00                  0.00

150      Patent US 2009-0023607 A1 - Compact Nanofabricat                 Unknown                          0.00                                        0.00                  0.00

151      Patent WO 2008/141048 A1 - Compact Nanofabricati                 Unknown                          0.00                                        0.00                  0.00

152      Patent TW 200902438 - Compact Nanofabrication Ap                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 9 of 735
                                                                                Form 1                                                                              Page: 9

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

153      Patent EP 2156246 A1 - Compact Nanofabrication A             Unknown                          0.00                                        0.00                  0.00

154      Patent JP 2010-527441 - Compact Nanofabrication              Unknown                          0.00                                        0.00                  0.00

155      Patent CA 2681XXX - Compact Nanofabrication Appa             Unknown                          0.00                                        0.00                  0.00

156      Patent AU 2008251XXX - Compact Nanofabrication A             Unknown                          0.00                                        0.00                  0.00

157      Patent US 2011/0195850 - Compact Nanofabrication             Unknown                          0.00                                        0.00                  0.00

158      Patent US 2010/0229264A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

159      Patent WO 2010/085767 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00
160      Patent EP 2389613A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

161      Patent JP 2012-515559 - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

162      Patent KR 10-2011-119665 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

163      Patent CA 2750XXX - Large Area, Homogeneous Arra             Unknown                          0.00                                        0.00                  0.00

164      Patent AU 10206592A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

165      Patent SG 0172854A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

166      Patent 8,214,916 - Large Area, Homogeneous Array             Unknown                          0.00                                        0.00                  0.00

167      Patent US 2010/0227063 A1 - Large Area, Homogene             Unknown                          0.00                                        0.00                  0.00

168      Patent WO 2010/085770 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

169      Patent EP 2389615A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

170      Patent JP 2012-516064 - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

171      Patent KR 10-2011-119666 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 10 of 735
                                                                                Form 1                                                                             Page: 10

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

172      Patent CA 27504XXX - Large Area, Homogeneous Arr             Unknown                          0.00                                        0.00                  0.00

173      Patent AU 10206595A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

174      Patent SG 0172853A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

175      Patent US 2010/0256824 A1 - Environmental Contro             Unknown                          0.00                                        0.00                  0.00

176      Patent WO 2010/102231 A1 - Environmental Control             Unknown                          0.00                                        0.00                  0.00

177      Patent EP 107077XXX - Environmental Control Devi             Unknown                          0.00                                        0.00                  0.00

178      Patent JP 2012-519825 - Environmental Control De             Unknown                          0.00                                        0.00                  0.00
179      Patent KR 10-2011-135392 - Environmental Control             Unknown                          0.00                                        0.00                  0.00

180      Patent CA 2753XXX - Environmental Control Device             Unknown                          0.00                                        0.00                  0.00

181      Patent AU 2010221XXX - Environmental Control Dev             Unknown                          0.00                                        0.00                  0.00

182      Patent 8,261,368 - Nanomanufacturing Devices and             Unknown                          0.00                                        0.00                  0.00

183      Patent US 2010/0100989 A1 - Piezoresistor Height             Unknown                          0.00                                        0.00                  0.00

184      Patent WO2009/140441A2 - Piezoresistor Height Se             Unknown                          0.00                                        0.00                  0.00

185      Patent EP 2291849 A2 - Piezoresistor Height Sens             Unknown                          0.00                                        0.00                  0.00

186      Patent JP 2011-523047 - Piezoresistor Height Sen             Unknown                          0.00                                        0.00                  0.00

187      Patent US 2010/0147820 A1 - Heated Cantilever -              Unknown                          0.00                                        0.00                  0.00

188      Patent US 2010/0235954 A1 - Dual-Tip Cantilever              Unknown                          0.00                                        0.00                  0.00

189      Patent US 2011/0014378 A1 - Leveling Devices and             Unknown                          0.00                                        0.00                  0.00

190      Patent WO 2011/009094A2 - Leveling Devices and M             Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 11 of 735
                                                                                    Form 1                                                                             Page: 11

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

191      Patent DE 20 2010 013706.3 - Leveling Devices an                 Unknown                          0.00                                        0.00                  0.00

192      Patent EP 2454635 - Leveling Devices and Methods                 Unknown                          0.00                                        0.00                  0.00

193      Patent JP 2012-520XXX- Leveling Devices and Meth                 Unknown                          0.00                                        0.00                  0.00

194      Patent KR 10-2012-7000XXX- Leveling Devices and                  Unknown                          0.00                                        0.00                  0.00

195      Patent CA 2763XXX- Leveling Devices and Methods                  Unknown                          0.00                                        0.00                  0.00

196      Patent AU 2010274XXX- Leveling Devices and Metho                 Unknown                          0.00                                        0.00                  0.00

197      Patent US 2011/0268883 - Force-Curve Analysis Me                 Unknown                          0.00                                        0.00                  0.00
198      Patent WO 2011/136848 - Force-Curve Analysis Met                 Unknown                          0.00                                        0.00                  0.00

199      Patent TW 201209707 - Force-Curve Analysis Metho                 Unknown                          0.00                                        0.00                  0.00

200      Patent EP - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

201      Patent JP - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

202      Patent KR10-2012-7030XXX - Force-Curve Analysis                  Unknown                          0.00                                        0.00                  0.00

203      Patent CA - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

204      Patent AU - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

205      Patent US 2011-026882 - Ball-Spacer Method for P                 Unknown                          0.00                                        0.00                  0.00

206      Patent WO 2011/139337 - Ball-Spacer Method for P                 Unknown                          0.00                                        0.00                  0.00

207      Patent TW 201200877 - Ball-Spacer Method for Pla                 Unknown                          0.00                                        0.00                  0.00

208      Patent EP - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

209      Patent JP - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 12 of 735
                                                                                    Form 1                                                                             Page: 12

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

210      Patent KR - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

211      Patent CA - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

212      Patent AU - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

213      Patent US 2011/0274839 - Improved Cantilevers fo                 Unknown                          0.00                                        0.00                  0.00

214      Patent WO 2011130446 - Improved Cantilevers for                  Unknown                          0.00                                        0.00                  0.00

215      Patent TW 201200363 - Improved Cantilevers for D                 Unknown                          0.00                                        0.00                  0.00

216      Patent EP - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00
217      Patent JP - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

218      Patent KR - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

219      Patent CN - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

220      Patent HK - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

221      Patent SG - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

222      Patent CA - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

223      Patent AU - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

224      Patent IL - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

225      Patent US 2012/0295030 - High-Performance, High-                 Unknown                          0.00                                        0.00                  0.00

226      Patent WO 2012/158838 - High-Performance, High-D                 Unknown                          0.00                                        0.00                  0.00

227      Patent TW 201250845 - High-Performance, High-Den                 Unknown                          0.00                                        0.00                  0.00

228      Patent 61/619XXX - Methods for Fabricating High                  Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                    Document     Page 13 of 735
                                                                                  Form 1                                                                             Page: 13

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                             Claims Bar Date:            07/12/13

                                1                                        2                       3                          4                   5                     6

                       Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

229      Patent 61/550XXX - Octahedral and Pyramid-On_Pos               Unknown                          0.00                                        0.00                  0.00

230      Patent PCT/US2012/063XXX - Method and Apparatus                Unknown                          0.00                                        0.00                  0.00

231      Patent 8,235,302 - Identification Features - Iss               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


232      Patent US 2010/0297190 - Identification Features               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


233      Patent US 2010/0294927 - High-Throughput Inspect               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


234      Patent US 2010/0294147 - Apparatus and Methods                 Unknown                          0.00                                        0.00                    FA
          for Preparing Identification Features on Pharmaceutical

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 14 of 735
                                                                                Form 1                                                                             Page: 14

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         Compositions - Published, November 2010

         ;"THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


235      Patent US 2010/0297027 - Overt Authentication                Unknown                          0.00                                        0.00                    FA
           Features for Pharmaceutical Compositions and Objects
         and Methods of Fabrication and Verification Thereof -
         Published, November 2010

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


236      Patent 8,069,782 - Stamps with Micrometer and                Unknown                          0.00                                        0.00                    FA
          Nanometer Scale Features and Methods of Fabrication
         Thereof - Issued, Deccember 2011

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126          Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                     Document     Page 15 of 735
                                                                                   Form 1                                                                             Page: 15

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                           §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                              Claims Bar Date:            07/12/13

                                1                                         2                       3                          4                   5                     6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


237      Patent US 2012/0052415 - Stamps with Micrometer                 Unknown                          0.00                                        0.00                    FA

238      Patent US 2010-0297228 A1 - Universal Coating                   Unknown                          0.00                                        0.00                    FA
          for Imprinting Identification Features - Published,
         November 2010

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


239      Patent US 2011/0014131 A1 - Nano Molding Micron                 Unknown                          0.00                                        0.00                    FA
           and Nano Scale Features on Capsules for Brand
         Protection - Published, January 2011

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


240      Patent WO 2011/011333 A2 - Nano Molding Micron                  Unknown                          0.00                                        0.00                    FA


                                                                                                                                             Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 16 of 735
                                                                                    Form 1                                                                             Page: 16

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                                Claims Bar Date:            07/12/13

                               1                                           2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

           and Nano Scale Features on Capsules for Brand
         Protection - Published, January 2011

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


241      Patent US 2011/0182467 - Moire Pattern Generated                 Unknown                          0.00                                        0.00                  0.00

242      Patent WO 2011/094221 A2 - Moire Pattern                         Unknown                          0.00                                        0.00                    FA
          Generated by Angular Illumination of Surfaces -
         Published, August 2011

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


243      Patent EP 2528592 - Moire Pattern Generated by                   Unknown                          0.00                                        0.00                    FA
           Angular Illumination of Surfaces - Published,
         December 2012

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.

                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126          Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                     Document     Page 17 of 735
                                                                                   Form 1                                                                             Page: 17

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                           §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                              Claims Bar Date:            07/12/13

                                1                                         2                       3                          4                   5                     6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


244      Patent JP 2012-550XXX - Moire Pattern Generated                 Unknown                          0.00                                        0.00                    FA
           by Angular Illumination of Surfaces - Filed, January
         2011

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


245      Patent US 2012/0104660 A1 - Injection Molding of                Unknown                          0.00                                        0.00                    FA
           Micron and Nano Scale Features for Pharmaceutical
         Brand Protection - Published, May 2012

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


246      Patent WO 2012/058565 A2 - Injection Molding of                 Unknown                          0.00                                        0.00                    FA
          Micron and Nano Scale Features for Pharmaceutical

                                                                                                                                             Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 18 of 735
                                                                                Form 1                                                                             Page: 18

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         Brand Protection - Published, May 2012;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


247      Patent 13/462XXX - Molding of Micron and                     Unknown                          0.00                                        0.00                    FA
          Nanoscale Features - Filed, May 2012

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


248      Patent PCT/US12/36XXX - Molding of Micron and                Unknown                          0.00                                        0.00                    FA
          Nanoscale Features - Filed, May 2012

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "



                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126         Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                   Document     Page 19 of 735
                                                                                 Form 1                                                                             Page: 19

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                        2                       3                          4                   5                     6

                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

249      NANOENCRYTION Reg. No. 1,080,060 (class 41), Iss              Unknown                          0.00                                        0.00                  0.00

250      DIP PEN NANOLITHOGRAPHY Reg. No. 3104268,                     Unknown                          0.00                                        0.00                  0.00
         Issued

251      DPN Reg. No. 2998572, Issued 9/20/05                          Unknown                          0.00                                        0.00                  0.00

252      Reg. No. 3002309, Issued 9/27/05                              Unknown                          0.00                                        0.00                  0.00

253      NANOINK Reg. No. 3004683, Issued 10/4/05                      Unknown                          0.00                                        0.00                  0.00

254      nanolink, Reg. No. 3004682, Issued                            Unknown                          0.00                                        0.00                  0.00

255      NANOPROFESSOR Reg. No. 3,955,700 Issued 5/3/11                Unknown                          0.00                                        0.00                  0.00

256      NANOGUARDIAN Reg. No. 4,218,052 Issued 10/2/12                Unknown                          0.00                                        0.00                  0.00

257      NANOENCRYPTION App. No. 77/367984 Filed 1/9/08                Unknown                          0.00                                        0.00                  0.00

258      NANOGUARDIAN App. No. 77/539548 Filed 8/5/08                  Unknown                          0.00                                        0.00                  0.00

259      NANOSTEM App. No. 77/698465 Filed 3/25/09                     Unknown                          0.00                                        0.00                  0.00

260      NANOPROFESSOR App. No. 830723170 Filed 8/13/10                Unknown                          0.00                                        0.00                  0.00

261      NANOPROFESSOR Reg. No. 827,302 Issued 6/29/12                 Unknown                          0.00                                        0.00                  0.00

262      NANOENCRYPTION App. No. 1402106 Filed 7/4/08                  Unknown                          0.00                                        0.00                  0.00

263      nanoprofessor App. No. 8620434 filed 8/30/10                  Unknown                          0.00                                        0.00                  0.00

264      nanoprofessor App. No. 10.112374 Issued 2/11/11               Unknown                          0.00                                        0.00                  0.00

265      DPN Reg. No. 002839025 Issued 9/24/04                         Unknown                          0.00                                        0.00                  0.00

266      NANOINK Reg. No. 002839058 Issued 5/26/04                     Unknown                          0.00                                        0.00                  0.00



                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 20 of 735
                                                                                Form 1                                                                             Page: 20

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

267      NANOGUARDIAN Reg. No. 7583602 issued 10/7/09                 Unknown                          0.00                                        0.00                  0.00

268      NANOINK App. No. 246423 Filed 5/10/12                        Unknown                          0.00                                        0.00                  0.00

269      DPN Reg. No. 4832485 Issued 1/14/05                          Unknown                          0.00                                        0.00                  0.00

270      NANOINK Reg. No. 4796349 issued 8/20/04                      Unknown                          0.00                                        0.00                  0.00

271      NANOENCRYPTION Reg. No. 5211522 issued 3/6/09                Unknown                          0.00                                        0.00                  0.00

272      NANOGUARDIAN Reg. No. 5292422 Issued 1/8/10                  Unknown                          0.00                                        0.00                  0.00

273      NANOPROFESSOR Reg. No. 5373352 issued 12/3/10                Unknown                          0.00                                        0.00                  0.00
274      nanoprofessor Reg. No. 1,194,695 issued 12/15/10             Unknown                          0.00                                        0.00                  0.00

275      NANOPROFESSOR Reg. No. 2943208, Issued 1/13/11               Unknown                          0.00                                        0.00                  0.00

276      NANOGUARDIAN Reg. No. 590508, Issued 8/27/09                 Unknown                          0.00                                        0.00                  0.00

277      DPN Reg. No. 1104025, Issued 6/1/04                          Unknown                          0.00                                        0.00                  0.00

278      NANOINK in Class 01 Reg. No. 1073734, Issued 12/             Unknown                          0.00                                        0.00                  0.00

279      NANOINK in Class 09 Reg. No. 1108706, Issued 7/1             Unknown                          0.00                                        0.00                  0.00

280      NANOINK in Class 41 Reg. No. 192558, Issued 12/1             Unknown                          0.00                                        0.00                  0.00

281      NANOINK in Class 42 Reg. No. 1078657, Issued 12/             Unknown                          0.00                                        0.00                  0.00

282      NANOPROFESSOR Reg. No. 2555949, Issued 11/12/10              Unknown                          0.00                                        0.00                  0.00

283      NANOPROFESSOR App. No. 2010-013475, Issued 8/16/             Unknown                          0.00                                        0.00                  0.00

284      Software license for matrix Mil (2nd SEM #267)               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 21 of 735
                                                                                    Form 1                                                                             Page: 21

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




285      FRX Software licenses                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




286      License No.: 6,635,311; Methods Utilizing Scanni                 Unknown                          0.00                                        0.00                  0.00

287      License No.: NI-150875 TW; Methods Utilizing Sca                 Unknown                          0.00                                        0.00                  0.00

288      License No.: AU 778568; Methods Utilizing Scanni                 Unknown                          0.00                                        0.00                  0.00

289      License No.: CA 2358215; Methods Utilizing Scann                 Unknown                          0.00                                        0.00                  0.00

290      License No.: ZL 803987.9; Methods Utilizing Scan                 Unknown                          0.00                                        0.00                  0.00

291      License No.: JP 3963650; Methods Utilizing Scann                 Unknown                          0.00                                        0.00                  0.00



                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 22 of 735
                                                                                Form 1                                                                             Page: 22

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

292      License No.: EP 1157407 B1; Methods Utilizing Sc             Unknown                          0.00                                        0.00                  0.00

293      License No.: CH 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

294      License No.: DE 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

295      License No.: ES 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

296      License No.: FR 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

297      License No.: UK 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

298      License No.: IT 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00
299      License No.: SE 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

300      License No.: HK 1041744B; Methods Utilizing Scan             Unknown                          0.00                                        0.00                  0.00

301      License No.: KR XX-XXXXXXX; Methods Utilizing Sc             Unknown                          0.00                                        0.00                  0.00

302      License No: ZL 200610138990; A Direct Write Nano             Unknown                          0.00                                        0.00                  0.00

303      License No: HK 1110298B; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

304      License No: JP 3963650; Methods Utilizing Scanni             Unknown                          0.00                                        0.00                  0.00

305      License No: 8,247,032; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

306      License No: 7,569,252; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

307      License No: 8,163,345; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

308      License No: US 2012/0295029; Methods Utilizing S             Unknown                          0.00                                        0.00                  0.00

309      License No: 6,827,979; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

310      License No: TW 190487; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                     Document     Page 23 of 735
                                                                                   Form 1                                                                             Page: 23

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                           §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                               Claims Bar Date:            07/12/13

                               1                                          2                       3                          4                   5                     6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

311      License No: AU 165003; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

312      License No: CA 2411198; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

313      License No: ZL 0813256.1; Methods Utilizing Scan                Unknown                          0.00                                        0.00                  0.00

314      License No: EP 1292361 B1; Methods Utilizing Sca                Unknown                          0.00                                        0.00                  0.00

315      License No: DE 60132892.2; Methods Utilizing Sca                Unknown                          0.00                                        0.00                  0.00

316      License No: UK 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

317      License No: FR 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00
318      License No: IT 24303 BE/2008; Methods Utilizing                 Unknown                          0.00                                        0.00                  0.00

319      License No: ES 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

320      License No: CH 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

321      License No: HK 1054516 B; Methods Utilizing Scan                Unknown                          0.00                                        0.00                  0.00

322      License No: JP 5042432; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

323      License No: KR 0809785; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

324      License No: 7,446,324; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

325      License No: 8,187,673; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

326      License No: 13/451,XXX; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

327      License No: 7,722,928; Nanolithography Methods a                Unknown                          0.00                                        0.00                  0.00

328      License No: 7,744,963; Nanolithography Methods a                Unknown                          0.00                                        0.00                  0.00

329      License No: 7,291,284; Fabrication of sub-50 NM                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                             Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 24 of 735
                                                                                    Form 1                                                                             Page: 24

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

330      License No: 8,057,857; Phase Separation in Patte                 Unknown                          0.00                                        0.00                  0.00

331      License No.: US 2006/0242740 A1; Method and Devi                 Unknown                          0.00                                        0.00                  0.00

332      License No.: 8,084,273; Universal Matrix; Issued                 Unknown                          0.00                                        0.00                  0.00

333      License No.: WO 2009/035739 A2; Universal Matrix                 Unknown                          0.00                                        0.00                  0.00

334      License No.: EP 2170501 A2; Universal Matrix; Pu                 Unknown                          0.00                                        0.00                  0.00

335      License No.: JP 2010-530247; Universal Matrix; P                 Unknown                          0.00                                        0.00                  0.00

336      License No.: KR 10047843A; Universal Matrix; Pub                 Unknown                          0.00                                        0.00                  0.00
337      License No.: CA 2691XXX; Universal Matrix; Filed                 Unknown                          0.00                                        0.00                  0.00

338      License No.: AU 2008299XXX; Universal Matrix; Fi                 Unknown                          0.00                                        0.00                  0.00

339      License No.: SG 157617; Universal Matrix; Issued                 Unknown                          0.00                                        0.00                  0.00

340      License No.: US 2012/0164396; Matrix Assisted In                 Unknown                          0.00                                        0.00                  0.00

341      License No.: WO 2008/157550 A2; Matrix Assisted                  Unknown                          0.00                                        0.00                  0.00

342      License No.: EP 2175983 A2; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

343      License No.: JP 2010-532267; Matrix Assisted Ink                 Unknown                          0.00                                        0.00                  0.00

344      License No.: KR10-2010-7001XXX; Matrix Assisted                  Unknown                          0.00                                        0.00                  0.00

345      License No.: CA 2690823 AA; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

346      License No.: AU 2008265818; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

347      ense No.: SG 20090819XXX; Matrix Assisted Ink Tr                 Unknown                          0.00                                        0.00                  0.00

348      License No.: 8,318,508; Patterning with Composit                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 25 of 735
                                                                                Form 1                                                                             Page: 25

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

349      License No.: WO 2008/156732 A2; Patterning with              Unknown                          0.00                                        0.00                  0.00

350      License No.: EP 2173475A2; Patterning with Compo             Unknown                          0.00                                        0.00                  0.00

351      License No.: JP 2010-531977; Patterning with Com             Unknown                          0.00                                        0.00                  0.00

352      License No.: KR 10-2010-40293; Patterning with C             Unknown                          0.00                                        0.00                  0.00

353      License No.: AU 2008266XXX; Patterning with Comp             Unknown                          0.00                                        0.00                  0.00

354      License No.: CA 2690XXX; Patterning with Composi             Unknown                          0.00                                        0.00                  0.00

355      License No.: SG 157619; Patterning with Composit             Unknown                          0.00                                        0.00                  0.00
356      License No.: 7,541,062; Thermal Control of Depos             Unknown                          0.00                                        0.00                  0.00

357      License No.: WO 2006 036217 A2; Thermal Control              Unknown                          0.00                                        0.00                  0.00

358      License No.: CN 2005800341XXX; Thermal Control o             Unknown                          0.00                                        0.00                  0.00

359      License No.: JP 2007527XXX; Thermal Control of D             Unknown                          0.00                                        0.00                  0.00

360      License No.: KR 1020077005XXX; Thermal Control o             Unknown                          0.00                                        0.00                  0.00

361      License No.: EP 1850972 B1; Thermal Control of D             Unknown                          0.00                                        0.00                  0.00

362      License No.: US 2009/0255465 A1; Thermal Control             Unknown                          0.00                                        0.00                  0.00

363      License No.: US 2011/0053805; Thermochemical Nan             Unknown                          0.00                                        0.00                  0.00

364      License No.: WO 2010/138965; Thermochemical Nano             Unknown                          0.00                                        0.00                  0.00

365      License No.: EP 1078138XXX; Thermochemical Nanol             Unknown                          0.00                                        0.00                  0.00

366      License No.: JP 2012-513XXX; Thermochemical Nano             Unknown                          0.00                                        0.00                  0.00

367      License No.: KR 10-2011-7031XXX; Thermochemical              Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 26 of 735
                                                                                    Form 1                                                                             Page: 26

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

368      License No.: CA 2761XXX; Thermochemical Nanolith                 Unknown                          0.00                                        0.00                  0.00

369      License No.: AU 2010253XXX; Thermochemical Nanol                 Unknown                          0.00                                        0.00                  0.00

370      License No.: 5,221,415; Method of forming microf                 Unknown                          0.00                                        0.00                  0.00

371      License No.: 5,399,232; Microfabricated cantilev                 Unknown                          0.00                                        0.00                  0.00

372      License No.: 5,580,827; Casting sharpened microm                 Unknown                          0.00                                        0.00                  0.00

373      License No.: 7,887,885; Nanolithography Methods                  Unknown                          0.00                                        0.00                  0.00

374      License No.: WO 2009/132321 A1; Polymer Pen Lith                 Unknown                          0.00                                        0.00                  0.00
375      License No.: US 2011-0132220 A1; Polymer Pen Lit                 Unknown                          0.00                                        0.00                  0.00

376      License No.: JP 2011/506XXX; Polymer Pen Lithogr                 Unknown                          0.00                                        0.00                  0.00

377      License No.: KR 10-2011-0014606; Polymer Pen Lit                 Unknown                          0.00                                        0.00                  0.00

378      License No.: CN 2009801186XXX; Polymer Pen Litho                 Unknown                          0.00                                        0.00                  0.00

379      License No.: HK 111110XXX; Polymer Pen Lithograp                 Unknown                          0.00                                        0.00                  0.00

380      License No.: WO 2010/096591; Gel Pen Lithography                 Unknown                          0.00                                        0.00                  0.00

381      License No.: US 2012/0128882; Gel Pen Lithograph                 Unknown                          0.00                                        0.00                  0.00

382      License No.: EP 107443XXX; el Pen Lithography; F                 Unknown                          0.00                                        0.00                  0.00

383      License No.: JP 2011-551XXX; Gel Pen Lithography                 Unknown                          0.00                                        0.00                  0.00

384      License No.: KR 10-2011-0129397; Gel Pen Lithogr                 Unknown                          0.00                                        0.00                  0.00

385      License No.: CA 2752XXX; Gel Pen Lithography; Fi                 Unknown                          0.00                                        0.00                  0.00

386      License No.: AU 10215962; Gel Pen Lithography; P                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 27 of 735
                                                                                    Form 1                                                                             Page: 27

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

387      License No.: WO 2010/141836; Massively Parallel                  Unknown                          0.00                                        0.00                  0.00

388      License No.: US 20120167262; Massively Parallel                  Unknown                          0.00                                        0.00                  0.00

389      License No.: EP 2438608; Massively Parallel Sili                 Unknown                          0.00                                        0.00                  0.00

390      License No.: JP; Massively Parallel Silicon Pen                  Unknown                          0.00                                        0.00                  0.00

391      License No.: KR 10-2012-700XXX; Massively Parall                 Unknown                          0.00                                        0.00                  0.00

392      License No.: CA; Massively Parallel Silicon Pen                  Unknown                          0.00                                        0.00                  0.00

393      License No.: AU 10256436A1; Massively Parallel S                 Unknown                          0.00                                        0.00                  0.00
394      License No.: US 2003/0068446 A1; Protein and Pep                 Unknown                          0.00                                        0.00                  0.00

395      License No.: TW I272386; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

396      License No.: JP 4570363; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

397      License No.: CA 2462833; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

398      License No.: EP 1461605 A2; Protein and Peptide                  Unknown                          0.00                                        0.00                  0.00

399      License No.: US 2008/0242559 A1; Protein and Pep                 Unknown                          0.00                                        0.00                  0.00

400      License No.: 7,361,310; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

401      License No.: TW I311155; Patterning of Nucleic A                 Unknown                          0.00                                        0.00                  0.00

402      License No.: KR XX-XXXXXXX; Direct Write Nanolit                 Unknown                          0.00                                        0.00                  0.00

403      License No.: JP 4598395; Direct Write Nanolithog                 Unknown                          0.00                                        0.00                  0.00

404      License No.: CA 2468743; Direct Write Nanolithog                 Unknown                          0.00                                        0.00                  0.00

405      License No.: EP 1461596 A2; Direct Write Nanolit                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 28 of 735
                                                                                    Form 1                                                                             Page: 28

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

406      License No.: 7,951,334; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

407      License No.: 13/093XXX; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

408      License No.: 7,842,344; Peptide and Protein Arra                 Unknown                          0.00                                        0.00                  0.00

409      License No.: 7,569,340; Nanoarray of Single Viru                 Unknown                          0.00                                        0.00                  0.00

410      License No.: WO 2008/020851 A2; Nanoarray of Sin                 Unknown                          0.00                                        0.00                  0.00

411      License No.: EP 1931989 B1; Nanoarray of Single                  Unknown                          0.00                                        0.00                  0.00

412      License No.: DE 602006020747; Nanoarray of Singl                 Unknown                          0.00                                        0.00                  0.00
413      License No.: UK 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

414      License No.: FR 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

415      License No.: IT 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

416      License No.: ES 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

417      License No.: CH 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

418      License No.: SE 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

419      License No.: KR 20080046690; Nanoarray of Single                 Unknown                          0.00                                        0.00                  0.00

420      License No.: US 2010-0040661; Materials and Meth                 Unknown                          0.00                                        0.00                  0.00

421      License No.: WO 2010/007524 A2; Materials and Me                 Unknown                          0.00                                        0.00                  0.00

422      License No.: TW 201014914; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00

423      License No.: EP 097861XXX; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00

424      License No.: EP 097861XXX; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document     Page 29 of 735
                                                                                     Form 1                                                                             Page: 29

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

425      License No.: CN; Materials and Methods for Cell                   Unknown                          0.00                                        0.00                  0.00

426      License No.: WO2010124210A2; Multiplexed Biomole                  Unknown                          0.00                                        0.00                  0.00

427      License No.: US 20120097058A1; Multiplexed Biomo                  Unknown                          0.00                                        0.00                  0.00

428      License No.: EP 2422197; Multiplexed Biomolecule                  Unknown                          0.00                                        0.00                  0.00

429      License No.: JP 2012-524909; Multiplexed Biomole                  Unknown                          0.00                                        0.00                  0.00

430      License No.: KR 10-2011-702XXX; Multiplexed Biom                  Unknown                          0.00                                        0.00                  0.00

431      License No.: CA 2758XXX; Multiplexed Biomolecule                  Unknown                          0.00                                        0.00                  0.00
432      License No.: AU 2010238XXX; Multiplexed Biomolec                  Unknown                          0.00                                        0.00                  0.00

433      License No.: WO 2012/125986; Method of Analyzing                  Unknown                          0.00                                        0.00                  0.00

434      License No.: PCT/US12/57XXX; Single-Molecule Pro                  Unknown                          0.00                                        0.00                  0.00

435      License No.: 7,102,656; Electrostatically Driven                  Unknown                          0.00                                        0.00                  0.00

436      License No.: WO 2004/031072A2; Electrostatically                  Unknown                          0.00                                        0.00                  0.00

437      License No.: JP 4907084; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

438      License No.: EP 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

439      License No.: DE 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

440      License No.: UK 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

441      License No.: ES 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

442      License No.: FR 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

443      License No.: CH 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00


                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document     Page 30 of 735
                                                                                     Form 1                                                                             Page: 30

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

444      License No.: 7,223,438; Patterning Magnetic Nano                  Unknown                          0.00                                        0.00                  0.00

445      License No.: 7,273,636; Patterning of Solid Stat                  Unknown                          0.00                                        0.00                  0.00

446      License No.: TW I287170; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

447      License No.: WO 2003/052514 A2; Patterning of So                  Unknown                          0.00                                        0.00                  0.00

448      License No.: CN ZL02827280.3; Patterning of Soli                  Unknown                          0.00                                        0.00                  0.00

449      License No.: KR XX-XXXXXXX; Patterning of Solid                   Unknown                          0.00                                        0.00                  0.00

450      License No.: JP 4999913; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00
451      License No.: CA 2470823; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

452      License No.: EP 1502154B1; Patterning of Solid S                  Unknown                          0.00                                        0.00                  0.00

453      License No.: UK 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

454      License No.: DE 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

455      License No.: FR 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

456      License No.: AU 2364001BB; Patterning of Solid S                  Unknown                          0.00                                        0.00                  0.00

457      License No.: 7,811,635; Patterning of Solid Stat                  Unknown                          0.00                                        0.00                  0.00

458      License No.: JP 4999913; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

459      License No.: US 2011/0081526; Patterning of Soli                  Unknown                          0.00                                        0.00                  0.00

460      License No.: 7,959,974; Nanotube Assembly; Issue                  Unknown                          0.00                                        0.00                  0.00

461      License No.: WO 2008/048305A2; Carbon Nanotube;                   Unknown                          0.00                                        0.00                  0.00

462      License No.: EP 1968752; Carbon Nanotube; Publis                  Unknown                          0.00                                        0.00                  0.00


                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 31 of 735
                                                                                    Form 1                                                                             Page: 31

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

463      License No.: JP 2009518261; Nanotube Assembly; P                 Unknown                          0.00                                        0.00                  0.00

464      License No.: KR 8078867 A; Carbon Nanotube; Publ                 Unknown                          0.00                                        0.00                  0.00

465      License No.: 8,080,314; Nanotube Assembly; Issue                 Unknown                          0.00                                        0.00                  0.00

466      License No.: US 2011-0165341; Guided Assembly of                 Unknown                          0.00                                        0.00                  0.00

467      License No.: WO 2011/068960; Block Copolymer-Ass                 Unknown                          0.00                                        0.00                  0.00

468      License No.: EPO 108128XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

469      License No.: JP; Block Copolymer-Assisted Nanoli                 Unknown                          0.00                                        0.00                  0.00
470      License No.: KR10-2012-7016XXX; Block Copolymer-                 Unknown                          0.00                                        0.00                  0.00

471      License No.: AU 2010325XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

472      License No.: CA 2780XXX; Block Copolymer-Assiste                 Unknown                          0.00                                        0.00                  0.00

473      License No.: SG 2012036XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

474      License No.: 7,326,380; Surface and Site-Specifi                 Unknown                          0.00                                        0.00                  0.00

475      License No.: WO 2005/048283 A2; Surface and Site                 Unknown                          0.00                                        0.00                  0.00

476      License No.: EP 1855861 A2; Surface and Site-Spe                 Unknown                          0.00                                        0.00                  0.00

477      License No.: 8,012,400; Surface and Site-Specifi                 Unknown                          0.00                                        0.00                  0.00

478      License No.: 8,192,795; DPN Generated Nanostruct                 Unknown                          0.00                                        0.00                  0.00

479      License No.: WO 2008/091279 A2; Etching and Hole                 Unknown                          0.00                                        0.00                  0.00

480      License No.: TW 200815278; DPN Generated Etching                 Unknown                          0.00                                        0.00                  0.00

481      License No.: EP 2 044 485 A2; Etching and Hole A                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 32 of 735
                                                                                    Form 1                                                                             Page: 32

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

482      License No.: JP 2009-518XXX; Etching and Hole Ar                 Unknown                          0.00                                        0.00                  0.00

483      License No.: KR 20090049578; Etching and Hole Ar                 Unknown                          0.00                                        0.00                  0.00

484      License No.: CA 2654XXX; Etching and Hole Arrays                 Unknown                          0.00                                        0.00                  0.00

485      License No.: AU 7345315AA; Etching and Hole Arra                 Unknown                          0.00                                        0.00                  0.00

486      License No.: US 2012/0225251 A1; Etching and Hol                 Unknown                          0.00                                        0.00                  0.00

487      License No.: US 20120141731A1; Fabrication of Mi                 Unknown                          0.00                                        0.00                  0.00

488      License No.: WO/2008/121137; Fabrication of Micr                 Unknown                          0.00                                        0.00                  0.00
489      License No.: EP 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

490      License No.: DE 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

491      License No.: UK 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

492      License No.: FR 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

493      License No.: IT 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

494      License No.: ES 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

495      License No.: CH 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

496      License No.: JP 2009-542XXX; Fabrication of Micr                 Unknown                          0.00                                        0.00                  0.00

497      License No.: CA 2671289; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

498      License No.: KR 9001943A; Fabrication of Microst                 Unknown                          0.00                                        0.00                  0.00

499      License No.: AU 7350336 AA; Fabrication of Micro                 Unknown                          0.00                                        0.00                  0.00

500      License No.: US 2010/0143666; Redox Activated Pa                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 33 of 735
                                                                                    Form 1                                                                             Page: 33

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                                Claims Bar Date:            07/12/13

                               1                                           2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

501      License No.: WO 2010/059985; Redox Activated Pat                 Unknown                          0.00                                        0.00                  0.00

502      License No.: US 2010/071098 A1; Scanning Probe E                 Unknown                          0.00                                        0.00                  0.00

503      License No.: US 2010/0115672 A1; Scanning Probe                  Unknown                          0.00                                        0.00                  0.00

504      License No.: WO 2011/071753l; Generation of Comb                 Unknown                          0.00                                        0.00                  0.00

505      License No.: 13/513XXX; Generation of Combinator                 Unknown                          0.00                                        0.00                  0.00

506      7,247,895; Electrostatic Nanolithography Probe A                 Unknown                          0.00                                        0.00                  0.00

507      TW 200805398; Electrostatic Nanolithography Prob                 Unknown                          0.00                                        0.00                  0.00
508      License No.: 7,954,166; Independently Addressabl                 Unknown                          0.00                                        0.00                  0.00

509      License No.: WO 2009/020658 A1; Independently Ad                 Unknown                          0.00                                        0.00                  0.00

510      License No.: EP2185975A1; Independently Addressa                 Unknown                          0.00                                        0.00                  0.00

511      License No.: JP 2010-536033; Independently Addre                 Unknown                          0.00                                        0.00                  0.00

512      License No.: KR10-2010-56453; Independently Addr                 Unknown                          0.00                                        0.00                  0.00

513      License No.: AU 2008284XXX; Independently Addres                 Unknown                          0.00                                        0.00                  0.00

514      License No.: CA 2690723; Independently Addressab                 Unknown                          0.00                                        0.00                  0.00

515      License No.: US 2010/0072565 A1; Soft Microelect                 Unknown                          0.00                                        0.00                  0.00

516      License No.: WO 2008/030284; Soft Microelectrome                 Unknown                          0.00                                        0.00                  0.00

517      License No.: EP 2029300; Soft Microelectromechan                 Unknown                          0.00                                        0.00                  0.00

518      License No.: KR 10-2009-0051009; Soft Microelect                 Unknown                          0.00                                        0.00                  0.00

519      License No.: AU 2007293476; Soft Microelectromec                 Unknown                          0.00                                        0.00                  0.00


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document     Page 34 of 735
                                                                                     Form 1                                                                             Page: 34

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

520      License No.: CA 2653XXX; Soft Microelectromechan                  Unknown                          0.00                                        0.00                  0.00

521      License No.: 7,081,624; Scanning Probe Microscop                  Unknown                          0.00                                        0.00                  0.00

522      License No.: 6,642,129; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

523      License No.: 6,867,443; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

524      License No.: 7,402,849; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

525      License No.: AU 2002360242; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

526      License No.: CA 2,454,963; Parallel, Individuall                  Unknown                          0.00                                        0.00                  0.00
527      License No.: ZL02817715.0; Parallel, Individuall                  Unknown                          0.00                                        0.00                  0.00

528      License No.: EP 1410436 B1; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

529      License No.: DE 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

530      License No.: FR 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

531      License No.: IT 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

532      License No.: UK 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

533      License No.: ES 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

534      License No.: CH 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

535      License No.: JP 2005-507175; Parallel, Individua                  Unknown                          0.00                                        0.00                  0.00

536      License No.: KR XX-XXXXXXX; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

537      License No.: JP 2009-198513; Parallel, Individua                  Unknown                          0.00                                        0.00                  0.00

538      Computer Equipment - Dell Precision 530 desktop.                  Unknown                          0.00                                        0.00                    FA


                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 35 of 735
                                                                                Form 1                                                                             Page: 35

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




539      Computer Equipment - HP Oscilliscope 54600.                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




540      Computer Equipment - Dell Optiplex GX240 desktop             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 36 of 735
                                                                                Form 1                                                                             Page: 36

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets




541      Computer Equipment - Dell Optiplex GX260.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




542      Computer Equipment - Dell Latitude.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


543      Computer Equipment - NEC LCD 3000 Large Flat Pan             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 37 of 735
                                                                                Form 1                                                                             Page: 37

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

544      Computer Equipment - Precision 450.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


545      Computer Equipment - Dell Dimension 4700.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


546      Computer Equipment - Dell PowerEdge SC430.                   Unknown                          0.00                                        0.00                    FA
          Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


547      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 38 of 735
                                                                                Form 1                                                                             Page: 38

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


548      Computer Equipment - Dimension 5150.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

549      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


550      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


551      Computer Equipment - Dell.                                   Unknown                          0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document     Page 39 of 735
                                                                               Form 1                                                                             Page: 39

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


552      Computer Equipment - Dell DIM 9200.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


553      Computer Equipment - 4GB DDR2 - ERP Server.                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


554      Computer Equipment - Dell Dimension 9150.                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 40 of 735
                                                                                Form 1                                                                             Page: 40

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



555      Computer Equipment - Inspiron 6400.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


556      Computer Equipment - Dell Inspiron 6400.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


557      Computer Equipment - Dell Inspiron 6400.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


558      Computer Equipment - Dual Core Xeon Processor.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 41 of 735
                                                                                Form 1                                                                             Page: 41

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


559      Computer Equipment - Bruce's new laptop.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


560      Computer Equipment - backup server.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


561      Computer Equipment - part of SEM/Nano Quartz pro             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 42 of 735
                                                                                Form 1                                                                             Page: 42

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

562      Computer Equipment - PC for Stage Control Projec             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


563      Computer Equipment - Barracuda Spam Firewall 200             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


564      Computer Equipment - NB Sony VAIO.                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


565      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 43 of 735
                                                                                Form 1                                                                             Page: 43

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


566      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


567      Computer Equipment - NB Dock Sony | VGP-PRSZ1 RT             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


568      Computer Equipment - Firewall for Skokie.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


569      Computer Equipment - Firewall for Campbell.                  Unknown                          0.00                                        0.00                  0.00

570      Computer Equipment - NB SONY VAIO | VGN-SZ440N01             Unknown                          0.00                                        0.00                    FA

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 44 of 735
                                                                                Form 1                                                                             Page: 44

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

571      Computer Equipment - Precision 690 Mini-tower.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


572      Computer Equipment - NB SONY VAIO | VGN-SZ440N01             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


573      Computer Equipment - Server: Domain controller.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 45 of 735
                                                                                Form 1                                                                             Page: 45

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

574      Computer Equipment - NB SONY VAIO VGN-BX760NS1.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


575      Computer Equipment - NB SONY VAIO VGN-BX760N1.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


576      Computer Equipment - NB SONY VAIO VGN-BP760P2.               Unknown                          0.00                                        0.00                    FA
          Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


577      Computer Equipment - NB HP| 6910P RM260UT#ABA                Unknown                          0.00                                        0.00                    FA
         RT
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 46 of 735
                                                                                Form 1                                                                             Page: 46

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


578      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


579      Computer Equipment - Dell Precision 690 Minitowe             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


580      Computer Equipment - NB Dock HP|EN489UT.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 47 of 735
                                                                                Form 1                                                                             Page: 47

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

581      Computer Equipment - HP Compaq 6910p Notebook.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

582      Computer Equipment - HP Compaq 6910p Notebook.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


583      Computer Equipment - Dell Precision T3400 conver             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


584      Computer Equipment - Server Quartz web interface             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 48 of 735
                                                                                Form 1                                                                             Page: 48

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



585      Computer Equipment - Intel Core Duo.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


586      Computer Equipment - Quad Core Intel.                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


587      Computer Equipment - Server management system.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


588      Computer Equipment - Sony VAIO VGN-TZ295N.                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 49 of 735
                                                                                Form 1                                                                             Page: 49

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


589      Computer Equipment - Intelcore 2 duo ULV U7600.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


590      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


591      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 50 of 735
                                                                                Form 1                                                                             Page: 50

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

592      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

593      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


594      Computer Equipment - Laser HP Laserjet 5200 Q754             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


595      Computer Equipment - Quad Q6600.                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document     Page 51 of 735
                                                                               Form 1                                                                             Page: 51

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets



596      Computer Equipment - CAT Server.                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


597      Computer Equipment - Latitude E6400.                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


598      Computer Equipment - Dell Precision T3400.                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


599      Computer Equipment - Dell Precision T7400.                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 52 of 735
                                                                                Form 1                                                                             Page: 52

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


600      Computer Equipment - Dell Precision T3400 Replac             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


601      Computer Equipment - Dell Precision T5400 plugge             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


602      Computer Equipment - Dell Lattitude E6400 Sergey             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 53 of 735
                                                                                Form 1                                                                             Page: 53

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

603      Computer Equipment - Dell Lattitude E6400 laptop             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


604      Computer Equipment - Latitude E6400                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


605      Computer Equipment - Latitude E6400                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


606      Computer Equipment - Latitude E6400                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 54 of 735
                                                                                Form 1                                                                             Page: 54

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


607      Computer Equipment - Core Duo E6305 - PowerEdge              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


608      Computer Equipment - Power Edge R710 w/chassis               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


609      Computer Equipment - CICSCO ASA W/SW firewall -              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


610      Computer Equipment - Barracuda Spam Firewall 300             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document     Page 55 of 735
                                                                               Form 1                                                                              Page: 55

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


611      Computer Equipment - Lattitude E6400                        Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


612      Computer Equipment - Lattitude E6400                        Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


613      Computer Equipment - Barracuda Web Filter 310                    71.57                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                  Document     Page 56 of 735
                                                                                Form 1                                                                               Page: 56

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

614      Computer Equipment - EMC 2U Dual SP DPE ISCSI Fr                  304.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


615      Computer Equipment - Power Edge R410                              120.78                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


616      Computer Equipment - Tape backup: PV LT05-140 TB                  457.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


617      Computer Equipment - DAX 2012 Server                          1,959.90                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 57 of 735
                                                                                Form 1                                                                             Page: 57

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


618      Computer Equipment - PV LT05-140 TBU, 1.5TB                   1,656.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


619      Computer Equipment - PowerEdge R520                           3,095.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


620      Computer Equipment - Office Furniture for the ex              3,860.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


621      Leasehold Improvements - DPN Assembly ("Little")             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 58 of 735
                                                                                Form 1                                                                             Page: 58

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


622      Leasehold Improvements - entrance lock - Lobby c             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


623      Leasehold Improvements - new eye wash/drench sta             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


624      Leasehold Improvements - Various leasehold impro           193,308.12                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 59 of 735
                                                                                Form 1                                                                             Page: 59

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

625      Leasehold Improvements - addition to design/draf              8,363.96                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


626      Leasehold Improvements - Capsule Machine room                57,814.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


627      Leasehold Improvements - Security System                      2,258.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


628      Office Equipment - AmEx Bill binding machine for             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 60 of 735
                                                                                Form 1                                                                             Page: 60

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


629      Office Equipment - 34401A meter                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


630      Office Equipment - Trade Show Booth                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


631      Office Equipment - Exhibit Packing Cases                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


632      Office Equipment - Fireproof Lateral File Cabine             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 61 of 735
                                                                                Form 1                                                                             Page: 61

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


633      Office Equipment - Phone System for NanoInk offi             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


634      Office Equipment - Meeting Board                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


635      Office Equipment - Storage Cages                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 62 of 735
                                                                                Form 1                                                                             Page: 62

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

636      Office Equipment - File cabinet 4-dr, 22" deep               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


637      Office Equipment - grey fire-proof cabinet; 4-dr             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


638      Office Equipment - Trade Show Booth 2                         4,169.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


639      Office Equipment - 2 FireKing drawers                         1,331.87                        0.00                                        0.00                    FA
          Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 63 of 735
                                                                                Form 1                                                                             Page: 63

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


640      Office Equipment - demo NLP used at trade shows              13,332.43                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


641      Office Equipment - new booth                                 35,817.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


642      Software - Invoice 303193; purchase software Pro             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 64 of 735
                                                                                Form 1                                                                             Page: 64

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

643      Software - Touzov software purchase                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


644      Software - Invoice GD13646/MBL Visio pro                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


645      Software - Invoice 27228; software for Chicago o             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


646      Software - Invoice GN67347 - software for Alex L             Unknown                          0.00                                        0.00                    FA
          *"THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                   Document     Page 65 of 735
                                                                                 Form 1                                                                             Page: 65

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                            Claims Bar Date:            07/12/13

                                1                                       2                       3                          4                   5                     6

                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


647      Software - Number 11495041 - Renew software subs              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


648      Software - Dazzle DVC-II MPEG-2 PCI                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


649      Software - MS MBL VSTUDIO .NET ENT Developer                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


650      Software - SPIP Basic & Calibration Module                    Unknown                          0.00                                        0.00                    FA
          used at PNI for testing our equip) Location: Campbell,


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 66 of 735
                                                                                Form 1                                                                             Page: 66

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         CA,

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


651      Software - ERP                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


652      Software - SQL Server Standard Edition 2005 WIN3             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


653      Software - Atlas Software                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                     Document     Page 67 of 735
                                                                                   Form 1                                                                             Page: 67

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                           §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                               Claims Bar Date:            07/12/13

                               1                                          2                       3                          4                   5                     6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


654      Software - AD - SN 343-71054730-2 currently used                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


655      Software - SEM Software                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


656      Software License for the Matrox MIL machine visi                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


657      Software - CAD software license for John Bussan                 Unknown                          0.00                                        0.00                    FA


                                                                                                                                             Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 68 of 735
                                                                                Form 1                                                                             Page: 68

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


658      Software - dw-2000 Software                                  Unknown                          0.00                                        0.00                  0.00

659      Software - Part 11 login module for use on HMI.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


660      Authentication Software - Phase 2 Automation Dev             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


661      Software - Avatech Inventor Suite 2008                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 69 of 735
                                                                                    Form 1                                                                             Page: 69

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


662      Software - Various production-related software                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


663      Software - Custome App Dev - Barcode Cluster                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


664      Software - Nanolithography tool software for Gen                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


665      Software - Final: Nanolithography tool software                  Unknown                          0.00                                        0.00                    FA


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 70 of 735
                                                                                Form 1                                                                             Page: 70

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


666      Software - NI Developer Suite FPGA option                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


667      Software - CRM client licenses                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


668      Software - PCI WAM IIS software - imaging etc.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document     Page 71 of 735
                                                                               Form 1                                                                             Page: 71

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets



669      Software - Customization Svces                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


670      Software - design/drafting software                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


671      Software - Customization Svces2                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


672      Software - design/drafting software                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 72 of 735
                                                                                Form 1                                                                             Page: 72

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


673      Software - Exchange 2007 enterprise license + Ca             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


674      Software License for the Inspection Station soft             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


675      Software - NI Developer Suite 2009 edition                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                  Document     Page 73 of 735
                                                                                Form 1                                                                               Page: 73

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

676      Software - SolidNetwork Professional License                      295.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


677      Software - NI Developer Suite                                     278.37                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


678      Software upgrade                                              1,504.13                          0.00                                        0.00                  0.00

679      Software - Vision System License and a security                   390.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


680      Software - VPRO Max Sftw w/USB Dongle                             689.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 74 of 735
                                                                                Form 1                                                                             Page: 74

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


681      Software - Stampset tracking software                        11,683.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


682      Software - Double-Take installation (redundant e              2,267.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


683      Software - Double-Take installation (redundant e              2,629.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 75 of 735
                                                                                Form 1                                                                             Page: 75

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

684      PCI Office Software                                           7,884.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


685      Items Listed on Addendum to Schedule                         35,610.00                        0.00                                        0.00                  0.00

686      Computer Equipment - Dell Optiplex GX240 desktop             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


687      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


688      Lab Equipment - 21001/Lab Equipment - Air Table.             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 76 of 735
                                                                                Form 1                                                                             Page: 76

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


689      Lab Equipment - STS Drie ICP Etcher system.                  Unknown                          0.00                                        0.00                    FA
           Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


690      Lab Equipment - Varian Leak Detector.                        Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


691      Lab Equipment - Wafer Gage. Located in Californi             Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 77 of 735
                                                                                Form 1                                                                             Page: 77

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


692      Lab Equipment - Tencor Alphastep.                            Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


693      Lab Equipment - Filmetrics F50. Located                      Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


694      Lab Equipment - Nanometrics Nanospec AFT.                    Unknown                          0.00                                        0.00                    FA
           Located in California


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 78 of 735
                                                                                Form 1                                                                             Page: 78

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


695      Nanmetrics (Nanoline IV) 50                                  Unknown                          0.00                                        0.00                    FA
          Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


696      Lab Equipment - Flexus stressgage.                           Unknown                          0.00                                        0.00                    FA
           Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


697      Lab Equipment - 4 pt Probe. Located in Skokie                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 79 of 735
                                                                                    Form 1                                                                             Page: 79

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


698      Lab Equipment - Spin Rinser Dryer.                               Unknown                          0.00                                        0.00                    FA
           Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


699      Lab Equipment - Olympus BHM microscope.                          Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


700      Lab Equipment - 9' Chemical sink-etch. Located i                 Unknown                          0.00                                        0.00                    FA
           Located in California


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126           Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                      Document     Page 80 of 735
                                                                                    Form 1                                                                             Page: 80

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


701      Lab Equipment - 6' Chemical sink-etch. Located i                 Unknown                          0.00                                        0.00                    FA
           Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


702      Lab Equipment - 6' Chemical sink-etch.                           Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


703      Lab Equipment - Minibrute furnace.                               Unknown                          0.00                                        0.00                    FA
           Located in California.

                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 81 of 735
                                                                                Form 1                                                                             Page: 81

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets


         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


704      Lab Equipment - SVG dual photo rack.                         Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


705      Lab Equipment - Suss SB6 water bonder.                       Unknown                          0.00                                        0.00                    FA
           Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


706      Lab Equipment - Suss MA6/BA6 aligner.                        Unknown                          0.00                                        0.00                    FA

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 82 of 735
                                                                                Form 1                                                                             Page: 82

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


707      Lab Equipment - Technics Micro-RIE.                          Unknown                          0.00                                        0.00                    FA
           Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


708      Lab Equipment - Hummer 6.2 sputterer                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


709      Lab Equipment - CTI6 pump/compressor                         Unknown                          0.00                                        0.00                  0.00


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 83 of 735
                                                                                Form 1                                                                             Page: 83

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

710      Lab Equipment - Vacuum pumps                                 Unknown                          0.00                                        0.00                    FA
           Location: Campbell

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


711      Lab Equipment - DI Water system                              Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


712      Lab Equipment - Class 1000/100 cleanroom                     Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 84 of 735
                                                                                Form 1                                                                             Page: 84

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets




713      Lab Equipment - Waste water treatment                        Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


714      Lab Equipment - Equipment for Lab Invoice 21202              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


715      Lab Equipment - Invoice 264286-00/Equipment for              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 85 of 735
                                                                                Form 1                                                                             Page: 85

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

716      Lab Equipment - AC4125/06 ECU1 Module                        Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


717      Lab Equipment - 81381 - Vacuum Gauge for CA                  Unknown                          0.00                                        0.00                    FA
           Office Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


718      Lab Equipment - Glove Box                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


719      Lab Equipment - VWR 1601D Cleanroom Oven                     Unknown                          0.00                                        0.00                    FA

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document     Page 86 of 735
                                                                                     Form 1                                                                             Page: 86

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

          Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


720      Lab Equipment - Modutec #16 Natural                               Unknown                          0.00                                        0.00                    FA
           polypropylene Refluxor with water control valve
         Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


721      Lab Equipment - Video microscope                                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


722      Lab Equipment - Invoice 15094613 - balance stand                  Unknown                          0.00                                        0.00                    FA

                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126         Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                   Document     Page 87 of 735
                                                                                 Form 1                                                                             Page: 87

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                        2                       3                          4                   5                     6

                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


723      Lab Equipment - Leybold D25 with Buna seals,                  Unknown                          0.00                                        0.00                    FA
           23ovac & 3phase Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


724      Lab Equipment - Milli Q Synthesis 120V/60 HZ                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


725      Lab Equipment - AFM M5-C3066 SN# M5-1066                      Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 88 of 735
                                                                                Form 1                                                                             Page: 88

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


726      Lab Equipment - Veeco NT3300 SN#346                          Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


727      Lab Equipment - Vac conc w/pump & epp cen                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


728      Lab Equipment - Vac pump with plasma flo                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 89 of 735
                                                                                Form 1                                                                             Page: 89

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


729      Lab Equipment - Glove Box                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


730      Lab Equipment - Nano I (Large Stage Machine)                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


731      Lab Equipment - Air Table                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


732      Lab Equipment - Dry Pump Advance Exchange                    Unknown                          0.00                                        0.00                    FA
           SN XX-XXXXXXX Location: Campbell, CA;


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 90 of 735
                                                                                Form 1                                                                             Page: 90

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets


         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


733      Lab Equipment - Air table for lab to use with CP             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


734      Lab Equipment - Glove Box                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


735      Lab Equipment - Temp/Humidity Controller 220V                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 91 of 735
                                                                                Form 1                                                                             Page: 91

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


736      Lab Equipment - Zeiss Axioplan Microscope; Camer             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


737      Lab Equipment - Rotory Evaporator                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


738      Lab Equipment - Lens                                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


739      Lab Equipment - Camera System for Microscope                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 92 of 735
                                                                                Form 1                                                                             Page: 92

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


740      Lab Equipment - AFM, replacement of demo system              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


741      Lab Equipment - Air Table, replacement of demo s             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


742      Lab Equipment - Ackley Prototype                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                   Document     Page 93 of 735
                                                                                 Form 1                                                                             Page: 93

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                            Claims Bar Date:            07/12/13

                                1                                       2                       3                          4                   5                     6

                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

743      Lab Equipment - Fab waifer alignment fixture                  Unknown                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


744      Lab Equipment - Harnett Prototype                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


745      Lab Equipment - Microscope                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


746      Lab Equipment - Bausch & Lomb/Leica/Stereoscope               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document     Page 94 of 735
                                                                               Form 1                                                                              Page: 94

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


747      Lab Equipment - Ultrasonic Cleaner for J&J                  Unknown                           0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


748      Lab Equipment - pin 150+ for SIINT                               47.42                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


749      Lab Equipment - ElectronMicroscope                          10,006.36                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126         Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                    Document     Page 95 of 735
                                                                                  Form 1                                                                               Page: 95

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                               Claims Bar Date:            07/12/13

                                1                                        2                         3                          4                   5                     6

                       Asset Description                              Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

750      Lab Equipment - Tablet Hardner                                      367.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


751      Lab Equipment - Prototype Machine                               9,816.39                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


752      Lab Equipment - Feed thru non-resistive short                       426.49                        0.00                                        0.00                  0.00

753      Lab Equipment - Light Level Scanner                                 896.76                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


754      Lab Equipment - De-Duster                                           249.29                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                  Document     Page 96 of 735
                                                                                Form 1                                                                               Page: 96

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


755      Lab Equipment - Pan- Sonication, CRSP Prototype                   204.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


756      Lab Equipment - Spectroscopic Ellipsometer                   10,022.64                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


757      Lab Equipment - variable speed vertical mill                      695.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                  Document     Page 97 of 735
                                                                                Form 1                                                                               Page: 97

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

758      Lab Equipment - Die Placement System                         22,551.68                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


759      Lab Equipment - Optical System for NanoBioarray               1,777.98                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


760      Lab Equipment - Tray Transfer Machine                         4,166.87                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


761      Lab Equipment - Water Chiller for the STS Etcher                  700.94                        0.00                                        0.00                    FA
           System Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document     Page 98 of 735
                                                                                Form 1                                                                             Page: 98

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


762      Lab Equipment - Compressor                                    1,336.43                        0.00                                        0.00                    FA
           Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


763      Lab Equipment - 5-Axis Stage Assembly + Accessor              6,583.21                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


764      Lab Equipment - YES-3TA Vacuum Bake/Vapor Prime               8,134.86                        0.00                                        0.00                    FA
           System Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230   Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                  Document     Page 99 of 735
                                                                                Form 1                                                                               Page: 99

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


765      Lab Equipment - AMVn Automated Micro Viscometer               3,407.22                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


766      Lab Equipment - Benchtop Incubator Shaker                         811.72                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


767      Lab Equipment - Isotemp Gen'l Purpose Refregerat                  340.54                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


768      Lab Equipment - Ultra Low Freezer                             1,574.46                          0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 100 of 735
                                                                                Form 1                                                                              Page: 100

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


769      Lab Equipment - Ultrasonic meter +EPDM Probe w/T                  648.12                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


770      Lab Equipment - Auto306 Thermal Evaporation syst             11,876.56                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


771      Lab Equipment - Chemlab Upgrade                               1,798.70                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 101 of 735
                                                                                Form 1                                                                              Page: 101

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets



772      Lab Equipment - I-Speed 2 Mono Camera                         8,505.87                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


773      Lab Equipment - Standard Goniometer with DROP Im              2,300.27                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


774      Lab Equipment - Modutek #16 Refluxor-Teflon                       672.17                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


775      Lab Equipment - Tech bench w/ triple upper                        248.93                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 102 of 735
                                                                                Form 1                                                                              Page: 102

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

          shelves Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


776      Lab Equipment - Gravity Convection Oven                           251.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


777      Lab Equipment - Megapixel monochrome camera                       890.96                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


778      Lab Equipment - N&K Machine                                 101,007.43                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 103 of 735
                                                                                Form 1                                                                            Page: 103

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


779      Lab Equipment - SEM S-3700                                   38,702.76                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


780      Lab Equipment - Nano DST w/NanoFlex Scanner                  20,570.88                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


781      Lab Equipment - Dicing Saw                                    6,123.57                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 104 of 735
                                                                                Form 1                                                                            Page: 104

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


782      Lab Equipment - DS-3 with NanoFlex Scanner 110 V             23,375.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


783      Lab Equipment - DPN Scanner - 2nd loaner formerl              3,666.46                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


784      Lab Equipment - MVD 100-E System                             71,527.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 105 of 735
                                                                                Form 1                                                                              Page: 105

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

785      Lab Equipment - Dry Pump(was shipped to CA for r              2,667.11                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


786      Lab Equipment - Electroform Perimeter Clamping B                  376.43                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


787      Lab Equipment - SB 6 Bellows                                  1,032.55                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


788      Lab Equipment - Etching Apparatus (it's a glass                   318.47                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126          Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                    Document      Page 106 of 735
                                                                                  Form 1                                                                              Page: 106

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:        13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                                Claims Bar Date:            07/12/13

                               1                                         2                         3                          4                   5                     6

                       Asset Description                              Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


789      Lab Equipment - Flammable storage cabinet 44                        344.79                        0.00                                        0.00                    FA
           gallon Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


790      Lab Equipment - Powerex Scroll "E" Series pump                  1,006.13                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


791      Lab Equipment - Nilfisk cleanroom vacuumcleaner                     379.93                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                              Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 107 of 735
                                                                                Form 1                                                                              Page: 107

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


792      Lab Equipment - Module HBC1 SOR004150                             929.73                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


793      Lab Equipment - R100 Recirculating Chiller with               2,187.21                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


794      Lab Equipment - Waverunner 44XI                               3,152.08                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126          Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                     Document      Page 108 of 735
                                                                                   Form 1                                                                              Page: 108

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                         2                         3                          4                   5                     6

                       Asset Description                               Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

795      Lab Equipment - PEAK 2054CIL wide stand microsco                     325.68                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


796      Lab Equipment - Intellis with 2 dewars on each                   1,881.42                          0.00                                        0.00                    FA
           side Location: Campbell, CA

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


797      Lab Equipment - LCD Display/Interface MA6/BA6                        738.44                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


798      Lab Equipment - Faro Gage plus                                   9,483.34                          0.00                                        0.00                    FA

                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 109 of 735
                                                                                Form 1                                                                              Page: 109

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


799      Lab Equipment - MRS-5XY - SEM calibrator                      1,580.94                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


800      Lab Equipment - Signal Access module for                      1,168.16                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


801      Lab Equipment - Dump Rinser SingleLocation:                       721.32                        0.00                                        0.00                    FA
           Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 110 of 735
                                                                                Form 1                                                                              Page: 110

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


802      Lab Equipment - High Voltage Generator                        1,024.44                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


803      Lab Equipment - Bandsaw                                           557.39                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


804      Lab Equipment - 7900HT Fast Real-Time Fast 96-We             19,492.18                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


805      Lab Equipment - Biophotometer Plus + accessories              4,754.96                          0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 111 of 735
                                                                               Form 1                                                                            Page: 111

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


806      Lab Equipment - Nanodrop 1000                                3,645.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


807      Lab Equipment - Isotemp Refrigerator                         1,166.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


808      Lab Equipment - ISTM Basic Freezer                           3,933.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 112 of 735
                                                                               Form 1                                                                              Page: 112

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets



809      Lab Equipment - Sterilemax Sterilizer                        4,257.80                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


810      Lab Equipment - Level Scale                                      854.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


811      Lab Equipment - Napc800WJ CO2                                4,581.84                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


812      Lab Equipment - Direct - Q 3 UV                              1,062.47                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 113 of 735
                                                                                Form 1                                                                              Page: 113

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


813      Lab Equipment - Flake Maker                                   1,746.30                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


814      Lab Equipment - ISTMP ACRYL OPN BTH ANLG 18L                      503.85                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


815      Lab Equipment - Olympus BH-2 Microscope                       1,957.30                          0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 114 of 735
                                                                                Form 1                                                                              Page: 114

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets



816      Lab Equipment - Freezer 21 ft^3                                   463.33                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


817      Lab Equipment - Freezer 69 ft^3 w/ hinged door                1,598.24                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


818      Lab Equipment - Legend RT Plus Centrifuge                     3,024.18                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


819      Lab Equipment - Napc800WJ CO2                                 2,338.26                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 115 of 735
                                                                               Form 1                                                                              Page: 115

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


820      Lab Equipment - ISTMP ACRYL OPN BTH ANLG 18L                     503.85                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


821      Lab Equipment - File cabinet                                     664.24                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


822      Lab Equipment - Refrigerator                                     737.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 116 of 735
                                                                                Form 1                                                                              Page: 116

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

823      Lab Equipment - Semi-automatic stencil printer w              3,180.68                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


824      Lab Equipment - C1000 thermo Cycler                           3,289.48                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


825      Lab Equipment - ISO Vac Oven 282 115V 60Hz                    2,307.35                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


826      Lab Equipment - VAC pump Maxima DRCT DRV M2C                      658.46                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 117 of 735
                                                                                Form 1                                                                              Page: 117

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


827      Lab Equipment - Portable cooling unit                         1,217.88                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


828      Lab Equipment - Fluorescent Microscope                       53,322.80                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


829      Lab Equipment - vubration isolation TABLE TOP                     728.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


830      Lab Equipment - Zoom Dual Power Supply (can be c              1,052.50                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 118 of 735
                                                                                Form 1                                                                              Page: 118

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


831      Lab Equipment - InnoScan 900 Microarray Scanner              52,083.10                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


832      Lab Equipment - Vibration Isolation Table                         861.36                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


833      Lab Equipment - Ziess Model Axioimager A1M                   12,855.14                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 119 of 735
                                                                                Form 1                                                                            Page: 119

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

834      Lab Equipment - InnoScan 900 Microarray Scanner              21,146.34                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


835      Lab Equipment - EPP Thermomixer                               1,294.07                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


836      Lab Equipment - Digital Microscope/Camera                     1,497.95                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


837      Lab Equipment - RTE-7D1 Refrigerated bath 115V                1,330.01                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 120 of 735
                                                                                Form 1                                                                            Page: 120

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


838      Lab Equipment - NanoSurf Scanner                             23,427.43                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


839      Lab Equipment - Binocular Microscope                          2,460.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


840      Lab Equipment - AX200 Automatic Film Processor w              2,235.15                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 121 of 735
                                                                                Form 1                                                                              Page: 121

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

841      Lab Equipment - Molds to make plastic enclosures             31,502.36                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


842      Lab Equipment - Portable cooling unit                         1,243.60                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


843      Lab Equipment - Backup lamplink Illuminator for                   503.99                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


844      Lab Equipment - Exghaust Hood - Bio Safety Cabin              4,660.53                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 122 of 735
                                                                                Form 1                                                                            Page: 122

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


845      Lab Equipment - MCO Incubator                                 2,853.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


846      Lab Equipment - Zibra Milliscope+perepherals 1                2,137.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


847      Lab Equipment - Zibra Milliscope+perepherals 2                2,137.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


848      Lab Equipment - Molds to make plastic enclosures              2,937.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 123 of 735
                                                                               Form 1                                                                            Page: 123

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


849      Lab Equipment - Axio Scope A1                                8,584.37                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


850      Lab Equipment - Vacuum Sealer                                2,017.32                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


851      Lab Equipment - Expanded Plasma Cleaner                      4,578.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 124 of 735
                                                                                Form 1                                                                            Page: 124

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

852      Lab Equipment - MFD-3D Stand-alone AFM+periphera             73,427.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


853      Lab Equipment - Herzan Vibration Isolation Table              4,637.57                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


854      Lab Equipment - MicroArray Scanner InnoScan 900A             70,466.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


855      Lab Equipment - Centrivap Refrig                              3,623.79                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 125 of 735
                                                                                Form 1                                                                            Page: 125

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


856      Lab Equipment - Bath + Controller                             2,708.48                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


857      Lab Equipment - Bath + Controller                             2,769.89                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


858      Lab Equipment - Vacuum pump                                   1,948.85                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 126 of 735
                                                                                Form 1                                                                            Page: 126

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


859      Lab Equipment - NLP 2000                                     35,135.53                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


860      Lab Equipment - Confocal chromatic spectrometer               7,947.28                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


861      Lab Equipment - CAPA Oscillator and ECT capa pro              3,494.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


862      Lab Equipment - DMC-4080-C012(5V)-I000-I000-D314              2,880.15                        0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 127 of 735
                                                                                Form 1                                                                            Page: 127

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


863      Lab Equipment - NLP 2000                                     43,599.33                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


864      Lab Equipment - NLP 2000                                     43,599.33                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


865      Lab Equipment - Nanopen Inspection Station                   46,360.99                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126         Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                    Document      Page 128 of 735
                                                                                  Form 1                                                                            Page: 128

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                             Claims Bar Date:            07/12/13

                                1                                        2                       3                          4                   5                     6

                       Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


866      Lab Equipment - Biomek NXP Span-8 w/Gripper                    65,930.44                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


867      Lab Equipment - PC for the Inopsys scanner that                 3,229.14                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


868      Lab Equipment - addition to Barcode Reader                     20,187.69                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


869      Lab Equipment - Peltier stage incl controller                   3,243.15                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 129 of 735
                                                                                Form 1                                                                            Page: 129

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

870      Lab Equipment - Mobile Site Survey with VA-2 Vib              5,967.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


871      Lab Equipment - EPP Thermomixer R: 115V w/Obloc               2,658.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


872      Lab Equipment - Dell Precision T5500 connects to              3,171.96                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 130 of 735
                                                                                Form 1                                                                            Page: 130

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

873      Lab Equipment - Hi-speed high accuracy disp head              8,761.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


874      Lab Equipment - Hi-speed high accuracy disp head              6,095.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


875      Lab Equipment - PCNC 1100 3 Axis Mill - series I             10,418.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


876      Lab Equipment - NLP 2000#7(see the s/n on the ba             49,805.06                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 131 of 735
                                                                                Form 1                                                                            Page: 131

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


877      Lab Equipment - Microarray Nanoink scanner autol             91,358.31                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


878      Lab Equipment - NLP 2000#6 to FA#448                         49,805.06                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


879      Lab Equipment - NLP2000 #17 to FA#449                        49,805.06                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


880      Lab Equipment - NLP2000 #32 to FA#450                        49,805.06                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 132 of 735
                                                                                Form 1                                                                            Page: 132

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


881      Lab Equipment - Airtable                                      7,086.12                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


882      Lab Equipment - Accuspin Micror 17R w                         3,069.26                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


883      Lab Equipment - Deionizer easypure rody wtrsys                2,514.07                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 133 of 735
                                                                                Form 1                                                                            Page: 133

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

884      Lab Equipment - NLP2000#26 to FA 454                         50,571.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


885      Lab Equipment - Nikon Microscope                             92,892.66                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


886      Lab Equipment - SB6 Upgrade- Includes refurbishe              2,351.94                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


887      Lab Equipment - centralized temp controller in r              5,174.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 134 of 735
                                                                                Form 1                                                                            Page: 134

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


888      Lab Equipment - qNanoSystem                                   8,095.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


889      Lab Equipment - 86C Revco UXF 70BX                           15,701.81                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


890      Lab Equipment - DataMan 8500 Reader                           2,045.58                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


891      Lab Equipment - Active Vibration Isolation Table              7,256.91                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 135 of 735
                                                                                Form 1                                                                            Page: 135

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


892      Lab Equipment - Injection Mold test platform                  6,677.35                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


893      Lab Equipment - Ice maker                                     2,434.99                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


894      Lab Equipment - DMC-4183-Box8(ISCNTL)-D3140(SSR)              2,564.56                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 136 of 735
                                                                                Form 1                                                                            Page: 136

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

895      Lab Equipment - MFP 3D Stand-alone - Custom OEM             109,095.49                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


896      Lab Equipment - AV4 Mod Automeasure - a dongle                2,260.57                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


897      Lab Equipment - Plasma cleaner + Plasma Flo Gas               5,024.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


898      Lab Equipment - Upgrade for Dump Rinser Single               56,171.41                        0.00                                        0.00                    FA
           Location: Campbell, CA,

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 137 of 735
                                                                                Form 1                                                                            Page: 137

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


899      Lab Equipment - THERMCO MB-80 Minibrute Furnace               6,765.61                        0.00                                        0.00                    FA
           Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


900      Lab Equipment - addition to THERMCO MB-80                     5,766.52                        0.00                                        0.00                    FA
           Minibrute Furnace Location: Campbell, CA;

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


901      Lab Equipment - Mold design/build                            26,993.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 138 of 735
                                                                                Form 1                                                                            Page: 138

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


902      Lab Equipment - Vibration Isolation Table                     8,723.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


903      Lab Equipment - Scanner, Innopsys InnoScan 900AL             89,809.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


904      Lab Equipment - Panel Changeover HPUR 1x1 10-200              2,875.74                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


905      OID 1 base machine                                          495,996.50                        0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 139 of 735
                                                                               Form 1                                                                            Page: 139

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


906      OID 1 base machine                                         495,996.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


907      OID 2 base machine                                         438,361.33                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


908      OID 3 base machine                                         442,904.33                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 140 of 735
                                                                                Form 1                                                                            Page: 140

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



909      Hopper Assembly, - 2 Non-Adj Brush Triangle Tabl              3,858.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


910      OID1 C1P8 Change Parts                                       45,010.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


911      Output tray assembly                                          1,165.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


912      Input tray assembly                                           2,660.83                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 141 of 735
                                                                               Form 1                                                                            Page: 141

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


913      Transducer assembly and generator                            4,567.45                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


914      Capsule Infeed Transport                                     6,182.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


915      Capsule - Hopper Feeding Unit                               21,375.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 142 of 735
                                                                                Form 1                                                                            Page: 142

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

916      Capsule Deduster                                             22,056.28                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


917      Capsule NanoEncryption Machine Format parts, siz            139,334.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


918      CAPSULE NANOENCRYPTION FORMAT PARTS, SIZE                    69,667.00                        0.00                                        0.00                    FA
         3
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


919      Capsule NanoEncryption Machine Format parts, siz             41,231.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 143 of 735
                                                                                Form 1                                                                              Page: 143

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


920      Capsule NanoEncryption Machine Format parts, siz             41,231.09                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


921      Capsule NanoEncryption Machine Format parts, siz             69,667.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


922      ChangpartsC1P5,Film coated tablet size of 6.08mm             54,848.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


923      SHAFT, OID INSERTION TRAY                                         173.72                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 144 of 735
                                                                               Form 1                                                                            Page: 144

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


924      Metal detector for OID                                      20,211.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


925      Metal Detector/Conveyor for OID                             58,705.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


926      NANOGUARDIAN CAPSULE NANOENCRYPTION                      1,616,332.77                        0.00                                        0.00                    FA
         SYSTEM
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 145 of 735
                                                                               Form 1                                                                              Page: 145

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


927      Bushing front sprocket assembly frame                            109.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


928      Rail - Chain Flat Sec RH                                         750.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


929      Rail - Chain Flat Sec LH                                         750.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


930      Support - Stamp Area Bearing Surface                         4,875.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 146 of 735
                                                                               Form 1                                                                              Page: 146

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


931      Assembly - Eject/Reject Manifold RH                          4,394.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


932      Assembly - Eject/Reject Manifold LH                          4,394.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


933      Bearing - Laydown Brush                                          114.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 147 of 735
                                                                               Form 1                                                                              Page: 147

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

934      Bearing - Ejection Adjust                                         57.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


935      Bearing - Ejection Pivot                                          43.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


936      Bearing - Fixed Ball Screw Support                           1,116.55                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


937      Bearing - Simple Ball Screw Support                              525.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 148 of 735
                                                                               Form 1                                                                              Page: 148

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


938      Belt - Laydown Brush Drive                                       201.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


939      Belt - Bar Cleaner Drive                                         199.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


940      Coupling-Brush Drive Q/R,F/B,Incline                             796.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


941      Bush-Bar Cleaning                                                644.71                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 149 of 735
                                                                               Form 1                                                                              Page: 149

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


942      Bushing - Laydown Brush Block                                     28.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


943      Bushing - Center Sprocket Assembly                               102.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


944      Bushings - Rear Sprocket Assemble                                 48.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 150 of 735
                                                                               Form 1                                                                              Page: 150

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

945      Bushings - Front Sprocket Shaft                                  178.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


946      Fitting - Quick Conntect w/Shutoff                               255.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


947      Fitting - Quick Connect w/Hose Barb                              255.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


948      Fitting - Bar Vibrator                                            11.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 151 of 735
                                                                               Form 1                                                                              Page: 151

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


949      Fitting - Bar Vibarator Inlet                                     14.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


950      Housing - Rear Sprocket Bearing                                  819.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


951      Rail - Chain Incline Sec LH                                      501.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


952      Rail - Chain Incline Sec wBevel                                  501.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 152 of 735
                                                                               Form 1                                                                              Page: 152

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


953      Sprockets - Front                                           Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


954      Vibrator - Bar                                                   569.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


955      Center Sprocket Assembly                                         987.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 153 of 735
                                                                               Form 1                                                                              Page: 153

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

956      Rear Sprocket Assembly                                           987.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


957      Bearing - Linear Brg & Rail                                 18,890.90                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


958      Bearing - Fixed Ball Screw Support                           2,310.88                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


959      Bearing - Deep Groove Ball                                        22.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 154 of 735
                                                                               Form 1                                                                              Page: 154

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


960      Block - Slide Bushing Mount                                      661.24                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


961      Bushing - Brush Drive Assemblies                                 110.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


962      Bushing - Slide                                                  265.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


963      Chain - Single Lug 212 Bars QR                               4,939.80                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 155 of 735
                                                                               Form 1                                                                              Page: 155

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


964      Cover - Bellows                                                  331.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


965      Drum - Fill Tank                                                 560.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


966      Drum - Drain Tank                                                560.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 156 of 735
                                                                               Form 1                                                                              Page: 156

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

967      Guide - Stamp Exchange Cylinder                                  903.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


968      Mount - Bar Vibration Damping                                     68.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


969      Plate - Bar Vibrator                                         1,139.60                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


970      Plate - Bar Vibration Flat Section                           4,951.32                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 157 of 735
                                                                               Form 1                                                                              Page: 157

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


971      Pump - Peristaltic w/Motor                                   1,996.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


972      Shaft - Variable Primary Brush                                   393.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


973      Deriver - DC Output                                              780.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


974      Relay - Door Safety                                              387.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 158 of 735
                                                                               Form 1                                                                              Page: 158

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


975      Power Suppl                                                      682.98                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


976      Relay - Door Safety                                              475.93                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


977      Contactor-24 VDC Coil 25A                                    1,601.60                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 159 of 735
                                                                               Form 1                                                                             Page: 159

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

978      Contactor - Aux contact 4NO                                      98.38                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


979      Power Supply                                                 1,709.13                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


980      Bus Coupler BP-Mach-RM                                       1,315.60                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


981      Temp Control - Tempcon                                       2,056.92                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 160 of 735
                                                                                Form 1                                                                              Page: 160

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


982      Thermocouple Air Probe                                            453.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


983      Valve - Solenoid                                                  547.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


984      Valve - Solenoid, Center Exhaust, Cylinder Contr                  498.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


985      Magnet - Door Closure                                              54.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 161 of 735
                                                                               Form 1                                                                              Page: 161

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


986      Sensor - Home                                                    484.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


987      Sensor - Home/Overtravel                                         405.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


988      Switch - Coded Magnetic                                          153.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 162 of 735
                                                                               Form 1                                                                              Page: 162

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

989      Switch - Coded Magnetic                                          107.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


990      Switch - Limit                                                   297.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


991      Switch - Coded Magnetic                                      1,064.25                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


992      Driver - DC Servo                                                994.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 163 of 735
                                                                               Form 1                                                                              Page: 163

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


993      Contactor                                                        350.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


994      Contactor                                                         43.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


995      Driver - DC Servo                                            1,511.22                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


996      UMAC BP-Mach-RM                                             17,141.70                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 164 of 735
                                                                               Form 1                                                                              Page: 164

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


997      Switch - Ethernet                                                204.78                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


998      Touch Screen Computer - 12", 1GB Ram                         2,961.82                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


999      Linear Actuator 12,24 VDC                                        684.11                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 165 of 735
                                                                               Form 1                                                                              Page: 165

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1000     Motor w/Gearbox                                              2,040.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1001     Motor - DC Servo                                             1,171.46                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1002     Motor w/Gearbox                                                  427.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1003     Cover-Hopper,V/R Printer w/ Enclosure                            455.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 166 of 735
                                                                               Form 1                                                                              Page: 166

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1004     Tube-Air Blast 7 row, V/R                                        656.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1005     Front Sprocket assembly, VR/SP                               1,314.50                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1006     Coupling zero backlash 15mmx19mm                                 851.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1007     Cable Duct-E-Tube,1 axis 6.89 Bend R                             277.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 167 of 735
                                                                               Form 1                                                                              Page: 167

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1008     Cable Duct-E-Tube,1axis 6.89 Bned R                              124.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1009     Bracket-E-Chain Support, Locking                                  30.89                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1010     Ball Screw-5mm lead, 25 mm Dia, 620L                        15,341.05                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 168 of 735
                                                                               Form 1                                                                              Page: 168

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1011     Cylinder-Pneumatic 1-1/16" Bore 1.2                              299.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1012     Motor-AC Servo, 1.5 kW,200Vw Brake                           1,761.76                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1013     Rod-Top of Tablet Indicator VR/SP                                132.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1014     Shaft-Slide Shaft, Front VR/SP                                   137.28                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 169 of 735
                                                                               Form 1                                                                              Page: 169

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1015     Plate, Stripper support ,VR/SP                               1,304.16                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1016     Shaft, Slide shaft, Rear, VR/SP                                  215.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1017     Pin, Location, Pan, VR/SP                                        123.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1018     Cylinder, Pneumatic 1-1/16"Bore 22"                              306.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 170 of 735
                                                                               Form 1                                                                              Page: 170

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1019     Cover-X Axis Ball screw Bellows, VR/SP                           610.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1020     Ball Screw-16mm Lead, 25 mm Dia 592L                        11,815.24                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1021     Light-23" Fluorescent tube,24VDC 18W                             340.91                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 171 of 735
                                                                               Form 1                                                                              Page: 171

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1022     Motor-AC Servo,1.5kW,200V                                    1,484.91                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1023     Tube-Bar Cleaning A=.816 B=16,VR/SP                              676.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1024     Coupling Torque Lmiter 22 mm, 25-80                          1,127.98                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1025     Reducer-70:1, Inline, Servo                                  2,286.90                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 172 of 735
                                                                               Form 1                                                                              Page: 172

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1026     Knob-Thumb screw push-on for #10 SHCS                             12.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1027     Latch-Door,1" Square Tube Mount                                  114.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1028     Gauge-0-100 PSI,1/8 NPT 3/4 FACE                                  34.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1029     Regulator-Interface Manifold Mount                               237.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 173 of 735
                                                                               Form 1                                                                              Page: 173

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1030     Sensor-Digital fiber Sensor                                      270.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1031     Fiber-Fiber Unit 90 Angle                                        110.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1032     Sensor- Ultrasonic Defuse 18mm                                   159.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 174 of 735
                                                                               Form 1                                                                              Page: 174

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1033     Sensor-Ultrasonic Teach push button                               54.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1034     Relay- SSR, fused                                            4,901.40                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1035     Heater Relays                                                    477.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1036     Linear Bearing and Rail, Z axis                             19,164.32                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 175 of 735
                                                                               Form 1                                                                              Page: 175

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1037     Deflector - Tablet Catch Sheet                                    53.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1038     Filter - De-Duster Replacement Element                           658.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1039     Belt - Hopper Brush Drive                                        175.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1040     Bushing - Hopper Brush                                            75.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 176 of 735
                                                                               Form 1                                                                              Page: 176

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1041     Brush - Tablet Sweeper                                            29.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1042     Nut - Sonication / Stripper Guide                                318.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1043     Nut - Stripper Support - RH                                      370.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 177 of 735
                                                                               Form 1                                                                              Page: 177

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1044     Nut - Sonication Support - RH                                    370.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1045     Screw - Sonication Locating Support                              396.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1046     Filter - De-Duster HEPA Replacement Element                      549.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1047     Spring - Stripper Exchange Tray                                   58.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 178 of 735
                                                                                Form 1                                                                              Page: 178

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1048     Support - Ejection, RH                                        1,180.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1049     Support - Ejection, LH                                       Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1050     Hopper Diverter Chute                                         1,982.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1051     Bearing - Linear Ball Bushing, Bar Alignment Pin                  233.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 179 of 735
                                                                               Form 1                                                                              Page: 179

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1052     Bearing - Telescoping Rail, Heavy Load                       1,530.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1053     Block - Fill Tank Plug                                           245.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1054     Block - Drain Tank Plug                                          795.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 180 of 735
                                                                               Form 1                                                                              Page: 180

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1055     Block - Stripper / Sonication Guide Pin                          596.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1056     Block - Sonication Locating Support,                             516.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1057     Block - Sonication Locating Support,                             570.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1058     Block - Hopper Level Sensor Clamp                                450.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 181 of 735
                                                                               Form 1                                                                              Page: 181

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1059     Bracket - Cylinder Mount                                          48.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1060     Bracket - Stripper Removal                                        58.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1061     Cap - X/Z Axis Linear Bearing Rail Hole                          118.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1062     Wheel - Leveling Caster                                           97.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 182 of 735
                                                                               Form 1                                                                              Page: 182

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1063     Collar - Top of Tablet Rod                                        37.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1064     Collar - Bar Locating Spring                                     214.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1065     Collar - Ball Screw Stop                                          12.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 183 of 735
                                                                               Form 1                                                                              Page: 183

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1066     Fitting - Flow Control, 1/8 NPT                                  106.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1067     Pressure Regulator, 1/2" Port                                     89.21                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1068     Coupling - 3/8 Hex Q/R Brush                                      89.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1069     Cover - Infeed Chute                                             215.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 184 of 735
                                                                               Form 1                                                                              Page: 184

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1070     Cover - Eject Chute                                              198.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1071     Cover - Carriage Side - LH                                       198.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1072     Cover - Carriage Side - RH                                       198.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1073     Cover - X-Axis Linear Rail Bellows                               410.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 185 of 735
                                                                               Form 1                                                                              Page: 185

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1074     Cover - Z-Axis Air Seal, Rear                                    145.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1075     Deflector - Laydown Brush - RH                                   101.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1076     Deflector - Laydown Brush - LH                                   101.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 186 of 735
                                                                               Form 1                                                                              Page: 186

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1077     Deflector - Discharge Chute Chainmail Curtain                    495.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1078     Fitting - 1/8 NPT Cooling Air Nozzle                             146.36                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1079     Fitting - Air Nozzle, Individual Blow-Back                        24.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1080     Fitting - Wide Air Blast Nozzle, Plastic                         102.84                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 187 of 735
                                                                               Form 1                                                                              Page: 187

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1081     Fitting - 1/8" NPT, 1/4" Hose Barb                                64.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1082     Seal - Bar Alignment Pin Shaft                                    45.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1083     Seal - Z-Axis Cable Track Cover                                   29.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1084     Guide - Stamp Exchange Tray - LH                                 449.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 188 of 735
                                                                               Form 1                                                                              Page: 188

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1085     Guide - Stamp Exchange Tray - RH                                 449.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1086     Bearing - Telescoping Rail, Light Load                           548.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1087     Guide - Ramp Section Bar Filler - Rear                           149.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 189 of 735
                                                                               Form 1                                                                              Page: 189

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1088     Guide - Ramp Section Bar Filler - Front                          149.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1089     Guide - Discharge Chute - LH                                     475.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1090     Guide - Discharge Chute - RH                                     475.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1091     Handle - Carrier Bar Removal                                      21.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 190 of 735
                                                                               Form 1                                                                             Page: 190

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1092     Handle - Control Console Swivel                                  14.98                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1093     Handle - Enclosure Door                                          67.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1094     Hinge - Lift Off Door, LH                                        51.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1095     Hinge - Lift Off Door, RH                                        51.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 191 of 735
                                                                               Form 1                                                                            Page: 191

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1096     Key - 809 Woodruff                                               9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1097     Key - 5mm Square, 20mm Lg.                                       5.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1098     Key - 6mm Square, 20mm Lg.                                       2.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 192 of 735
                                                                               Form 1                                                                             Page: 192

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1099     Knob - Hopper Lock Down                                          41.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1100     Latch - Universal Console Locking                                68.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1101     Pin - Cotter                                                      0.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1102     Pin - Clevis                                                     19.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 193 of 735
                                                                               Form 1                                                                             Page: 193

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1103     Pin - Stipper Plate Alignment                                    49.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1104     Plunger - 1/4-20 StStl Body, Delrin Nose                         39.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1105     Ring - Snap, Internal, StStl                                     12.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1106     Ring - Snap, E-Style                                              5.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 194 of 735
                                                                               Form 1                                                                             Page: 194

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1107     Ring - Snap 17mm External                                         3.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1108     Roller - Sonication Tubing Guide, Large                          78.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1109     Roller - Sonication Tubing Guide, Small                          78.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 195 of 735
                                                                               Form 1                                                                              Page: 195

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1110     Shaft - Brush, Bar Cleaner                                        65.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1111     Shaft - Carrier Bar Alignment Pin                                169.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1112     Shaft - Secondary Brush Offset                                   179.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1113     Shaft - Secondary Brush Drive                                    289.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 196 of 735
                                                                               Form 1                                                                              Page: 196

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1114     Spring - Conveyor Tension                                         30.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1115     Spring - Top of Tablet Rod                                        15.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1116     Spring - Bar Alignment Pin                                        95.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1117     Wrench - Torque Adjustment, Coupling                             295.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 197 of 735
                                                                               Form 1                                                                              Page: 197

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1118     Tube - Air Blast 16 Row                                          982.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1119     UMAC-Power Supply 5V, 14A                                    1,280.40                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1120     Window - Deduster Brush Hood                                     195.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 198 of 735
                                                                               Form 1                                                                              Page: 198

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1121     Bulb - Indicator Light                                            38.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1122     Fan - 4.9", Filter Assy                                           75.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1123     Fan - 11.9", Filter Assy                                         118.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1124     Circuit Breaker - DC, 1 Pole, 10A C Trip                          75.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 199 of 735
                                                                               Form 1                                                                              Page: 199

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1125     Circuit Breaker - DC, 1 Pole, 15A C Trip                          62.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1126     Relay Cube DPDT                                                   20.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1127     Safety Relay Delay Output                                        499.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1128     Valve Solenoid Hi Flow 1/2" Port 24VDC                           904.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 200 of 735
                                                                                Form 1                                                                              Page: 200

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1129     Relay positive Guided 24 VAC/DC                                   556.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1130     Compact Flash Card. Note: with Back-up Program                     89.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1131     Circuit Breaker - 2 Pole, 4 Amp                                    68.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 201 of 735
                                                                               Form 1                                                                              Page: 201

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1132     Circuit Breaker - 3 Pole, 25 Amp, D Trip                         116.69                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1133     Circuit Breaker - 1 Pole, 40 Amp C Trip                           38.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1134     Circuit Breaker - 3 Pole, 40 Amp, C Trip                          99.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1135     Circuit Breaker - 2 Pole, 25 Amp, D Trip                          75.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 202 of 735
                                                                               Form 1                                                                              Page: 202

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1136     Driver - DC Analog Ref Signal                                    122.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1137     Pressure Switch - Digital Sensor                                 296.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1138     Power Supply - 24VDC, 20 Amp                                     899.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1139     Sensor - Capacitive Prox, Tank Fluid Level                       220.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 203 of 735
                                                                               Form 1                                                                              Page: 203

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1140     Fan - 10" Round, 550 CFM, 230VAC                                 120.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1141     Driver - AC 230V Fan Control                                      79.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1142     Supressor - R-C Snubber Inductive Load                            11.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 204 of 735
                                                                               Form 1                                                                              Page: 204

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1143     Valve - Solenoid, Tablet Ejection                                296.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1144     Cylinder Inductive Sensor                                        259.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1145     Ultra Compact regenerative drive, Sec Brush                      305.46                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1146     Tablet bar, C1P8                                            64,984.36                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 205 of 735
                                                                               Form 1                                                                            Page: 205

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1147     Vibratory Feeder 6.68 cu ft Hopper                          19,933.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1148     Change Parts OID C1P5                                       54,990.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1149     Sonication cart                                             14,982.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1150     Deduster vacuum                                              3,252.73                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 206 of 735
                                                                               Form 1                                                                              Page: 206

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1151     Ackley tool kit                                                  500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1152     Inspection station                                          93,381.45                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1153     Assembly dieholder tray,S.E.M                                3,992.59                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 207 of 735
                                                                               Form 1                                                                              Page: 207

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1154     Single Die Holder Handler                                        643.25                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1155     Assy, Stamp Head Pair                                      230,094.20                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1156     Assembly stamp head pair with Lemo connector               197,394.98                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1157     ASSY, INPUT TRAY, CID                                        7,727.32                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 208 of 735
                                                                                Form 1                                                                              Page: 208

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1158     Assembly, Stamp-In Verifier                                   2,260.24                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1159     ASSEMBLY, INPUT TRAY POST, SPRING LOADED                      2,198.29                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1160     Assembly, Sonication Tube Set                                     661.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1161     Assembly, Factory calibration board w/ conductiv              1,749.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 209 of 735
                                                                               Form 1                                                                              Page: 209

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1162     Assy., Fan Bank                                                    3.69                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1163     Assy., Safety Column                                               1.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1164     Carrier Bar Gap Assy.                                            130.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 210 of 735
                                                                               Form 1                                                                              Page: 210

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1165     Calibration Bar assembly                                         453.34                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1166     cRIO Rack Mount Controller for OID                          11,294.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1167     X-AXIS Stripper Plate Assy, C1P8                             3,261.31                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1168     Elastomeric Rectifier Assembly                                    56.07                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 211 of 735
                                                                               Form 1                                                                             Page: 211

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1169     PCB Wire cable                                               2,233.86                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1170     Cross over cable                                                  4.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1171     Heat shrinktubing, teflon .19to.071                              60.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1172     Heatshrink tubing,22 AWG,Teflon tubing                            0.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 212 of 735
                                                                               Form 1                                                                              Page: 212

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1173     Polyefin heat shrink, 1/16 to 1/32 I.D                            97.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1174     SHRINK TUBING, .063 ID, BLUE                                      22.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1175     Shrink tubing, clear, 0.1 I.D                                    605.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 213 of 735
                                                                                Form 1                                                                              Page: 213

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1176     Tubing, Shrink0.075IDx0.0005 wall                             1,457.65                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1177     Cable, Stamphead Machine 26ga/5cond 19x38 wi 3 s                   33.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1178     Heat shrink tubing, Viton, 1/8 to 1.4 I.D                          38.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1179     Heat shrink, Viton, 3/16 to 3/32 I.D                              152.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 214 of 735
                                                                                Form 1                                                                              Page: 214

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1180     SHRINK TUBING, .125 ID, BLACK                                      44.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1181     Pin, 1.25 wire to PCB, 30-32 gauge, crimp recept              3,675.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1182     Connector, 5 position header, 1.25mm R/A SMD                      488.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1183     Connector, 64 pin ribbon cable header                             459.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 215 of 735
                                                                               Form 1                                                                              Page: 215

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1184     Connector, LEMO 5-pin round bulkhead                         1,323.12                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1185     Connector, LEMO 5-pin round cable                            2,424.52                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1186     Lemo Plug                                                        300.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 216 of 735
                                                                                Form 1                                                                              Page: 216

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1187     Deduster for OID                                             34,169.32                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1188     Motor, Silverpack Controller Combo                                659.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1189     Being replaced by SNS-0002(fiberunit reflective)                  111.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1190     Hookup wire 24 AWK TEFLON                                         115.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 217 of 735
                                                                               Form 1                                                                              Page: 217

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1191     HEAVY DUTY 9V BATTERY SNAP                                         0.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1192     LED                                                               13.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1193     HEATER, 48 W, 1/8" DIAMETER X 3/4" LONG                          683.71                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1194     CONTACT TERMINAL                                                   3.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 218 of 735
                                                                               Form 1                                                                            Page: 218

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1195     Stamphead Heater                                             3,521.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1196     RTD, Omega                                                   3,825.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1197     Thermostat, Stamphead Sensata 3BL6-71                        1,422.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 219 of 735
                                                                               Form 1                                                                              Page: 219

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1198     Euro quick connect                                                70.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1199     Elevated Conveyor 1                                         23,750.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1200     FLEX CIRCUIT, LEFT                                               609.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1201     FLEX CIRCUIT, RIGHT                                              609.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 220 of 735
                                                                               Form 1                                                                              Page: 220

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1202     Screw, flathead, 0-80 UNC x 0.188"                               103.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1203     Screw, socket head cap, 2-56 UNC x 0.25"                          15.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1204     Screw, Socket head cap, 4-40 UNC x 1.25"                          25.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1205     Screw, Socket head cap, 2-56 UNC 2A x 1.25"                      125.43                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 221 of 735
                                                                                Form 1                                                                             Page: 221

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1206     Screw, Flat head, 2-56 UNC x .25"                                 91.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1207     Screw, 18-8 SS Cup Point Socket Set Screw 2-56 T                  49.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1208     Screw, Flat head, M2-0.4 x 4mm                                    16.71                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 222 of 735
                                                                               Form 1                                                                              Page: 222

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1209     Screw, Pan head, M2-0.4 x 4mm                                      4.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1210     Screw, Flat head,M1.6-0.35 x 4mm                                 125.97                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1211     Screw, Set 4-40 UNC x .125, Soft tip                             222.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1212     Screw, Set 6-32 UNC x .375", Cone tip                             39.61                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 223 of 735
                                                                               Form 1                                                                             Page: 223

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1213     Lockwasher, High collar spring #2                                 4.41                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1214     Lockwasher, High collar spring #4                                11.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1215     Screw, Set 10-32 x 0.312", Cup point                             46.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1216     Screw, Flat head, 2-56 UNC x .25"                                32.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 224 of 735
                                                                               Form 1                                                                             Page: 224

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1217     Screw, Pan head 4-40 x .25"                                       3.83                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1218     Screw, Flat head 0-80 x 3/16", ANSI B18.6.3                      56.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1219     Screw, Flat head 2-56 x 1/8", ANSI B18.6.3                       47.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 225 of 735
                                                                                Form 1                                                                              Page: 225

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1220     Screw, Set 2-56 Cone tip                                          173.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1221     Set screw, 10-32 x 1-1/2 pilot (dog) cup point                     89.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1222     Screw, Socket head 4-40 UNC x 1-1/8"                               88.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1223     Threaded insert, 4-40 UNC Int, 10-32 UNF Ext x 1                  214.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 226 of 735
                                                                               Form 1                                                                             Page: 226

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1224     Screw, Pan head, M2-0.4 x 6mm                                     6.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1225     Set screw, 2-56 UNC x 1/16 cone tip                              64.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1226     SCREW, BRASS TIP SET, 4-40 X .125 LONG                           59.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1227     #6 0.143 IDx 0.267ODx.018 TH washer                              35.44                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 227 of 735
                                                                               Form 1                                                                             Page: 227

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1228     M5 x 16 mm BHCS                                                  26.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1229     6-32 x 1-2 BHCS                                                  32.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1230     M6x1mm thumb nut                                                 17.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 228 of 735
                                                                                Form 1                                                                              Page: 228

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1231     Screw, Button Head, Phillips 2-56 x 5/8" St. Stl                    5.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1232     Screw, Set 2-56 x 1/8" St. Stl. Soft Tip Brass                    110.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1233     10-24 NYLON LOCKNUT                                                11.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1234     SCREW, BUTTON HEAD, SOCKET, 4-40 UNC X 5/16                         6.57                        0.00                                        0.00                    FA
         LONG
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126       Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 229 of 735
                                                                                Form 1                                                                            Page: 229

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                       Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                      Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                           Claims Bar Date:            07/12/13

                                1                                      2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1235     Nut, Captive 8-32 .31"OD x .09THK St. Stl.                        9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1236     6-32X 3/8 long flat head screw                                    6.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1237     Threaded insert, 4-40 thdx0.156 o.d                               6.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1238     Dowel pin 1/8 diax 5/8 long                                       6.70                        0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 230 of 735
                                                                               Form 1                                                                             Page: 230

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1239     Screw, flat head, 4-40x5/16" long                                16.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1240     Screw,low profile caphead,10-32x3/4 long                         14.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1241     Screw, flat head, M6-0.1x12 mm long                               6.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 231 of 735
                                                                               Form 1                                                                              Page: 231

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets



1242     Screw,flat head,0-80x 3/8 long                                    21.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1243     Screw,Pan head M2-0.4x4mm long                                   115.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1244     SCREW, SOCKET SET 10-32 X 1.25L ST STL CUP                        84.59                        0.00                                        0.00                    FA
         POINT
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1245     Standoff-1/4" HEX#4-40 THRU X .5 LG S/S                           54.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 232 of 735
                                                                               Form 1                                                                             Page: 232

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1246     Washer, Delrin .12 ID x .25 O.DX.031 THK                         31.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1247     Screw, thumb, oval HD, 1/4-20 nylon                               0.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1248     NUT, HEX, jam, 1/4-20, 18-8 S/S                                  12.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 233 of 735
                                                                                Form 1                                                                              Page: 233

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1249     Screw, shoulder, .125 dia x.31 LG, #4-40 THD 316                  108.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1250     Screw, flat head socket cap, $4-40 x 3/8" LG S/S                   12.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1251     WAsher, spring lock, #4, 18-8 SS                                   67.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1252     Screw, Button head, 6-32x3/16 long, 18-8 S.S                        7.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 234 of 735
                                                                                Form 1                                                                              Page: 234

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1253     Screw, Modified, Socket Head Cap, 6-32 x 5/8                      103.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1254     Screw, Modified, Socket Head Cap, 6-32 x 3/4                      311.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1255     Screw, #4-40 x .25, Flat Hd Phil w/Torq patch, S                    8.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1256     Nut, Hex, #4-40, .19W x .062H, 18-8                                 0.83                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 235 of 735
                                                                                Form 1                                                                             Page: 235

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1257     Bearing Shim, .088 I.D. x .153 O.D. x .020 thk.                    3.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1258     Set screw, 10-32 UNF x1.250 long cup point                        38.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1259     NUT, HEX JAM, 3/8-16                                               7.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 236 of 735
                                                                               Form 1                                                                              Page: 236

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1260     RING, RETAINING, E STYLE, 5/32" SHAFT                              8.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1261     SCREW, SLOTTED CHEESEHEAD, M2.5 X 8                                1.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1262     Screw, Button Head, 2-56 x .625                                   17.69                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1263     SCREW, SOCKET HEAD CAP, M2 X 0.4 X 25MM LONG                     810.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 237 of 735
                                                                               Form 1                                                                             Page: 237

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1264     SCREW, CROSS RECESSED FLAT HEAD, M2.5 X 4MM                       0.04                        0.00                                        0.00                    FA
         LONG
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1265     SCREW, CUP POINT SET, M2.5 X 4MM LONG                            17.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1266     SCREW, CONE POINT SET, 6-32 X 3/8 LONG                           23.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1267     SCREW, CROSS RECESSED FLAT HEAD, 4-40 X 3_8                      10.94                        0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 238 of 735
                                                                               Form 1                                                                            Page: 238

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1268     Screw, Button head,6-32UNFx1/4longSS                             6.73                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1269     Screw,4-40x.25 FlatHd Phil ST STL                                4.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1270     Dowel PIN,3/32 DIAx1/4 LONG,312 S.S                              9.79                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 239 of 735
                                                                               Form 1                                                                             Page: 239

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



1271     SCREW, SLOTTED CHEESEHEAD, M2.5 X 4                               4.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1272     SCREW, CROSS RECESSED FLAT HEAD, M2 X 6                          15.12                        0.00                                        0.00                    FA
         LONG
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1273     WASHER, SPLIT RING LOCK, SIZE 1                                   4.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1274     SCREW, FLAT POINT SET, M4 X 6 LONG                                7.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 240 of 735
                                                                               Form 1                                                                            Page: 240

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1275     SCREW, FLAT POINT SET, M4 X 4 LONG                               7.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1276     SCREW, SOCKET HEAD CAP, M2 X 6 LONG                              7.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1277     SCREW, CROSS RECESSED FLAT HEAD, M2.5 X 6                        5.74                        0.00                                        0.00                    FA
         LONG
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 241 of 735
                                                                                Form 1                                                                            Page: 241

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



1278     SCREW, CROSS RECESSED FLAT, 0-80 X .187 LONG                      8.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1279     Type 316 S.S Socket Head cap screw 2-56 thread,3                  4.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1280     SCREW, SOCKET HEAD CAP, 8-32 X 5_16 LONG                          3.89                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1281     Hopper Feeder 1                                              21,895.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 242 of 735
                                                                               Form 1                                                                            Page: 242

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1282     KIT, TABLET TRAP CHANGEOVER VER2 - C1P8                      1,193.48                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1283     Linear bearing, Stamphead                                    8,709.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1284     Base, Shipping tray dieholder                                1,140.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 243 of 735
                                                                                Form 1                                                                              Page: 243

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1285     Lid, Shipping tray dieholder                                  2,137.50                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1286     Grease, Stamphead                                                 253.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1287     Syringe, Plastic Luer lock                                          0.98                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1288     Spring Plunger, L-Handle 1/4-20 x 1 5/8"L St. St                   12.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 244 of 735
                                                                                Form 1                                                                              Page: 244

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1289     Nema 17, motor bracket                                            316.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1290     Loctite 264, high temp mediumstrength threaded l             Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1291     Loctite primer 7649                                                56.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1292     Kapton tape,1/2 widex0.0025thick                                    7.38                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 245 of 735
                                                                                Form 1                                                                              Page: 245

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1293     KWIKLOK 3/16dia X 3.5L PIN & COLLAR                               375.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1294     Grommet, rubber 1-1/4" ID,1-7/8"ODTHK FOR1-1/2"                     8.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1295     VIBRATOR, AIR-POWERED ROTARY BALL VIBRATOR                         60.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 246 of 735
                                                                                Form 1                                                                             Page: 246

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1296     Spring-comp .24OD x.022 wire x.375 FH                             40.23                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1297     440-C Stainless Steel Precision Ball 5/32" Diame                  66.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1298     Coupling, Clamp, 5mm bore, 22mm Le                                82.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1299     Guide, Rope, 3/8 dia                                               5.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 247 of 735
                                                                               Form 1                                                                              Page: 247

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1300     Space Block, .090 thk x .075 dia                                  35.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1301     BEARING, WIDE BLOCK, IKO LWLF 10                             4,354.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1302     SPRING, CID                                                      200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1303     FITTING, COLDER INSERT POLYPROP 1_4 ID TUBE                      153.90                        0.00                                        0.00                    FA
         FOOD


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 248 of 735
                                                                               Form 1                                                                              Page: 248

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1304     FITTING, COLDER BODY POLYPROP 1_4NPT FOOD &                      518.70                        0.00                                        0.00                    FA
         EDPM
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1305     SPRING, COMPRESSION                                              661.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1306     TUBING, SONIC CART NALGENE 180 CLEAR PVC                         100.54                        0.00                                        0.00                    FA
         1_4ID 1
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 249 of 735
                                                                                Form 1                                                                              Page: 249

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1307     REFLECTOR, INPUT & OUTPUT TRAY                                      5.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1308     Tube,2" diax9" usable length w caps, white stamp                  105.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1309     Coupling, Reducing,1/4 x 1/8 NPT,TeflonFDA Compl                  272.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1310     Tie Wrap,0.060 Thickx4" long, yellow                                1.77                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 250 of 735
                                                                               Form 1                                                                            Page: 250

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1311     Tie Wrap,0.060 thick x4" long Blue                               1.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1312     Tie Wrap,0.060 Thickx4" Long RED                                 1.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1313     Tie Wrap,0.060 Thickx4" long Flourecent Green                    1.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 251 of 735
                                                                                Form 1                                                                              Page: 251

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets



1314     SHAFT, INPUT TRAY SLIdE POST                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1315     FITTING, INSTANT, ELBOW, 1_TUBE TO 1_8 NPPT                         4.93                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1316     FITTING, QUICK DISCONNECT, BARBED, .125 FLOW                        4.95                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1317     Conveyor Rollers, Series 1100,1.18 DIAx20" Long                   427.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 252 of 735
                                                                                Form 1                                                                              Page: 252

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1318     Weight 2 kg,+/- 2g, 2-7/16 dia,3-1/2 long Brass                   640.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1319     Compression spring,.300o.d x3.0 longx.049 wire d                  613.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1320     Compression spring,.24 o.dx1.25 longx.035 wire d                  613.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 253 of 735
                                                                                Form 1                                                                            Page: 253

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1321     Dow Corning 736 Heat-Resistant Silicone 3.0 Ounc                  2.87                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1322     Heater Block                                                  5,725.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1323     L Bracket left side                                           4,442.77                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1324     LBracket right side                                           3,978.61                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 254 of 735
                                                                               Form 1                                                                              Page: 254

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1325     Spring Machined, Binned for tolerances                       4,427.36                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1326     Die Holder Transport insert Tray                                 285.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1327     Foam,Dieholder Transport Foam Insert                             175.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1328     Strain Relief                                                2,074.75                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 255 of 735
                                                                               Form 1                                                                              Page: 255

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1329     Lock Pin                                                         482.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1330     Spring shaft                                                     618.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1331     Cable Cover                                                      618.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 256 of 735
                                                                               Form 1                                                                              Page: 256

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1332     Spring Block Pin Plate                                       1,178.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1333     PLATE, SPRING BLOCK PIN, CID                                     700.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1334     Heater Flat Plate                                            2,618.45                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1335     Grease block                                                 1,026.60                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 257 of 735
                                                                               Form 1                                                                              Page: 257

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1336     Plate, Mounting Inspection station                               735.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1337     Plate, Slide Mount Inspection station                            745.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1338     BASE, OUTPUT TRAY, CID                                       1,470.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1339     Slide, Production output tray                                    960.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 258 of 735
                                                                               Form 1                                                                              Page: 258

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1340     Plate, Top, Input die holder                                     950.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1341     PLATE, TOP, INPUT DIE HOLDER                                 1,070.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1342     PLATE, TOP, INPUT TRAY, CID                                  2,690.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 259 of 735
                                                                               Form 1                                                                              Page: 259

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1343     Post,Alignment                                                   416.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1344     PLATE, BASE, INPUT DIE HOLDER, CID                               935.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1345     Base input tray CID                                          1,925.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1346     Bracket, Sensor Mount                                        1,898.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 260 of 735
                                                                               Form 1                                                                              Page: 260

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1347     Bracket, Lens mount                                          2,175.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1348     Block, 0.012 thick probe mount                                   286.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1349     Slide, Transport Tray                                            412.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1350     Base, Transport Tray                                             885.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 261 of 735
                                                                               Form 1                                                                             Page: 261

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1351     Strain relief, stamp head                                    3,388.50                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1352     Shaft, Base, Input Dieholder                                     60.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1353     Tray, Transfer output dieholders                             1,644.00                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 262 of 735
                                                                               Form 1                                                                              Page: 262

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1354     Spring Plunger                                               2,965.29                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1355     Plate, Cover, C1P1 Tablet Tray                               1,362.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1356     Bracket, Spring plunger output tray                              360.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1357     Bracket, indicator top of tablet                                 495.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 263 of 735
                                                                                Form 1                                                                              Page: 263

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1358     Spacer, strain relief,production stamphead                        507.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1359     Foam, bottom insert, die holder transport box, 6                  225.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1360     Block, Output Tray Pin                                            129.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1361     Plate, ratainer .125                                              200.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 264 of 735
                                                                               Form 1                                                                              Page: 264

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1362     Block,Stripper Plate Ledge support                               596.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1363     MPlate,Stripper Ledge RH                                         590.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1364     Plate,Stripper Ledge LH                                          590.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 265 of 735
                                                                               Form 1                                                                              Page: 265

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1365     Plate, Magnetic stripper sheet support                       4,790.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1366     Captive Screw,X-AXIS Stripper plate                              400.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1367     Pin, Alignment                                                   220.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1368     Bar, Spring housing, X Axis Stripper Plate                       560.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 266 of 735
                                                                               Form 1                                                                              Page: 266

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1369     Block, Spring Housing Cove                                       520.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1370     Pin,Adjustment                                                   260.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1371     Pin, Centering, X -AXIS Stripper Plate                            10.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1372     Pad, Retaining, shipping tray                                4,925.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 267 of 735
                                                                               Form 1                                                                              Page: 267

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1373     Retainer, spare dieholder                                        135.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1374     Bar, Chopper                                                     760.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1375     Bar, Chopper                                                     760.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 268 of 735
                                                                               Form 1                                                                              Page: 268

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1376     Rail, Tray Guide                                                 450.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1377     Plate, connector mount, side                                     224.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1378     Plate, connector mount, back                                     104.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1379     Collar, Push PIN                                                 240.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 269 of 735
                                                                               Form 1                                                                              Page: 269

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1380     Plate, Base, Verifier                                        3,450.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1381     Base, Box, Removable, Stamp-In Verifier                      1,074.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1382     Block, input hopper nanoink                                      660.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1383     Block, Adapter 3700 S.E.M tray mount                             208.18                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 270 of 735
                                                                                Form 1                                                                              Page: 270

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1384     Bar, Cross Support, Sonnication TrayBP-Mach-RM               Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1385     Bracket, Side support, Sonnication Tray                           300.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1386     Bar, Spring pin adjustment base                                   700.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 271 of 735
                                                                               Form 1                                                                              Page: 271

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1387     Bar, spring pin adjustment slide                                 800.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1388     Bar, Guide sonication tray                                       350.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1389     Bar, Guide sonication tray                                       350.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1390     Spacer                                                           600.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 272 of 735
                                                                               Form 1                                                                              Page: 272

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1391     Factory, calibration board                                       994.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1392     Tube, Vibratory Feeder Extension                             1,980.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1393     Block, Factory Gage                                              180.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1394     Angle Bracket, Bore to Bore test fixture                         670.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 273 of 735
                                                                               Form 1                                                                              Page: 273

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1395     Plate, C1P1 Tablet Storage Tray                              2,596.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1396     Bracket, Nickel Wafer mount                                      240.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1397     L-BRACKET, SHORT, RH, ALUM                                   1,993.42                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 274 of 735
                                                                               Form 1                                                                              Page: 274

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1398     L-BRACKET, SHORT, LH, ALUM                                   1,604.46                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1399     BLOCK, SPRING, CID, SOLO SPRING                                  780.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1400     Pin, Threaded 10-32 UNFx3/8 Long                             1,860.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1401     Anchor, Wire spring                                              559.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 275 of 735
                                                                               Form 1                                                                              Page: 275

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1402     SHAFT, Spring adjustment                                         804.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1403     Latch, Sonication Tray                                           599.99                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1404     BAR, SONICATION LOCATING PINS                                    390.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1405     Plate, Authentication Tray 3 piece cover                         698.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 276 of 735
                                                                               Form 1                                                                              Page: 276

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1406     Bar,Sonic Tubing slide                                           300.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1407     Bracket, Gage and Overload                                       672.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1408     BLOCK, ALIGNMENT, OUTPUT TRAY                                    430.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 277 of 735
                                                                               Form 1                                                                            Page: 277

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1409     BASE, ENCRYPTION VIEWER, INSERT TYPE                         1,662.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1410     SLEEVE, INPUT TRAY POST                                      1,127.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1411     SLEEVE, INPUT TRAY POST                                      1,300.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1412     BASE, INPUT TRAY POST                                        1,414.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 278 of 735
                                                                                Form 1                                                                              Page: 278

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1413     BASE, INPUT TRAY POST                                         1,700.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1414     Plate, Wafer Spinner Disk                                         530.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1415     Pin, Setscrew Block                                           1,802.50                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1416     Reworked Setscrews,10-32 UNFx.153 Long stamphead              1,002.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 279 of 735
                                                                                Form 1                                                                              Page: 279

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1417     Stamp head mounting screw,6-32 UNC x 5/8 Long                     700.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1418     Standoff,1/4 O.Dx7/6 Long,4-40 UNC THRU garolite                   69.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1419     Controller, Stand Off                                             144.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 280 of 735
                                                                               Form 1                                                                              Page: 280

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1420     Wafer, Sanding Block                                             250.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1421     Plate, Heater Block mount                                        194.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1422     Plate,Weight holder                                              148.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1423     Plate, Bearing Block mount                                       148.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 281 of 735
                                                                               Form 1                                                                              Page: 281

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1424     Plate, Bearing Rail mount                                        100.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1425     Pin, Plate Alignment, X Axis Stripper Plate                      192.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1426     Plate, Spring Housing Cover                                      176.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1427     SCREW, M2-0.4 X 3.5MM LONG, S.S.                                 524.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 282 of 735
                                                                               Form 1                                                                              Page: 282

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1428     RIOT BAR, INPUT TRAY                                             198.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1429     RIOT BAR, INPUT TRAY, CENTER                                     124.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1430     Slide, Transport Tray                                              0.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 283 of 735
                                                                               Form 1                                                                              Page: 283

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1431     Bracket, Anchor                                                  787.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1432     Spacer Sheet, .050 Thick, Stripper Sheet                         300.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1433     Acid flux                                                          7.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1434     Rosin flux                                                        46.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 284 of 735
                                                                                Form 1                                                                              Page: 284

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1435     Peak, 2054 CIL wide stand microscope Magnificati                  738.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1436     Press to close bags,16"x20" 4mil thk fda                            9.45                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1437     Board, for Stamphead Heater-RTD                               1,303.90                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1438     Humidity Heater ESD Board PCB                                     112.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 285 of 735
                                                                               Form 1                                                                              Page: 285

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1439     Analog/discrete sensor w/QD                                      286.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1440     Fiber unit reflective, adjustable spot                           223.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1441     Gripper, Transfer Robot                                          114.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 286 of 735
                                                                               Form 1                                                                              Page: 286

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1442     Manual, Stencil, 0.054" aperture                             1,250.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1443     Cover, Cable sleeve                                               46.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1444     Plate, Conductor, Top                                            915.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1445     Plate, Conductor, Verifier Top                                   195.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 287 of 735
                                                                               Form 1                                                                              Page: 287

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1446     Plate, Conductor, Bottom                                         717.08                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1447     CABLE COVER, CID                                                  40.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1448     Stripper Plate, CID                                          1,080.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1449     Plate, Stripper Sheet Retainer,0.020 Thick                       160.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 288 of 735
                                                                               Form 1                                                                              Page: 288

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1450     C1.P5 SERPENTINE STRIPPER SHEET                                  540.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1451     Stripper Sheet, C1.P8                                        2,850.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1452     Compression spring -2.75" Lx0.48 OD                               68.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 289 of 735
                                                                               Form 1                                                                              Page: 289

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1453     SPRING, COMPRESSION, INPUT TRAY POST                              40.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1454     SPRING, INPUT TRAY POST                                          220.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1455     Spring,Input tray slide post                                      71.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1456     Surge Hopper 1                                               3,964.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 290 of 735
                                                                               Form 1                                                                              Page: 290

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1457     Warrantytest                                                Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1458     Assembly Transport Tray                                     21,407.28                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1459     Shipping Tray Assembly                                           765.23                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1460     Die set fixed code - C1P8                                   13,965.60                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 291 of 735
                                                                                Form 1                                                                              Page: 291

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1461     Plate, C1.P2 Tablet Tray,SEM Authenticationtray                   595.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1462     Developmental SS for Chao Center recoating testi             Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1463     SSFC1P8                                                      Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 292 of 735
                                                                               Form 1                                                                              Page: 292

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1464     Stamp Set                                                    5,154.72                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1465     Transport tray assembly                                     16,794.10                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1466     NI Wafer Diameter Gauge Assy                                     340.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1467     Bottom of Spare Stamp Tray Assy                             Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 293 of 735
                                                                                Form 1                                                                              Page: 293

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1468     Spare Stamp Tray Assembly                                         273.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1469     Die Set variable code - C1P8                                 47,058.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1470     Washer, Flat #5 .128"ID x .238"OD x .035" THK St                   10.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1471     SCREW, FLAT HEAD 4-40x,312 18-8 SS                                  5.28                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 294 of 735
                                                                                Form 1                                                                            Page: 294

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1472     SCREW, FLAT HEAD 4-40x,625 SS                                     3.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1473     Adhesive Epotek H20E - 8oz Kit (4oz part B+4oz p              4,324.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1474     Pickup tip .025" for XPO P&P                                  1,185.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 295 of 735
                                                                                Form 1                                                                              Page: 295

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1475     Case, Transport environmental (31.3x20.4x15.5 in                  970.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1476     Dieholder 1                                                   1,327.25                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1477     Tray, Robotic Transfer dieholders                             1,314.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1478     Plate, Tab Cut Wafer Mount                                        722.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 296 of 735
                                                                                Form 1                                                                              Page: 296

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1479     Washer, Flat,.250 O.Dx4-20UNC I.D x.032thick,del                  131.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1480     Bar, Wafer Tab Cover Guide                                    3,120.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1481     Plate, Wafer Tab Cover                                        2,077.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1482     Dieholder, Well-Type, 3.25mm Max. Die Dia.                          0.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 297 of 735
                                                                               Form 1                                                                              Page: 297

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1483     Dieholder, Well-Type, 1.17mm Max. Die Dia.                  19,624.42                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1484     ORIENTATION RING                                                 660.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1485     NG spare Stamp Tray Bottom                                       900.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 298 of 735
                                                                               Form 1                                                                              Page: 298

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1486     NG Spare Stamp Tray Top                                      1,050.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1487     Die-1_5x2_1-waferpitch3-TCBasePlate                              540.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1488     IPA 70% filtered to 0.2um, USP grade                              47.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1489     Shim, Wafer Tab Cut Fixture                                      507.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 299 of 735
                                                                               Form 1                                                                             Page: 299

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1490     HANDLE, TRANSPORT TRAY                                           44.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1491     Spacer sheet, .010 Thk                                      Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1492     Development stamp set                                       Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1493     Development stamp set                                       Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 300 of 735
                                                                                Form 1                                                                            Page: 300

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1494     Development stamp set                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1495     Silicon wafer, 100mm, 525um thick, Prime silicon              3,621.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1496     Test BOM II                                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 301 of 735
                                                                               Form 1                                                                              Page: 301

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1497     Assembly, Pen Array Gimbal                                       872.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1498     Pen Array Handle                                                 567.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1499     Gimbal Mounting Assembly                                     2,202.89                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1500     Custom OEM AFM System, 15 micron Z range                   116,750.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 302 of 735
                                                                               Form 1                                                                              Page: 302

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1501     Custom OEM AFM System, 40 micron Z range                    Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1502     Vibration Isolation Table, Passive                          17,155.12                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1503     Cable, Active Pen Driver                                         432.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1504     Cable, Active Pen Driver Board Power                              16.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 303 of 735
                                                                                Form 1                                                                              Page: 303

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1505     Cable, Active Pen Driver Board I2C                                165.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1506     Flexible Tubing 1/8" o.d                                            7.68                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1507     Flexible Polyolefin Heat-Shrink Tubing 1/8" ID T                    2.74                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 304 of 735
                                                                                Form 1                                                                             Page: 304

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1508     Flexible Polyolefin Heat-Shrink Tubing 1/4" ID T                   1.04                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1509     DI water                                                     Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1510     Avidin-FITC                                                  Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1511     CONNECTOR, 5-PIN, .16"-.20" DIAMETER CABLE                        36.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 305 of 735
                                                                               Form 1                                                                             Page: 305

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1512     TERMINAL QUICKFIT RIVET .187 TAB                                 28.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1513     CONNECTOR HEADER, 50 POS. 3MM SMD 0.5MM                          13.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1514     CONNECTOR RECEPTICAL 80POS W/POSTS SMD                           69.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1515     CONNECTOR MDR RCPEPTICAL 20POS R/A 4-40                          65.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 306 of 735
                                                                               Form 1                                                                             Page: 306

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1516     STRIP CONNECTOR, RECEPTICAL, 2 CONTACTS                           4.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1517     CONN HOUSING 3POS .156 W RAMP                                     0.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1518     CONN HEADER 2POS .100 GOLD                                       12.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 307 of 735
                                                                                Form 1                                                                              Page: 307

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1519     CONNECTOR 37P CLAMSHELL BLACK                                      46.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1520     Protocol, Protein Printing Solution                          Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1521     Software, InkCAD Software, PCI Compatible, NSCRI                  900.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1522     Objective Lens, optic                                             650.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 308 of 735
                                                                               Form 1                                                                              Page: 308

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1523     Stage Leveling Pads Qty 4                                   Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1524     Puck, Sample Holder, multilayer                              1,575.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1525     SPK 5V Krypton Lamp for Nano R/I                                 700.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1526     SPK, 75-300mm Zoom Lens with adapter                             262.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 309 of 735
                                                                                Form 1                                                                              Page: 309

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1527     SPK, Cable Clamp, Nano R2 Horseshoe inc. mountin                  123.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1528     DPN Stage, Controller & Scanner 110V PCI                    215,448.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1529     System, NSCRIPTOR 110V PCI, refurbished                      50,000.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 310 of 735
                                                                               Form 1                                                                              Page: 310

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1530     DPN Stage, Controller & Scanner 220V PCI                    53,862.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1531     Fuse 3.15A 250 V                                                   7.77                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1532     Assembly, Scanner Bottom Plate                                    44.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1533     Photo Detector Assembly                                          667.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 311 of 735
                                                                               Form 1                                                                              Page: 311

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1534     Photo Detector Assembly, Refurbished                        Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1535     Photo Detector Angle Rotation kit                                742.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1536     Calibration Grid, Z-Height, 20nm Step                            200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1537     Software, SPIP Software: Module, Basic                           742.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 312 of 735
                                                                               Form 1                                                                              Page: 312

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1538     Manual, DNA User Guide                                           150.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1539     Scanner Laser Assembly                                       7,706.76                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1540     Manual, AFM Modes DPN-5000                                  Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 313 of 735
                                                                               Form 1                                                                              Page: 313

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1541     Signal Breakout Box, NSCRIPTOR                               1,050.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1542     Ceramic puck slice                                           1,582.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1543     Probe Interface Cable set                                        644.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1544     Probes, C-AFM with Coaxial Cable                             2,194.50                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 314 of 735
                                                                               Form 1                                                                             Page: 314

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1545     BNC Female panel mount connector                                 26.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1546     BNC female isolated bulkead connector                            11.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1547     Alkaline battery 9v                                               6.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1548     LCD display, small parallel                                      83.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 315 of 735
                                                                               Form 1                                                                             Page: 315

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1549     Rotary Switch 1 POL                                               3.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1550     Rocker switch off/on                                             23.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1551     Battery Holder                                                    2.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 316 of 735
                                                                               Form 1                                                                            Page: 316

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1552     Resistor 1Kohms 1 % 1/4Watt                                      0.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1553     Resistors 10Kohms 1% 1/4 Watt                                    0.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1554     Resistor 100Kohms 1% 1/4 watt                                    0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1555     Resistor 1Mohms 1% 1/4 watt                                      0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 317 of 735
                                                                               Form 1                                                                            Page: 317

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1556     Resistor 9.09Kohms 1% 1/4 watt                                   0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1557     Resistor 909ohms 1% 1/4 watt                                     0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1558     Resistor 90.9ohms 1% 1/4 watt                                    0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1559     Resistor 10ohms 1% 1/4 watt                                      0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 318 of 735
                                                                               Form 1                                                                              Page: 318

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1560     Resistor 2.2Mohms 1% 1/4 watt                                      0.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1561     Bias Control Option, NSCRIPTOR                                   159.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1562     Option, 2D nano PrintArrayDPN Compon                        Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 319 of 735
                                                                               Form 1                                                                              Page: 319

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1563     Option, Micropositioning stage, DPN 5000                         705.87                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1564     Gloves, Latex Laboratory                                           3.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1565     Carbon Sample Dual Sided Tabs, 12mm                              278.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1566     Boxes, Tin Specimen                                                6.62                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 320 of 735
                                                                               Form 1                                                                              Page: 320

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1567     AFM Metal Speciment Discs                                        308.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1568     Set, Precision Screw Driver Set                                   59.97                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1569     Set, Hex Key Combination Set                                      56.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1570     Pistol Grip Air Blow Gun                                          16.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 321 of 735
                                                                                Form 1                                                                              Page: 321

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1571     Multilayer Piezoelectric Actuators for NSCRIPTOR             10,807.72                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1572     Multilayer Piezoelectric Actuators for DPN 5000               4,590.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1573     Spacer Puck Disks, Set of 3                                       615.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 322 of 735
                                                                               Form 1                                                                            Page: 322

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1574     Nano DST/R3 XYZ Board with HV amps                          11,398.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1575     Nano DST/R3 Motor Driver Board                               5,447.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1576     OEM NF90 OEM Laser Assembly                                  3,580.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1577     Nano R3 OEM System Cable Set                                 1,931.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 323 of 735
                                                                               Form 1                                                                            Page: 323

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1578     Nano R/E Stage Interface Board                               1,395.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1579     OEM NanoFlex 90 Scanner                                     31,500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1580     Signal Access Module for Nano R3                             1,785.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1581     SPK, Nano-R3 Motor                                           1,954.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 324 of 735
                                                                                Form 1                                                                              Page: 324

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1582     OEM NR3 Horseshoe w/Brackets for R3 Nanoflex Sca              7,231.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1583     DPN Controller Power supply +15DVC -15VDC                         827.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1584     DPN Controller Power supply +140VDC                               830.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 325 of 735
                                                                               Form 1                                                                              Page: 325

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1585     Kaman Sensor Set for DPN 5000                                6,048.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1586     Dither piezo assembly                                            359.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1587     Scanner, PJ flexure for DPN 5000                             9,774.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1588     Kit, Vacuum Pump 110V                                            672.47                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 326 of 735
                                                                               Form 1                                                                              Page: 326

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1589     Kit, Vacuum Pump 220V                                            669.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1590     System, Nano-R3 with NanoFlex Scanner                      844,740.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1591     Objective lens translation stage kit                             199.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1592     Manual, Biological Printing Solutions A & B                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 327 of 735
                                                                                Form 1                                                                            Page: 327

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1593     Environmental Chamber & Controller 120 Volt                  18,584.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1594     Environmental Chamber & Conroller 110 Volt, refu             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1595     Environmental Chamber & Conroller 220 volt, refu             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 328 of 735
                                                                               Form 1                                                                              Page: 328

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1596     O-rings, Iris Ports                                              164.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1597     Iris Entry Port Sleeves                                          715.00                        0.00                                        0.00                    FA
            "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1598     Global E-Chamber, 220V                                      10,082.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1599     Cap, .1uF Ceramic Chip X7R                                         7.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 329 of 735
                                                                               Form 1                                                                              Page: 329

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1600     Cap, 10uF Tantalum                                               124.26                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1601     ADC 16 bit Burr Brown I2C1                                       188.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1602     ADC 16 bit Burr Brown I2C2                                       188.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1603     IC Pot Quad 20K                                                  192.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 330 of 735
                                                                               Form 1                                                                              Page: 330

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1604     Header, 2 Pin                                                     97.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1605     Header, 5 Pin                                                    169.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1606     Connector, 20 Pin                                                 84.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 331 of 735
                                                                               Form 1                                                                              Page: 331

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1607     Power Jack                                                        88.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1608     Diode Schottky 40V 1A SOD-123                                     10.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1609     Regulator, 3.3V                                                  396.34                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1610     Resisitor, 220 Ohm 1/4 W 1206                                     11.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 332 of 735
                                                                               Form 1                                                                             Page: 332

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1611     Resistor, 51 Ohm 1/4 W 1206                                       4.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1612     Resistor, 1.0 Ohm 1/4 W 1206 smd                                  2.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1613     Resistor, 1.0K Ohm 1/4 W 1206 smd                                 5.42                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1614     Resistor, 3K Ohm 1/4 W 1206                                      10.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 333 of 735
                                                                               Form 1                                                                             Page: 333

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1615     Resistor, 10K Ohm 1/4 W 1206                                     11.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1616     Resistor, 300 Ohm 1/4 W 1206                                      7.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1617     Transistor, PNP 3906                                             40.09                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 334 of 735
                                                                               Form 1                                                                             Page: 334

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1618     LED, Blue                                                        71.34                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1619     LED, Green                                                       31.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1620     LED, Red                                                         12.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1621     Low ESR Chips 2.2uf                                              23.04                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 335 of 735
                                                                               Form 1                                                                              Page: 335

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1622     Driver Board, USB to I2C Driver Board                            749.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1623     Resistor,100K Ohm                                                  2.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1624     Resistor, 270K Ohm                                                 2.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1625     Resistor, 330 Ohm                                                  3.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 336 of 735
                                                                               Form 1                                                                             Page: 336

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1626     2 Pin Mate                                                       13.63                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1627     LP3982 LDO MS08                                                  45.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1628     Connector, Scanner Bottom                                        19.62                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 337 of 735
                                                                               Form 1                                                                              Page: 337

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1629     Connector, Active Pen                                            124.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1630     Connector, 3M 20 Pin                                              45.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1631     Diode, Zener, 15V, 1W                                              0.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1632     BNC Panel Mount                                                   33.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 338 of 735
                                                                               Form 1                                                                             Page: 338

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1633     Switch, SM. LEV. HNDL. W/BEZEL, DPDT,                            22.29                        0.00                                        0.00                    FA
         ON-NONE-ON
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1634     Wire Red 24AWG                                                   21.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1635     Wire Black 24AWG                                                 21.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1636     THERMAL ELECTRICAL COOLER                                        33.00                        0.00                                        0.00                    FA


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 339 of 735
                                                                               Form 1                                                                              Page: 339

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1637     Fan, 40mm x 40mm                                                 120.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1638     Floppy Drive 1.44MB 3.5"                                         165.33                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1639     Hard Drive                                                       480.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 340 of 735
                                                                               Form 1                                                                              Page: 340

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets



1640     Temperature Controller                                           201.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1641     FUSE, 2A MINI                                                     12.49                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1642     APPLIANCE INLET C14 WITH LINE SWITCH                              87.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1643     PLATE, FAN GUARD, 40 X 40MM                                        1.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 341 of 735
                                                                               Form 1                                                                             Page: 341

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1644     RESISTER, 11K OHM 1/4W                                            5.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1645     RESISTER, 100 OHM 1/4W                                            9.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1646     FUSE HOLDER, OMNI BLOCK, SOLDER TERMINALS                        21.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 342 of 735
                                                                                Form 1                                                                              Page: 342

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1647     TRANSISTOR NPN GP 200MA 40V TO92                                    4.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1648     CONNECTOR, D-SUB, 9 PIN, FEMALE                                     8.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1649     Power Supply, 40W-60W ACDC, Wie Range AC input                    153.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1650     Y piezo for Light Lever Scanner (PNI)                         1,521.80                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 343 of 735
                                                                                Form 1                                                                              Page: 343

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1651     Kaman scanner Sensor                                          1,305.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1652     Z Piezo Module for light lever scanner (PNI)                  1,350.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1653     Lighting Flexbeam Lighting System White Photon I                   44.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1654     Z motor sensor cable assembly                                     449.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 344 of 735
                                                                               Form 1                                                                              Page: 344

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1655     50 OHM BNC FEMALE BULKHEAD, ISOLATED                             116.60                        0.00                                        0.00                    FA
         GROUND, SOL
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1656     Focus Motor for NR-2-3                                           868.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1657     Motherboard for NR-2-3 Controller                           Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 345 of 735
                                                                               Form 1                                                                            Page: 345

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets



1658     CPU for NR-2-3 Controller motherboard                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1659     RAM Memory for NR-2-3 Controller motherboard                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1660     Flex, Active Pen                                             1,548.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1661     Dowell pin, 1/6 DIAx 3/16 Long                                   8.53                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 346 of 735
                                                                               Form 1                                                                            Page: 346

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1662     Screw, M3x 6mm SHCS                                              0.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1663     Screw, M2x 18 mm PHMS phil                                       0.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1664     Washer, flat M3,3.2mmIDx9mmx0.9mmTH                              0.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 347 of 735
                                                                               Form 1                                                                            Page: 347

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1665     Screwthumb8-32x3/8"longknurled headx1"LONG                       0.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1666     Screw, M2x4mm PHMS phil                                          0.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1667     Screw M2x6mm PHMS phil                                           0.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1668     Screw M2x12mm PHMS Phil                                          0.41                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 348 of 735
                                                                               Form 1                                                                            Page: 348

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1669     Screw,M2x14mm PHMS Phil                                          0.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1670     SCREW, FLAT HEAD, 6-32 UNC X 5/16 LONG                           5.98                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1671     Dowel Pin, .125 DIA. X .25 LONG, S.S.                            2.18                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1672     NUT, 6-32 UNC, STAINLESS STEEL                                   3.49                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 349 of 735
                                                                                Form 1                                                                             Page: 349

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1673     SHOULDER SCREW 6-32 5/32 DIA X 5/16 LONG                          23.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1674     SCREW, PAN HEAD, PILLIPS, 8-32 UNC X 1/4 LONG, S                  10.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1675     SCREW, PAN HEAD, PHILLIPS, 4-40 UNC X 3/4 LONG                    10.67                        0.00                                        0.00                    FA
         S
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 350 of 735
                                                                               Form 1                                                                             Page: 350

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



1676     NUT, LOCKING, 4-40 UNC                                            1.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1677     SCREW, HEX SOC BUT HD 8-32X3_4 SS18-8                             5.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1678     SCREW, HEX SOC BUT HD 1_4-20X1 SS316                              2.49                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1679     THUMBSCREW, KNURL 8-32X1_2 WI 3_8X3_32L                          98.25                        0.00                                        0.00                    FA
         SHOULDER
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 351 of 735
                                                                                Form 1                                                                             Page: 351

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1680     Screw, Round Head, Phillips, 1-64 UNC x 3/16 Lon                   9.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1681     SCREW, FLAT HEAD, SOCKET, 2-56 X.375                               8.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1682     SCREW, FLAT HEAD, HEX, M3-0.5 X 8MM, 316 SS                       10.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 352 of 735
                                                                               Form 1                                                                              Page: 352

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1683     Kit, DPN 5000 Scanner Bottom Plate                           2,284.10                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1684     Kit, Training Solutions Kit, DPN 5000                       Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1685     Tweezers, Sharp                                                  156.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1686     Tweezers, Cantilever                                             204.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 353 of 735
                                                                               Form 1                                                                              Page: 353

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1687     Tweezers, Inkwells Soft Tweezers                                 213.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1688     Spatula, Inkwells removing tool                                  173.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1689     Label, Template Active Pen Package                                10.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1690     Label, Box Top Active Pen Package                                 10.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 354 of 735
                                                                                Form 1                                                                             Page: 354

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1691     Sorbothane, 1/8 Thk Triangle                                       0.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1692     Polyurethane foam adhesive back1/32thx13.5mmx8mm                  14.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1693     Linear shaft,6mmODx37mmL oneend threaded one end                  25.48                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 355 of 735
                                                                                Form 1                                                                             Page: 355

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1694     Tube fitting 90 degree elbow                                      48.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1695     Barb adaptor 1/16" ID                                             15.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1696     Tube fitting 90 degree elbow, barb adaptor 1/16                   21.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1697     Magnet, Super Disc Magnet                                         29.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 356 of 735
                                                                               Form 1                                                                             Page: 356

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1698     Ultra-Strength Buna-N Rubber Adhesive-Backed                      0.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1699     Insert, Metal Insert for Magnetic Attachment                      8.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1700     Foam tape for metal insert mounting                               0.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1701     Brunton Classic 9020G Compass                                    98.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 357 of 735
                                                                                Form 1                                                                              Page: 357

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1702     GRAPHITE SHEET, 90MM X 115MM X .010MM THICK                       125.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1703     BUMPER, 968 DIA. X .688 HIGH, HARD RUBBER                           2.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1704     TUBE FITTING, BARBED, 3-56 UNC X 1/16 I.D. TUBE,                    4.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 358 of 735
                                                                               Form 1                                                                              Page: 358

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1705     Neodymium magnet, 1/8 dia. x 1/32 long                            10.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1706     HINGE, HIDDEN                                                    205.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1707     SILICONE CONFORMAL PROTECTIVE COATING                              6.61                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1708     CABLE CLAMP, .125 DIA. CABLE, NYLON                                4.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 359 of 735
                                                                                Form 1                                                                             Page: 359

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1709     Foam Rubber, Neoprene Adhesive-Back, 3/8" Th'k,                   19.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1710     ROTARY STAGE, 40MM DIAMETER                                   1,848.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1711     BEARING BALL, .094 DIAMTER, GRADE 100, 440 SS                      2.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1712     Tube Fitting Reducing Coupling, 1/8 to 1/16                        7.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 360 of 735
                                                                               Form 1                                                                              Page: 360

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1713     Chip Cracker Block                                               266.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1714     Block, Foam Active Pen Package                                    40.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1715     Bracket, Objective holder                                        252.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 361 of 735
                                                                               Form 1                                                                              Page: 361

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1716     Objective holder                                                 455.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1717     Objective Stage, 2 axis                                          390.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1718     Wedge 2D nano PrintArray Magnetic Wedge                      2,273.70                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1719     Tech Box, Sample Bias                                            549.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 362 of 735
                                                                               Form 1                                                                              Page: 362

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1720     Puck, Sample Bias                                                600.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1721     Exchange Hold Down Clamp Assembly                            3,668.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1722     1-4diax 4-40 standoff threaded round                             100.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1723     Vacuum Puck, 2" dia                                              480.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 363 of 735
                                                                               Form 1                                                                              Page: 363

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1724     Plate, DPN Transport box insert                                  294.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1725     Heat Sink, Short DPN                                         1,548.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1726     2D Pen Array Mtg. Handle                                         551.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 364 of 735
                                                                               Form 1                                                                              Page: 364

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1727     CSink Insert, Pen Array Gimbal                                   190.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1728     Notched Insert, Pen Array Gimbal                                 203.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1729     REAR PANEL, COOLING STAGE CONTROL BOX                            136.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1730     FRONT PANEL, COOLING STAGE CONTROL BOX                           149.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 365 of 735
                                                                               Form 1                                                                              Page: 365

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1731     BOX, EXTRUDED ALUMINUM, COOLING STAGE                             56.25                        0.00                                        0.00                    FA
         CONTROL BO
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1732     PLATE, SPACER, SPRING LOADED PEN BASE                            338.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1733     GUIDE PIN, DPN ROTARY STAGE                                       60.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1734     PLATE, PUCK ADAPTER,DPN ROTARY STAGE                             520.00                        0.00                                        0.00                    FA


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 366 of 735
                                                                               Form 1                                                                              Page: 366

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1735     REWORKED HEATSINK, COOLING/HEATING SAMPLE                         51.30                        0.00                                        0.00                    FA
         STAGE
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1736     Plate, Gimbal Mount                                              956.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1737     DPN5000 MOLDED BEZEL                                         2,399.99                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 367 of 735
                                                                               Form 1                                                                              Page: 367

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1738     DPN5000 MOLDED HOOD                                          2,400.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1739     THUMB SCREW, M4-0.7, ROTARY PUCK ASSEMBLY                    1,372.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1740     Non-magnetic tweezers                                            362.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1741     2 inch Silicon Wafer Case                                   Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 368 of 735
                                                                               Form 1                                                                              Page: 368

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1742     Micropipette 0.1 to 2 microliter                             1,210.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1743     Tray - Single Wafer 2 inch                                       100.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1744     Cover - Single Wafer 2 inch                                      100.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 369 of 735
                                                                               Form 1                                                                              Page: 369

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1745     Spring - Single Wafer 2 inch                                      59.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1746     Cart, Transport Cart for Controller                               79.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1747     50 OHM terminator                                                 88.75                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1748     Short BNC Cable 12 inch                                          295.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 370 of 735
                                                                                Form 1                                                                             Page: 370

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1749     Accessories, NLP 2000                                             41.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1750     Motor, Step, AM1524 with 15A 41 to 1 Spur Gearbo              2,835.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1751     Inspection Mirror                                                 39.95                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1752     Consumables, NLP 2000 Starter Kit                            Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 371 of 735
                                                                               Form 1                                                                              Page: 371

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1753     Video Card, API Radeon Dual Monitor                              649.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1754     Nscriptor camera WAT231S2                                    1,018.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1755     Video Card, ViewCast? Osprey                                 1,410.87                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 372 of 735
                                                                               Form 1                                                                              Page: 372

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1756     LAN Card                                                         155.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1757     Computer, DPN 5000 (no monitor)                              4,906.96                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1758     Power surge protector for SYSTEMs                                 96.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1759     Monitor, LCD Display for DPN 5000 System                     4,742.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 373 of 735
                                                                               Form 1                                                                              Page: 373

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1760     Assy, I2C Driver Board                                           100.37                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1761     Assy, LDO Board                                                    8.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1762     Board, I2C Driver                                                480.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1763     Board, LDO Circuit Daughter Card-Raw Board                       166.83                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 374 of 735
                                                                               Form 1                                                                              Page: 374

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1764     COOLING / HEATING P.C. BOARD                                     120.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1765     Board, Scanner Bottom Plate                                       37.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1766     PRINTED CIRCUIT BOARD, DPN SCANNER BOTTOM                        150.00                        0.00                                        0.00                    FA
         PLATE
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 375 of 735
                                                                               Form 1                                                                              Page: 375

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets



1767     Printing Solution, MHA-Acetonitrile Ink                     Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1768     Scriber, Diamond                                                 819.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1769     Pen, DPN? Active Single Pen                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1770     Chip, 2D nano Print array Chip only                         Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 376 of 735
                                                                               Form 1                                                                              Page: 376

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1771     Probes, Multi Array Type-M-ED                               Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1772     Substrates, SiOx 2 inch Wafer                                    250.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1773     Sheet, pale gray                                                   6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 377 of 735
                                                                               Form 1                                                                              Page: 377

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1774     Sheet, neutral gray                                                6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1775     Sheet, light gray                                                  6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1776     Sheet, medium gray                                                 6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1777     Spacer, Puck .06 THK                                             537.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 378 of 735
                                                                               Form 1                                                                             Page: 378

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1778     DPN5000 METAL ENCLOSURE                                      1,023.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1779     Hookup wire 22ga stranded orange                                 28.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1780     Hookup wire 22ga stranded Blue                                    7.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1781     Hookup wire 20ga stranded Red                                    49.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 379 of 735
                                                                               Form 1                                                                             Page: 379

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1782     Hookup wire 20ga stranded Black                                  85.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1783     Hookup wire 18ga stranded White                                  49.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1784     Hookup wire 22ga stranded Red                                    42.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 380 of 735
                                                                               Form 1                                                                             Page: 380

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1785     Nexterion Slide E Epoxy Slide                               Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1786     User Guide ,DPN 5000                                        Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1787     Label sheets                                                     55.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1788     Option, 2D nano PrintArray                                  Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 381 of 735
                                                                               Form 1                                                                             Page: 381

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1789     Pen, 2D nano PrintArray                                     Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1790     Consumables, DPN 5000 Starter Kit                           Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1791     Kit, Just Add DNADPN Cons                                        15.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1792     Ink, DPN(R) Printing Solution, MHA-Octanol                  Unknown                           0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 382 of 735
                                                                               Form 1                                                                            Page: 382

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1793     Printing Solution, Bio-B                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1794     Printing Solution, Ink, 1-Hexadecanethiol                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1795     Printing Solution Kit - NLP                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126          Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                    Document      Page 383 of 735
                                                                                  Form 1                                                                            Page: 383

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                         2                       3                          4                   5                     6

                       Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

1796     Ink, DPN? Protein Printing Solution                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1797     Ink, DPN? PEG Hydrogel DMA Solution                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1798     Ink, DPN? UV Curable Acrylic Polymer Solution                  Unknown                          0.00                                        0.00                  0.00

1799     Ink, DPN? MHA-Acetonitrile Printing solution                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1800     Ink, DPN? MHA-Octanol Printing solution                        Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 384 of 735
                                                                               Form 1                                                                            Page: 384

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1801     Ink, DPN? ODT-Acetonitrile Printing solution                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1802     Photoinitiator for PEG DMA                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1803     Inkwell, DPN? Universal Inkwell Array                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 385 of 735
                                                                               Form 1                                                                              Page: 385

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1804     Plate, Ink Dispensing Sample Plate                               450.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1805     Inkwell, DPN? C-8MW2 Inkwell Array                          Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1806     Inkwell Array, M-6MW                                        Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1807     Inkwell, DPN? 66x12 Inkwell Array                           Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 386 of 735
                                                                               Form 1                                                                            Page: 386

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1808     Inkwell, DPN? 66x12-CC Inkwell Array                        Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1809     Inkwell, DPN? 100x12 Inkwell Array                          Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1810     Inkwell, DPN? 780x12 Universal Inkwell Array                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1811     Kit, DPN? Protein Printing kit                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 387 of 735
                                                                               Form 1                                                                              Page: 387

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1812     Sharp Tweezers                                                   101.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1813     Pipette Tips, Disposable for 20 microliter                   1,470.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1814     Copper tape                                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 388 of 735
                                                                               Form 1                                                                            Page: 388

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1815     Pen, 2D nano PrintArrayDPN Cons                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1816     Probes, Single Probes, Type-A (do not use)                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1817     Pen, DPN? Single Pen, Type A                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1818     Pen, DPN? Single Pen, Type B                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 389 of 735
                                                                               Form 1                                                                            Page: 389

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1819     Pen, DPN? Pen Array, Type C                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1820     Pen, DPN? Pen Array, Type D                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1821     Pen, DPN? Pen Array, Type E                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1822     Pen, DPN? Pen Array, Type F                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 390 of 735
                                                                               Form 1                                                                              Page: 390

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1823     Container, Antistatic Probe Container, Large                     515.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1824     Container, Antistatic Probe, Clear Hinged Box                3,270.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1825     Container, Antistatic Probe, Clear Hinged Box                4,495.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 391 of 735
                                                                               Form 1                                                                              Page: 391

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1826     Probes, Liquid Scanning Probes                                   455.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1827     Probes, MFM Probes                                           2,208.01                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1828     Probes, Conductive for Bias, No Wire                         1,820.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1829     Probes, EFM Probes with Coaxial Cable                            595.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 392 of 735
                                                                               Form 1                                                                            Page: 392

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1830     Probes, Contact Aluminum Coated                             11,716.38                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1831     Probes, Close Contact Aluminum Coated                        7,681.27                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1832     Pen, DPN? Active Pen Arrays, T1                              2,213.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1833     Probes, Multi Array Type-M                                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 393 of 735
                                                                               Form 1                                                                            Page: 393

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1834     Pen, DPN? Pen Array, Type M                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1835     Pen, DPN? 48 Bio M Pen Array                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1836     Pen, DPN? Pen Array, Type M, No Gold                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 394 of 735
                                                                               Form 1                                                                            Page: 394

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1837     Substrate, DPN? Addressable Gold                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1838     Substrate, DPN? Addressable Silicon Dioxide                      0.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1839     Substrate, DPN? C-AFM                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1840     Substrate, Mica Peeled Gold                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 395 of 735
                                                                               Form 1                                                                            Page: 395

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1841     System, NSCRIPTORDPN Sys                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1842     Modified Tool Holder For Thermocouple                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1843     NLP, TEST BED, CG                                            2,953.61                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1844     Motor Bracket Assembly                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 396 of 735
                                                                               Form 1                                                                            Page: 396

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1845     Air Cylinder Bracket Assembly                               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1846     Liner Bearing Bracket Assembly                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1847     Base Plate Assembly                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 397 of 735
                                                                               Form 1                                                                            Page: 397

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1848     Modular Scalable Active Vibration Isolation                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1849     Developmental wafer B581                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1850     Developmental wafer B582                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1851     Developmental wafer B589                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 398 of 735
                                                                               Form 1                                                                            Page: 398

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1852     Developmental wafer B590                                     3,880.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1853     Developmental wafer B591                                     3,880.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1854     Developmental wafer B592                                     3,880.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1855     Capsugel developmental wafer B604                            1,480.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 399 of 735
                                                                               Form 1                                                                            Page: 399

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1856     Linear Bearing                                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1857     Cross Roller Bearing                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1858     Developmental wafer #BP-120407-2                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 400 of 735
                                                                               Form 1                                                                             Page: 400

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1859     Photologic Optical Switch                                   Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1860     Galil DMC-4183 Motion Controller                            Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1861     Screw button head, 4-40x 3/16 long                               14.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1862     SCREW, BUTTON HEAD, 8-32 UNC X .125 LONG                          7.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 401 of 735
                                                                                Form 1                                                                            Page: 401

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1863     sCREW,sOCKET hEAD CAP6-32 uncX3/8LONG, 316 ss                     2.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1864     Screw, Button head,4-40x3.16 LONG 18-8 SS                         6.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1865     Screw,Socket Head cap,6-32 UNCx5/16 LONG 316SS                    4.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1866     M16-2.0 X 50MM Round Head Bolt                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 402 of 735
                                                                               Form 1                                                                              Page: 402

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1867     Box, Large Gel Pak for 30 substrates                             279.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1868     Box, Small Gel Pak for 9 substrates                          3,474.29                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1869     Box, Small Gel Pak for 30 pens                               2,027.68                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 403 of 735
                                                                               Form 1                                                                              Page: 403

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1870     Box, Large Gel Pak for substrates, no grid                   1,296.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1871     Box, Large Gel Pak for pens, no grid                             712.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1872     Slide, 96 Well, 4.5 Pitch, Teflon                           Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1873     Slide, 96 Well 4.5mm Pitch                                  Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 404 of 735
                                                                               Form 1                                                                            Page: 404

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1874     Rotary Stage, Manual                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1875     Leadscrew, Tripod Actuator                                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1876     Bearing, Sleeve                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1877     Ball, Tripod Kinematic Mount                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 405 of 735
                                                                               Form 1                                                                              Page: 405

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1878     Linear Encoder Read Head                                    10,729.60                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1879     Linear Encoder Tape Scale 60MM                                   329.16                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1880     Linear Encoder Tape Scale 80MM                                   192.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 406 of 735
                                                                               Form 1                                                                              Page: 406

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1881     Linear Slide, 34MM Stroke                                   Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1882     Fine Screw Adjuster                                         Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1883     Linear Slide, BWU 25-75                                     Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1884     Renishaw Ref Mark Actuator                                       200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 407 of 735
                                                                               Form 1                                                                            Page: 407

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1885     Truncated and Tapped Ball                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1886     3_8 Vee Block, Surface Mount                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1887     Linear Motor Forcer Nippon Pulse 1.8 Newton                  3,814.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1888     Linear Motor Shaft Nippon Pulse 60MM Travel                  1,920.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 408 of 735
                                                                               Form 1                                                                            Page: 408

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1889     Brushless DC Motor, TW Optics                               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1890     Flexible Coupling, 3mm Bores                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1891     Urethane Stopper Bolt                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 409 of 735
                                                                               Form 1                                                                             Page: 409

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

1892     Head Guard                                                  Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1893     Bearing, TW Panning                                         Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1894     Quick Exhaust Valve                                              17.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1895     Roller Bearing                                              Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 410 of 735
                                                                               Form 1                                                                              Page: 410

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1896     Balls Slide, 19mm Stroke                                          63.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1897     Cross Roller Table, 25MM Stroke                                  281.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1898     Stop Bumper                                                        6.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1899     Fabco Air Cylinder                                          Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 411 of 735
                                                                               Form 1                                                                            Page: 411

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1900     Magnet With Threaded Holder                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1901     Compression Spring                                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1902     Linear Motor, 25MM Travel                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 412 of 735
                                                                               Form 1                                                                              Page: 412

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1903     C Cut Aperture Plate                                             405.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1904     Clamp Plate, Tab Cut Fixture                                     160.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1905     Double Thickness Puck                                       Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1906     Triple Thickness Puck                                       Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 413 of 735
                                                                               Form 1                                                                              Page: 413

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1907     PLATE, WAFER HOLD DOWN TAB                                  Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1908     Mask, Tab Cut                                                1,350.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1909     Mask, Tab Cut                                                    135.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1910     Tab Cut, Picking Over plate                                  1,755.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 414 of 735
                                                                               Form 1                                                                              Page: 414

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1911     Tab Cut, Thin Base Plate                                     2,295.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1912     Wafer Clamping washer                                            831.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1913     Tab cut thin base, Overt 9                                       270.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 415 of 735
                                                                               Form 1                                                                              Page: 415

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1914     Mask, Tab Cut, Overt 9                                           270.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1915     MP-1053-01                                                  Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1916     Tripod Plate                                                Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1917     Tripod Plate                                                Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 416 of 735
                                                                               Form 1                                                                            Page: 416

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1918     Adaptor Block, Scanner To Rotary                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1919     Dowel Pin, .15625 dia. X .45 long                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1920     Base Plate, Tripod Actuator                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1921     Motor Plate, Tripod Actuator                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 417 of 735
                                                                               Form 1                                                                              Page: 417

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1922     Tripod Actuator Block                                       Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1923     Motor Mount                                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1924     Tab cut base plate for WAF-0004-01-B                             135.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 418 of 735
                                                                               Form 1                                                                              Page: 418

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1925     Tab cut mask for WAF-0004-01-B                                   135.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1926     Roller Insert, Kinematic Mount                              Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1927     Base, Tailwagger                                            Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1928     Tab Cut thin base plate                                     Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 419 of 735
                                                                               Form 1                                                                            Page: 419

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1929     Tab Cut mask                                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1930     Leadscrew, Microscope                                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1931     Front Scanner Clamp                                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1932     Side Scanner Clamp                                          Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 420 of 735
                                                                               Form 1                                                                            Page: 420

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1933     Controller Mount                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1934     Sensor Flag                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1935     Sensor Flag, Tripod                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 421 of 735
                                                                               Form 1                                                                            Page: 421

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1936     Board House                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1937     Mold Side Wall 1                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1938     Mold Side Wall 2                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1939     Mold Side Wall 1-Slot                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 422 of 735
                                                                                Form 1                                                                              Page: 422

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1940     Retainer, Linear Motor Shaft                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1941     Base Plate, Renishaw RGH24                                   Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1942     Plate, Sample Holder, Vacuum Chuck, NLP, Brass                    975.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1943     Screw, Ball Housing                                          Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 423 of 735
                                                                               Form 1                                                                            Page: 423

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1944     Pen Hnadle, Injection Mold                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1945     Bulk Cover                                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1946     Encoder Mounting Block                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 424 of 735
                                                                               Form 1                                                                              Page: 424

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

1947     HD TIP ARRAY MOLD FDL V1                                         184.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1948     Table Top, Daisy Cutter                                     Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1949     Center Plate, XY Stage                                      Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1950     Top Plate, XY Stage                                         Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 425 of 735
                                                                               Form 1                                                                            Page: 425

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1951     Ball, Threaded, .75 Dia. x 375-16 thd.                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1952     Block, Interface, Optics Mtg                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1953     Plate,Optics Focal Range Adjustment                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1954     Plate, Optics XY Base                                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 426 of 735
                                                                               Form 1                                                                            Page: 426

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1955     Clamp, Optics                                               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1956     Plate,Size 23 Step Motor Mount                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1957     Block, Tripod Actuator Base                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 427 of 735
                                                                               Form 1                                                                            Page: 427

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1958     Block, Z-Axis Slide, Tripod Actuation Assy.                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1959     Light Bracket                                               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1960     Filter Tray                                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1961     Filter Tray Attachment Bracket                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 428 of 735
                                                                               Form 1                                                                            Page: 428

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1962     Filter Hold Down Bracket                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1963     Tripod Mounting Plate                                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1964     Plate, Tripod Assy. Brace                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1965     Square Post, Sample Carrier                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 429 of 735
                                                                               Form 1                                                                            Page: 429

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1966     Sample Carrier Lower Mounting Plate                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1967     Plate, Tripod Mtg. Base                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1968     Linear XY Stage Plate                                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 430 of 735
                                                                               Form 1                                                                            Page: 430

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1969     Linear Bearing, Center Raceway                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1970     Solinoid Caliper                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1971     Pressure Plate Brake Assy.                                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1972     Blade Leveler Brake Assy.                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 431 of 735
                                                                               Form 1                                                                              Page: 431

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1973     Baseplate XY Tailwagger                                     Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1974     Adaptor Block, Scanner TO X-Y Stage                         Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1975     Standoff, Sapphire Ball Seat                                Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1976     I-Beam Support Structure                                         385.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 432 of 735
                                                                               Form 1                                                                            Page: 432

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1977     Tooling Ball, 25 Dia X .140 Shaft                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1978     Bulk Tray Schott                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1979     Bearing Passive                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 433 of 735
                                                                               Form 1                                                                            Page: 433

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1980     Bearing, Active                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1981     Baseplate X-Y Daisycutter                                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1982     Flag, Vane Switch                                           Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1983     Basic Stage Top                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 434 of 735
                                                                               Form 1                                                                            Page: 434

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1984     Sample Mount Bottom w/Magnet                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1985     Sample Mount Bottom w/Magnet                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1986     Base, Kinematic Mount, NLP, Invar                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1987     Plate, Lead Screw Nut Mount                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 435 of 735
                                                                               Form 1                                                                            Page: 435

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1988     Plate Cover, Cuboid                                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1989     Base, TW Optics Motion                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1990     Slider Plate, TW Optics                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 436 of 735
                                                                               Form 1                                                                            Page: 436

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

1991     X Panning Plate                                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1992     Y Panning Plate                                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1993     Nut Bracket, TW Optics                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1994     Microscope Attachment Block                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 437 of 735
                                                                               Form 1                                                                            Page: 437

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


1995     Microscope Attachment Block                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1996     Vertical Support Plate, TW Optics                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1997     Diving Board, TW Optics                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1998     Kohler Support Ring                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 438 of 735
                                                                               Form 1                                                                            Page: 438

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


1999     Bearing Block                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2000     Standoff, .875 Hex X 2.5 X 5/16-18 Thrd                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2001     Overmold                                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 439 of 735
                                                                               Form 1                                                                            Page: 439

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2002     Motor Bracket                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2003     Bracket, Air Cylinder Holder                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2004     Bearing Bracket, Wash Station                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2005     Air Cylinder Bracket, Horizontal                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 440 of 735
                                                                               Form 1                                                                            Page: 440

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2006     Sensor Bracket                                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2007     Liner Bearing Bracket                                       Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2008     Transfer Motion Block, Lower                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2009     Transfer Motion Block, Upper                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 441 of 735
                                                                               Form 1                                                                            Page: 441

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2010     Dipping Tank                                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2011     Rotation Shaft                                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2012     Washing Bracket                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 442 of 735
                                                                               Form 1                                                                            Page: 442

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2013     Base Plate                                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2014     Plate, Tripod Mtg. Base                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2015     Bar, Pen Plate Support                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2016     Post, Cover Assy.                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 443 of 735
                                                                               Form 1                                                                            Page: 443

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2017     Cover Seal Plate                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2018     Cover Top Plate, Daisy Cutter                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2019     Cover Base Plate, Daisy Cutter                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2020     Plate, Pen Mount Pen Base                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 444 of 735
                                                                               Form 1                                                                            Page: 444

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2021     Plate, Pen Mount Handle                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2022     Post, Pen Holder                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2023     Plate, Cover Front                                          Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 445 of 735
                                                                               Form 1                                                                            Page: 445

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2024     Bottom Plate, Rear Enclosure                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2025     Plate, Cover Back Panel                                     Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2026     Plate, Cap, Daisy Cutter                                    Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2027     Knob, X-Panning                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 446 of 735
                                                                               Form 1                                                                            Page: 446

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2028     Knob, Y-Panning                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2029     Carrying Case Support, Left                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2030     Carrying Case Support, Right                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2031     Nozzle Head, Wide Center Slot                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 447 of 735
                                                                               Form 1                                                                            Page: 447

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2032     Nozzle Attachment Plate                                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2033     Nozzle Guide                                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2034     Rubber Seal Panel                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 448 of 735
                                                                               Form 1                                                                            Page: 448

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2035     Fast Z Baseplate                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2036     Fast Z Moving Plate                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2037     Bearing Holder                                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2038     Shaft Clamp, Da                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 449 of 735
                                                                               Form 1                                                                            Page: 449

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2039     Brass Weight, Daisycutter                                   Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2040     Pulley, Daisy Fast Z                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2041     Pull;ey, Daisy Fast Z                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2042     Weight Sled                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 450 of 735
                                                                               Form 1                                                                            Page: 450

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2043     Threaded Ball, .750 DIA X 3/8-16 Thread                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2044     Custom Shoulder Tripod                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2045     Power Supply "L" Bracket, Tailwagger                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 451 of 735
                                                                               Form 1                                                                            Page: 451

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2046     Lead Screw Tailwagger Optics                                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2047     Sensor Flag, TW Optics                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2048     Pen Handle, 2D-Nylon-Molded                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2049     UV Curing Housing                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 452 of 735
                                                                               Form 1                                                                            Page: 452

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2050     Oring Automation Assay                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2051     Top Plate, XY Stage, Daisy Cutter                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2052     Center Plate,XY Stage, Daisy Cutter                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2053     Base Plate, XY Stage, Daisy Cutter                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 453 of 735
                                                                               Form 1                                                                            Page: 453

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2054     PCB Cover Plate                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2055     Isolation Block, middle, tailwagger                          2,375.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2056     Basic Stage Top                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 454 of 735
                                                                                Form 1                                                                            Page: 454

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2057     Universal Pen Bracket Slotted Mtg. Screw                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2058     Plate, Spacer, Invar                                         Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2059     Mont, Pen Base, Invar                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2060     Cover Plate, Electrical Enclosure, Daisy Cutter              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 455 of 735
                                                                               Form 1                                                                            Page: 455

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2061     Plate, Anti Rotation, 28 Newton Spring Force                Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2062     Mtg. Plate, Power Supply                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2063     Base, 48 Well Module, Tall                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2064     Gasket Stiffener, 2 Sided,.048 Thick                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 456 of 735
                                                                               Form 1                                                                            Page: 456

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2065     Gasket Stiffener, 2 Sided,.036 Thick                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2066     Gasket Stiffener, 2 Sided,.030 Thick                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2067     Gasket Stiffener, 2 Sided,.024 Thick                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 457 of 735
                                                                               Form 1                                                                            Page: 457

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2068     Mold Base, 2 Sided                                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2069     Mold Top, 2 Sided                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2070     Mold Base, Variable Height Mold                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2071     Mold End Wall                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 458 of 735
                                                                               Form 1                                                                            Page: 458

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2072     Mold Top, Variable Height                                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2073     Top Press Plate                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2074     Spacer Plate Tailwagger                                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2075     Vertical Support Plate                                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 459 of 735
                                                                               Form 1                                                                            Page: 459

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2076     Y Panning Plate                                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2077     X Panning Plate                                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2078     Y Axis Stop Shaft                                           Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 460 of 735
                                                                               Form 1                                                                            Page: 460

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2079     O-ring Mold                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2080     Anti Vibration Plate                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2081     Power Supply Housing                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2082     Power Supply Handle Inlay                                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 461 of 735
                                                                               Form 1                                                                            Page: 461

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2083     Power Supply Escutcheon                                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2084     Bracket Switch Housing                                      Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2085     Upper Housing                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2086     Door Optics                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 462 of 735
                                                                               Form 1                                                                            Page: 462

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2087     Door                                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2088     Lower Housing                                               Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2089     Left Cover                                                  Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 463 of 735
                                                                               Form 1                                                                            Page: 463

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2090     Right Cover                                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2091     Cover Stage                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2092     Motor Cover                                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2093     Actuator Cap                                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 464 of 735
                                                                               Form 1                                                                            Page: 464

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2094     Cover Back                                                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2095     Angle Bracket                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2096     Dust Cover, Assylum                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2097     Counterweight                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 465 of 735
                                                                                Form 1                                                                            Page: 465

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2098     Lin 5709 Hi Torque Stepper Motor 0.9 Deg. NEMA 2             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2099     Objective Mitutoyo 10X Mplan                                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2100     C-Mount Adaptor                                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 466 of 735
                                                                               Form 1                                                                            Page: 466

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2101     FL Lens Large Aperature                                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2102     1 X Coupler                                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2103     Universal Coax Block                                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2104     Kohler Illuminator                                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 467 of 735
                                                                               Form 1                                                                            Page: 467

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2105     M26 X 36TPI Mitutoyu Coupler                                Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2106     Tailwagger Camera                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2107     .5 X Mini Adapter                                           Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2108     Bright Light Driver Control Box                             Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 468 of 735
                                                                               Form 1                                                                            Page: 468

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2109     Objective 10X M Plan                                         2,890.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2110     Production Wafer# P034                                      Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2111     Cable Clamp Upper                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 469 of 735
                                                                               Form 1                                                                            Page: 469

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2112     Cable Clamp Lower                                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2113     Spacer, Sliding Cover                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2114     Enclosure, Front                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2115     Enclosure, Back CE                                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 470 of 735
                                                                               Form 1                                                                            Page: 470

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2116     Rear Enclosure, Top, Daisy Cutter                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2117     Rear Enclosure Bottom                                       Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2118     Cover, Daisy Cutter                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2119     Dust Cover, Daisy Cutter                                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 471 of 735
                                                                                Form 1                                                                            Page: 471

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2120     Front Cover Plate                                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2121     Dipping Tank Lifter                                          Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2122     Grounding Plate, Motion Controller, Daisy Cutter             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 472 of 735
                                                                               Form 1                                                                            Page: 472

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2123     Cable Clamp Bracket                                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2124     Bracket, Power Switch Mount                                 Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2125     Bracket Door Hinge                                          Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2126     Bracket, Hinge                                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 473 of 735
                                                                               Form 1                                                                            Page: 473

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2127     Plate Retainer                                              Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2128     Floor Front Panel                                           Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2129     Floor Left Panel                                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2130     Floor Right Panel                                           Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 474 of 735
                                                                               Form 1                                                                            Page: 474

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2131     Cover Sliding                                               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2132     Head Guard, 40 Micron Asylum Head                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2133     TW Packaging Base Plate Washer                              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 475 of 735
                                                                               Form 1                                                                              Page: 475

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2134     Spring, Extension, TW Optics                                Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2135     Spring, Compression, TW Optics                              Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2136     Spring Wave .25OD X .225 Free Height                             103.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2137     Developmental Stamp set # 40                                Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 476 of 735
                                                                               Form 1                                                                              Page: 476

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2138     Developmental Stamp set # 41                                Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2139     Generic Marketing Services                                       776.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2140     for NS tools not needing an ERP part number                 Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2141     TOP PLATE, NBD MODULE                                       Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 477 of 735
                                                                               Form 1                                                                              Page: 477

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2142     THUMBSCREW, 6-32 X 0.500 LONG                                     12.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2143     Sample Carrier Assembly, MultiInk                                932.18                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2144     Streptavidin Alexa Fluor 647-RPE                            Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 478 of 735
                                                                                Form 1                                                                            Page: 478

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2145     SHCS, 6-32 X .500 LONG                                            4.11                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2146     SLIDE, MICROSCOPE TEKDON 48-WELL TEFLON                       1,652.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2147     Vial Cap Label, Dot; Rainbow; 1.5-2mL; 3/8 in. d                  2.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2148     BOX, NBD SLIDE MODULE KIT                                     4,807.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 479 of 735
                                                                               Form 1                                                                             Page: 479

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2149     FOAM INSERT, NBD MODULE BOX                                 Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2150     THUMBSCREW CAP, #6                                               24.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2151     Microcentrifuge TubesNonsterile, 2.0mL; Amber                    55.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2152     Colored Screw Caps With O-Ring; Color: Red                       80.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 480 of 735
                                                                                Form 1                                                                             Page: 480

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2153     Thermo Scientific Nalgene LDPE, 0.5 oz. (15mL                     52.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2154     Autosampler Vial, 2ml Screw-Thread                                60.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2155     Thermo Scientific Nalgene LDPE Narrow-Mouth Bott             Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 481 of 735
                                                                                Form 1                                                                             Page: 481

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2156     Thermo Scientific Nalgene LDPE Narrow-Mouth Bott             Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2157     Dowell Pin,3/16X5/8 Long                                           2.67                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2158     #6-32 Thumbscrews                                                  5.53                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2159     10-32x.125 ID Rotating L Vacuum Fitting                           34.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 482 of 735
                                                                                Form 1                                                                              Page: 482

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2160     Handle                                                             22.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2161     O-Oring FDA Viton Fluoroelastomer AS568A Dash Nu                   24.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2162     BASE, NBD MODULE                                                  467.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2163     Top Plate, NBD Module                                         1,033.20                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 483 of 735
                                                                               Form 1                                                                              Page: 483

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2164     GASKET, NBD MODULE                                               203.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2165     Bulk Base                                                        364.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2166     Bulk Cover                                                       462.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 484 of 735
                                                                               Form 1                                                                              Page: 484

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2167     Cuboid Cover, NBD                                           Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2168     Housing microscope door, NBD                                Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2169     Bezel,Controller front NBD                                  Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2170     PLATE, Multi Inkwell Sample Carrier                              598.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 485 of 735
                                                                               Form 1                                                                              Page: 485

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2171     Sample Slide Support                                             338.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2172     Nanoarray Slide Carrier                                          322.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2173     Slide Insert Frame                                               234.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2174     InsertT, MultiInk Sample Carrier                                 693.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 486 of 735
                                                                               Form 1                                                                              Page: 486

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2175     Sweeper Head                                                      74.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2176     Stand                                                            268.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2177     Insert Handle                                                     60.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 487 of 735
                                                                               Form 1                                                                              Page: 487

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2178     Slide Sweeper Vacuum Tubing                                       15.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2179     Spinner bed, oversized                                      Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2180     Scanner, Innopsys InnoScan 900AL                           184,000.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2181     Nexterion Slide E Epoxy Slide                                    682.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 488 of 735
                                                                               Form 1                                                                              Page: 488

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2182     Nano Array Assembly                                          9,137.84                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2183     Bracket                                                          449.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2184     NLP 2000 AC unit sub-assembly                               60,262.02                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2185     Pen Holder Assembly, NLP                                         153.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 489 of 735
                                                                               Form 1                                                                              Page: 489

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2186     NLP Controller Board Assembly                                2,715.43                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2187     Power Panel Assembly, NLP 2000                               3,823.94                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2188     AC UNIT SHIPPING RETAINER                                        434.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 490 of 735
                                                                               Form 1                                                                             Page: 490

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2189     Temperature Sensor Assembly                                      33.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2190     CAPACTIOR ASSEMBLY FOR AC UNIT                                    8.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2191     PEN DISK,PIN ASSEMBLY                                        1,305.50                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2192     Humidity Sensor Fitler Circuit Board                         4,300.76                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 491 of 735
                                                                               Form 1                                                                              Page: 491

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2193     HUMIDITY DISH ASSEMBLY                                      29,185.55                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2194     12V Loading Resistor Assembly                                      4.18                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2195     ELECT ASSY HUMIDITY DISH                                          65.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2196     ASSEMBLY, PEN MOUNTING BASE PLATE                                117.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 492 of 735
                                                                               Form 1                                                                             Page: 492

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2197     Pen Handle Assembly, Load Cell Leveler                       1,993.50                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2198     Current Sense Wire Assy                                          17.33                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2199     BI-COLOR INDICATOR ASSEMBLY                                      65.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 493 of 735
                                                                                Form 1                                                                              Page: 493

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2200     Gumball Head Power Supply Module Assy, 115V                       422.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2201     Load cell digitizer module                                    1,390.05                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2202     Gumball Head 1D Top Level Assembly Factory, 115V              6,750.53                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2203     Interface Sample Carrier Plate Assy.                              368.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 494 of 735
                                                                               Form 1                                                                              Page: 494

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2204     Vacuum Chuck Mtg. Screw Assy.                                    270.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2205     Gumballhead 2D, Top Level Assy.                              7,014.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2206     Pen Handle, Glue Version, 12 Pens                           Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2207     Linear Way Bearing,2 Slides,80MM Long Rail,SS                    270.44                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 495 of 735
                                                                               Form 1                                                                             Page: 495

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2208     Linear Bearing, 12 W x 13 H x 195 L                          2,548.00                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2209     CAP CERM .1UF 10% 50V X7R 1206                                   12.17                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2210     Cap Tanalim 1uF 1206                                             39.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 496 of 735
                                                                               Form 1                                                                             Page: 496

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2211     CAP 1000PF 50V CER X7R 10%                                        3.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2212     0.1uF 50V ceramic X7R capacitor                                  17.82                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2213     CAP CER 10UF 6.3V X7R 1206                                       17.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2214     CAP CERM 1000PF 10% 50V X7R 1206                                  7.07                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 497 of 735
                                                                               Form 1                                                                             Page: 497

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2215     CAP CER 1.0UF 16V 20% X7R 0805                                    0.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2216     CAP CER 10UF 16V X7R 20% 1206                                     1.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2217     CAP CER 10UF 25V X5R 1206                                        17.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2218     CAP CER 1.0UF 50V X7R 1206                                        1.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 498 of 735
                                                                               Form 1                                                                             Page: 498

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2219     CAP 1000UF 35V ELECT KZE RAD                                      9.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2220     Cap Alum 1000UF 35V 20% SMD                                      15.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2221     Humidity and Temperature Sensor Cable                            30.89                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 499 of 735
                                                                               Form 1                                                                              Page: 499

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2222     Line Filter to Power Supplies Cable                               93.89                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2223     Controller - ACU Cable                                       1,258.63                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2224     6 Foot USB 2.0 Cable, A Male to B Male                             7.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2225     AC INTERNAL HARNESS                                              402.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 500 of 735
                                                                               Form 1                                                                              Page: 500

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2226     37 Pin Connector to PCB and Power Panel                          630.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2227     Controller Board NLP Compon                                 Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2228     CABLE, ENCODER TO Spii NLP Compon                           Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2229     14 Foot 500MHz Cat6 Patch Cable - Black                          143.64                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 501 of 735
                                                                               Form 1                                                                             Page: 501

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2230     3 Foot 500MHz Cat6 Patch Cable - Black                           10.14                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2231     15 Foot USB 2,0 Cable, A Male to B Male                          64.74                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2232     3 Foot USB 2.0 Cable, A Male to B Male                            4.58                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 502 of 735
                                                                               Form 1                                                                              Page: 502

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2233     CABLE WRAP-AROUND SLEEVE, 0,5 INCH ID 25FT                       210.23                        0.00                                        0.00                    FA
         LONG
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2234     Multi cunductor cable 18 AWG 6 conductor                           7.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2235     Multi cunductor cable 22 AWG 15 conductor                        288.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2236     Power Entry Module to Line Filter Cable                            6.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 503 of 735
                                                                                Form 1                                                                              Page: 503

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2237     CABLE 9 COND 300' GRAY RIBBON                                      94.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2238     CABLE 10 COND 300' GRAY                                           354.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2239     MCC Calibration Cable                                               4.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2240     10 Foot Serial DB9 Female to DB25 Male, 10 Foot                    44.82                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 504 of 735
                                                                                Form 1                                                                            Page: 504

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2241     Heat-Shrink Tubing 1/16" ID Before, 1/32" ID Aft                  6.28                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2242     Protective Ground connection from Power Entry Mo                  6.91                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2243     AC Unit Relay to Thermal Cutoff Cable                             0.69                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 505 of 735
                                                                               Form 1                                                                             Page: 505

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



2244     AC Unit Relay to TEC Cable                                        0.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2245     Power Cable from +24V PSU to Triple PSU                           4.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2246     Grounding Braid for Cuboid Assembly                               6.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2247     Grounding Braid for Microscope Assembly                          63.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 506 of 735
                                                                                Form 1                                                                              Page: 506

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2248     10ft Computer Hospital Grade Power Cord 120VAC                    185.79                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2249     Heat Shrink Tubing; 1-2 to 1-4ID; Black; Polyole                   85.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2250     Heat Shrink Tubing; 1 to 1-2ID; Black; Polyolefi                    4.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 507 of 735
                                                                                Form 1                                                                             Page: 507

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2251     Heat Shrink Tubing; 1-8 to 1-16ID; Black; Polyol                  23.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2252     Cable to connect humidity bath to ESD Board                        8.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2253     Heat Shrink Tubing; 3-32 to 3-64ID; Black; Polyo                  22.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2254     Heat Shrink Tubing; 3-16 to 3-32ID; Black; Polyo                  32.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 508 of 735
                                                                               Form 1                                                                              Page: 508

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2255     Gumballhead 1D Module Cable Assembly                             732.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2256     Power Supply Cable Assembly                                       71.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2257     1D Module Cable Assembly                                         395.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2258     1D Com Cable Assembly                                             30.89                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 509 of 735
                                                                                Form 1                                                                             Page: 509

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2259     3 Ft Serial Extension Cable                                       13.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2260     LINE CORD US 3WIRE                                                 3.79                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2261     GBH PSU - PEM to power Switch and PE HV Cable As                  17.97                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 510 of 735
                                                                                Form 1                                                                            Page: 510

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2262     GBH PSU - Power Swithc to PCB HV Cable Assy                       4.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2263     GBH - PSU - PCB to 12V PSU HV Calbe Assy 115 V                    5.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2264     GBH - PSU - PCB to 12V PSU HV Calbe Assy 230 V                    4.97                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2265     GBH PSU - PCB to 24V PSU HV Cable Assy                            2.63                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 511 of 735
                                                                               Form 1                                                                             Page: 511

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2266     GBH PSU - 12 V PSU to PCB Cable Assy                              6.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2267     GBH PSU - 24V PSU to PCB Cable Assy                               2.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2268     GBH PSU - 12V Indicator Assy                                     22.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2269     GBH PSU - 24 V Indicator Assy                                    22.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 512 of 735
                                                                                Form 1                                                                             Page: 512

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2270     GBH PSU - PCB to Circular Connector Cable Assy                    40.67                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2271     Position TB Socket                                                63.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2272     RJ11                                                              17.28                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 513 of 735
                                                                               Form 1                                                                              Page: 513

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2273     RJ45JACK                                                          10.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2274     CONN D-SUB RCPT VERT 9POS                                        141.93                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2275     Connector 6 Conductor                                             14.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2276     Connector 2 Conductor                                             60.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 514 of 735
                                                                               Form 1                                                                              Page: 514

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2277     Fork Crimp Terminall 22-18 AWG                                     0.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2278     Conn cable 37 Plug All Plastic 1 and 3-8 in                       45.21                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2279     Conn cable 37 Clamp 1and3-8 in                                   117.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2280     Conn panel 37 Recept All Plastic 1&                                0.77                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 515 of 735
                                                                               Form 1                                                                             Page: 515

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2281     Conn. cable 37 Plug All Plastic 1 and 3-8 in                     61.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2282     Pin 14-18AWG crimp for Conn 37                                   21.44                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2283     Pin 20-24 AWG crimp for Conn 37                                  21.15                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 516 of 735
                                                                               Form 1                                                                              Page: 516

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2284     Socket 14-18 AWG crimp for Conn 37                                 4.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2285     Socket 20-24 AWG crimp for Conn 37                                 8.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2286     CONN DB9 FMALE TIN METAL SHEL                                    104.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2287     CONN,BARRIER TERM BLOCK,DBL ROW,2                                 16.90                        0.00                                        0.00                    FA
         TERM,15A,250V
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 517 of 735
                                                                               Form 1                                                                             Page: 517

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2288     CONN,BARRIER TERM BLK,DBL                                        48.45                        0.00                                        0.00                    FA
         ROW,6TERM,15A,250V
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2289     DB25 VERTICAL D sub female                                       21.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2290     10 pin header 3-5mm pitch                                        24.78                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 518 of 735
                                                                               Form 1                                                                             Page: 518

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2291     CONN RECPT 3pos 10nth inch tin latching                           4.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2292     BERGSTIK II 100CC SR STRAIGHT                                     1.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2293     CONN 10 POS IDC SOCKET GOLD                                      56.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2294     BERGSTIK II 100CC SR STRAIGHT 3PIN                               40.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 519 of 735
                                                                               Form 1                                                                              Page: 519

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2295     CONN DB9 MALE TIN W-STR RELIEF                                    88.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2296     CONN RECPT 8POS .100 POLAR 30AU                                   13.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2297     CONN HEADER VERT .100 8POS 15AU                                    4.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2298     DB9 TO SCREW TERM DIN RAIL MOUNT                                 279.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 520 of 735
                                                                               Form 1                                                                             Page: 520

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2299     TERM BLOCK PLUG                                                  39.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2300     PIN RCPT .025-0.037 DIA 0300-1 SR                                29.39                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2301     Connector Housing, 5 Pos. 1.25 mm                                16.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 521 of 735
                                                                               Form 1                                                                              Page: 521

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2302     Connnector Term., Female, 26-28 AWG                                1.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2303     CONN HOUSING                                                       2.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2304     CONN TERM FEMALE                                                   1.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2305     BACKSHELL 25POS STRGHT DIECAST                                   182.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 522 of 735
                                                                               Form 1                                                                             Page: 522

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2306     Fully Insulated Quick-Disconnect Terminal Std                     1.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2307     Crimp-on Fork Terminal; 14-16AWG; #6; .25W                        6.89                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2308     Connector Pin 24-30AWG Crimp Tin                                 16.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2309     Connector Housing Male 2Pos 0.100                                 2.37                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 523 of 735
                                                                               Form 1                                                                             Page: 523

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2310     Plug connector for SMC Valve                                     34.83                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2311     Ring Terminal, Star                                              12.93                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2312     CONN HEADER VERT .100 2POS 30AU                                   8.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 524 of 735
                                                                               Form 1                                                                              Page: 524

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2313     Telecom Plug for Stranded Cord, RJ-12RJ-25                         8.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2314     Telecom Plug for Stranded Cord, RJ-45                             10.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2315     QuickPort 10-Pack Category 5e Jacks                              116.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2316     6-Wire Quickport? Modular Jack-6P6C                               86.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 525 of 735
                                                                                Form 1                                                                             Page: 525

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2317     Ful Ins QD Term Dbl Crimp Male 22-18AWG 0187W 30                  22.38                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2318     Ful Ins QD Term Fem 16-14AWG 0250W 600V                            6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2319     Stud to QD Adapter Round Tongue, #8 Stud, 0250W                   10.13                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2320     Connector, HDR. BRKWAY .100                                       27.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 526 of 735
                                                                               Form 1                                                                              Page: 526

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2321     CONN HEADER FMALE 16POS .1" GOLD                                  15.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2322     Ful Ins QD Term Fem 12-10AWG 0250W                               108.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2323     CONN 2.1MM FEMALE PLUG 5.5MM OUT                                   1.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 527 of 735
                                                                                Form 1                                                                             Page: 527

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2324     CONN DC POWER RECEPT 5.5 X 2.1MM                                  25.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2325     Crimp-on Ring Terminal Vinyl Insulated, 12-10 Wi                   4.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2326     Quick-Disconnect Terminal Std Male, 12-10 Awg                      3.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2327     CONN DSUB RCPT 25POS STR PCB SLD                                  31.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 528 of 735
                                                                                Form 1                                                                             Page: 528

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2328     CONN HOUSING 8POS .100 W/LATCH                                     4.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2329     CONN TERM BLOCK 3POS 5.08MM PCB                                   79.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2330     Non-Ins Crimp-On Wire Ferrule 24-22AWG                             3.19                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2331     Circular PshPll Conn PLUG Size 0 4P Male SLDR NO                  74.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 529 of 735
                                                                               Form 1                                                                             Page: 529

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2332     Conn Header Vert.100 14 Pos Tin                                  10.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2333     Conn Header Vert.100 8 Pos Tin                                   11.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2334     Conn Header 3MM 3Pos R/A Gold                                     9.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 530 of 735
                                                                               Form 1                                                                              Page: 530

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2335     Conn Header 4Pos Dual R/A Gold                                     8.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2336     Header,Right Angle, 2Row, 12 Way                                  11.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2337     LEMO Plug; Size 1; 7 Pin; Circular; Push Pull                    123.57                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2338     Recp;Size 1;7 Pin;Circular;Push Pin                               59.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 531 of 735
                                                                                Form 1                                                                              Page: 531

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2339     LEMO,Plug Size 1 14Pin Circular Push Pull                         194.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2340     LEMO Recp; Size 1; 14 Pin; Circular; Push Pull                    100.42                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2341     Conn Socket 26-28 AWG .100"Tin                                      4.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2342     Conn Housing 8Pos.100" Dual                                         6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 532 of 735
                                                                               Form 1                                                                            Page: 532

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2343     Conn Housing 14Pos .100"Dual                                     8.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2344     Conn Rcpt 3mm 4pos dl mate-n-l                                   4.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2345     Conn Socket 20-24AWG Gold Crimp                                  9.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 533 of 735
                                                                               Form 1                                                                             Page: 533

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2346     Conn D89 Female Sld Cup Nickel                                    8.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2347     Backshell D89 Grey Plastic                                        8.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2348     Conn Recept 3MM 3POS Mate-n-lok                                   6.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2349     Conn Housing 12Pos .100"Dual                                     27.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 534 of 735
                                                                               Form 1                                                                              Page: 534

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2350     CONN TERM BLOCK 2POS 5.08MM PCB                                  264.49                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2351     TERM BLOCK 3POS SIDE ENT 2.54MM                                    5.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2352     TERM BLOCK HDR 3.81MM 2POS PCB                                     1.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2353     Connector Socket; 24-30AWG; 15AU                                  73.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 535 of 735
                                                                               Form 1                                                                             Page: 535

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2354     TERM BLOCK PLUG 3.81MM 2POS                                      34.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2355     Fixed Terminal Blocks 2P 2.54mm 90DEG                             9.06                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2356     Fixed Terminal Blocks 3P 2.54mm 90DEG                            10.38                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 536 of 735
                                                                               Form 1                                                                             Page: 536

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2357     Fixed Terminal Blocks 5P 2.54mm 90DEG                            37.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2358     DIN Connector, 5 Pin Male, Cable Mount                            8.39                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2359     CRIMP TERMINAL 22-26 AWG TIN                                      7.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2360     Conn Fork 16-22 AWG #4 PIDG YELLOW                               36.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 537 of 735
                                                                               Form 1                                                                             Page: 537

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2361     Conn Term Female 24-30AWG Tin                                    20.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2362     CONN HEADER 6 POS. 100IN RA GOLD                                  1.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2363     CONN HEADER 6POS. DUAL RA GOLD                                    2.07                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2364     Pen Mounting Clamshell                                       1,272.53                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 538 of 735
                                                                               Form 1                                                                              Page: 538

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2365     Pen Clip                                                         455.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2366     Tv Tube, 1.0 X                                                   102.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2367     Objective,5X/0.255 W/34MM W.D                                1,284.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 539 of 735
                                                                               Form 1                                                                              Page: 539

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2368     Objective,10X/0.45 W/19MM W.D                                1,605.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2369     Mount Plate                                                      500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2370     Assembly, Zoom 70XL Manual Upper C                               561.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2371     Spii+ Stand alone control, 6 axis, sin/cosine               35,397.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 540 of 735
                                                                                Form 1                                                                              Page: 540

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2372     SOLA heavy duty power supply for NLP                          1,091.40                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2373     Enclosure; Stainless Steel NLP; 20 in.; 20 in.;                   748.53                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2374     AB2 Amplifiers includes lookup table                         30,210.67                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2375     Power Supply 3 rail 5V,+-12V                                      360.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 541 of 735
                                                                               Form 1                                                                            Page: 541

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2376     4 Port USB Hub with USB Port                                 1,908.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2377     TEC for NLP eChamber                                         4,002.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2378     CAMERA, LUMINARA INFINITY 2 IMAGE SENSOR                    14,040.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 542 of 735
                                                                                Form 1                                                                              Page: 542

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2379     Ethernet bulk head conncetor                                      156.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2380     USB Bulkhead connector                                            252.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2381     RS-232 Bulkhead connector                                         126.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2382     PIM2401 RS232&CAN Intelligent Control Plug-in Mo              5,625.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 543 of 735
                                                                               Form 1                                                                             Page: 543

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2383     Power Supply, 24 V, 2                                        2,256.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2384     SIIG 2-Port Serial (16550), Univ PCI Card                        59.99                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2385     Bariar Block 6 Condu                                             51.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2386     Resister- 1-4 W 1206 100 Ohm                                      0.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 544 of 735
                                                                               Form 1                                                                            Page: 544

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2387     Resistor- 1-4 W 1206                                             7.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2388     Resistor- 1-4 W 1206                                             9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2389     Resistor- 1-4 W 1206 120 Ohm                                     2.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 545 of 735
                                                                               Form 1                                                                             Page: 545

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2390     Resistor- 1-4 W 1206                                              6.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2391     01Resistor- 1-4 W 1206 500 Ohm                                   13.32                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2392     Resistor- 1-4 W 1206                                             16.83                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2393     Resistor- 1-4 W 1206                                              0.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 546 of 735
                                                                               Form 1                                                                             Page: 546

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2394     Resistor- 1-4 W 1206                                              5.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2395     Resistor- 1-4 W 1206 43k Ohm                                      0.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2396     Resistor- 1-4 W 1206                                             14.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2397     TRANS NPN AMP SOT-23                                             44.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 547 of 735
                                                                               Form 1                                                                             Page: 547

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2398     TRANS NPN AMP SOT-23                                             30.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2399     Fan Heat Sink combination                                    4,200.32                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2400     USB1208FS Analog IO d                                        1,890.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 548 of 735
                                                                               Form 1                                                                             Page: 548

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2401     Opamp sm OP97FSZ                                                 15.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2402     FUSE .500A 63V FAST 1                                            81.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2403     IC INVERTER HEX SCHMI                                            24.19                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2404     Bariar Block 8 Conductor                                         29.81                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 549 of 735
                                                                               Form 1                                                                             Page: 549

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2405     FUSEBLOCK W500A FUSE SMD FAST                                    19.33                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2406     A FUSE .500A 125V FST S                                          35.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2407     DIODE SW DUAL 100V 15                                            88.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2408     LED 3X1.5MM 470NM BLUE SMD                                       15.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 550 of 735
                                                                               Form 1                                                                              Page: 550

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2409     LED 3X1.5MM 625NM RED SMD                                          6.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2410     LED 3X1.5MM 570NM GN                                              32.34                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2411     IC TEMP SENSOR VOUT T                                            437.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 551 of 735
                                                                               Form 1                                                                             Page: 551

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2412     CONN HEADER 10 POS STRGHT GOLD                                   26.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2413     DIODE SWITCH 100V 400MW SOD123                                    6.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2414     RECTIFIER 200V 1A DO-41                                          41.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2415     Resistor- 1-4 W 1206 1.0K Ohm                                     0.38                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 552 of 735
                                                                               Form 1                                                                              Page: 552

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2416     Resistor- 1-4 W 1206 270K Ohm                                      1.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2417     FAN 24VDC 2.04W 60MM FAB HYDRO                                   189.42                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2418     HEATSINK POWER NO MNT                                             61.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2419     HEATSINK TO-220 POWER                                              7.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 553 of 735
                                                                               Form 1                                                                              Page: 553

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2420     FUSE 25A 3AG                                                      46.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2421     Light Pipe Flexible                                              127.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2422     TERMINAL JUMPER FOR SERIES-140                                    27.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 554 of 735
                                                                               Form 1                                                                             Page: 554

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2423     AMP RECEPTACLE 22-18AWG                                          19.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2424     RELAY,8 PINS,DPDT,15A                                            96.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2425     RELAY PWR SPDT 10A 12VDC QC MNT                                  23.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2426     MOSFET P-CH 100V 21A TO-247AC                                    96.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 555 of 735
                                                                               Form 1                                                                              Page: 555

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2427     IGBT W-DIODE 600V 70A TO247AC                                    279.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2428     RES CURRENT SENSE ,01 OHM 5W 1%                                    2.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2429     SOCKET TRACK MNT G2R-G3R                                           4.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2430     SOCKET,RELAY,8 PINS                                               43.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 556 of 735
                                                                               Form 1                                                                            Page: 556

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2431     Resistor- 1 W axil 1M Ohm                                        1.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2432     RES 8.66K OHM 1-8W 1% 0805 SMD                                   2.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2433     RES 7.87K OHM 1-8W 1% 0805 SMD                                   0.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 557 of 735
                                                                               Form 1                                                                            Page: 557

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2434     RES 97.6K OHM 1-8W 1% 0805 SMD                                   2.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2435     POT 5.0K OHM 3MM CERMET TOP SMD                                  8.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2436     POT 1.0K OHM 3MM CERMET TOP SMD                                  8.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2437     RES 390K OHM 1-8W 1% 0805 SMD                                    3.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 558 of 735
                                                                               Form 1                                                                            Page: 558

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2438     RES 120K OHM 1-8W 1% 0805 SMD                                    4.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2439     RES 348K OHM 1-8W 1% 0805 SMD                                    3.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2440     RES 49.9K OHM 1-8W 1% 0805 SMD                                   6.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2441     RES 100K OHM 1-8W .1% 0805 SMD                                   9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 559 of 735
                                                                               Form 1                                                                              Page: 559

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2442     IC REF VOLT PREC2.5V 10PPM 8SOIC                                   4.80                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2443     IC 5.0V 50MA LDO REG SOT-23-5                                     13.44                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2444     SENSOR HUMIDITY 5.8V 3.5% SMD                                    108.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 560 of 735
                                                                               Form 1                                                                              Page: 560

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2445     HIH-5031 HUMIDITY SENSOR SMD 3% W-FILTER                          31.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2446     IC PREC OPAMP DUAL R-ROUT 8-SOIC                                  82.32                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2447     Solenoid Valve, 2 Way                                            998.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2448     FINGER GUARD 60MM PLASTIC                                          5.61                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 561 of 735
                                                                               Form 1                                                                              Page: 561

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2449     DIN RAIL TERMINAL BLOCK                                          123.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2450     Modular DIN Rail-Mount Terminal Block Fuse                        10.33                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2451     DIN RAIL                                                           0.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2452     CONN TERM BLK END BRACKET 9.5MM                                   22.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 562 of 735
                                                                               Form 1                                                                             Page: 562

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2453     End Section for DIN 1-Circuit Fuse                                2.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2454     TERMINAL END COVERS                                              41.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2455     CONN TERM BLK FIXED BRIDGE                                       39.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 563 of 735
                                                                                Form 1                                                                              Page: 563

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2456     TERMINAL MARKER                                                    78.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2457     Solenoid valve, 12 VDC, L-plug connector, indica                  270.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2458     FAN, 40 X 40 X 28 MM, 24 V                                        392.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2459     PC Board 4x5in Unclad 100mil Perf                                  68.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 564 of 735
                                                                               Form 1                                                                              Page: 564

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2460     TVS 24 VOLT 600 WATT BI-DIR SMB                                    0.41                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2461     BEAD MULTI-TURN AXIAL 998 OHMS                                     2.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2462     RELAY FOR AC UNIT                                                187.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2463     THERMOSTAT 85 DEG C NC W/LEADS                                   273.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 565 of 735
                                                                               Form 1                                                                             Page: 565

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2464     Ferrite 8A 200 OHM SMD                                           19.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2465     HEAT SINK T0-220.500-COMPACT                                      1.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2466     FUSE 15 AMP 1Change to 15 amp                                     6.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 566 of 735
                                                                               Form 1                                                                              Page: 566

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2467     ADDITION OF FERRITES FOR ZOOM AND FOCUS                           67.68                        0.00                                        0.00                    FA
         MOTORS
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2468     Line Filter 6A                                                   400.84                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2469     Power Entry Module 15A 250V Screw Mount                          342.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2470     FERRITE BOX CLAMPON .350"BLK                                       6.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 567 of 735
                                                                                Form 1                                                                             Page: 567

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2471     FERRIT TUBE BOX                                                   43.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2472     FERRITE CYLINDER CLAMP-ON 6.60MM                                  10.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2473     EMI/RFI Suppressors & Ferrites 320ohms 100MHz 7.                  65.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2474     MOSFET P-CHAN 40V 8                                                4.40                        0.00                                        0.00                    FA


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 568 of 735
                                                                               Form 1                                                                             Page: 568

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2475     C OPAMP LOW-POWER OP07 8SOIC                                     45.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2476     CAP CER 1.0UF 16V 20% X7R 0805                                    4.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2477     RES 10K OHM 14W 5% 1206 SMD                                       3.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 569 of 735
                                                                               Form 1                                                                             Page: 569

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



2478     RES 270K OHM 1/4W 5% 1206 SMD                                     3.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2479     PROTO-BOARD 8PIN SOIC                                            12.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2480     TERMINAL MARKER STRIP, 1-10                                       2.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2481     TERMINAL MARKER STRIP , 11-20                                    13.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 570 of 735
                                                                               Form 1                                                                             Page: 570

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2482     Resistor 75Ohm 10W 5% Wirewound                                  12.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2483     CARTRIDGE HEATER 24V 60W                                         78.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2484     FUSE 12A 32V FAST AGC GLASS                                       0.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 571 of 735
                                                                               Form 1                                                                             Page: 571

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2485     Fuse 4A 125V Fast SMD Silver                                     16.25                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2486     MOSFET N-CH 55V 75A TO-247                                        2.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2487     LIGHT PIPE .53IN VERTICAL                                         0.73                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2488     FUSEBLOCK W4A FUSE SMD FAST                                      28.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 572 of 735
                                                                               Form 1                                                                             Page: 572

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2489     THERMOSTAT 140 DEG C NC W/LEADS                                  40.18                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2490     RES 51 OHM 1-8W .1% 0805 SMD                                      0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2491     RES 9.1K OHM 1-8W .1% 0805 SMD                                    3.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2492     RES 0.0 OHM 1-8W 5% 0805 SMD                                      1.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 573 of 735
                                                                               Form 1                                                                            Page: 573

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2493     RES 44.2K OHM 1-8W 1% 0805 SMD                                   0.18                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2494     RES 54.9K OHM 1-8W 1% 0805 SMD                                   0.18                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2495     RES 137K OHM 1-8W 1% 0805 SMD                                    0.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 574 of 735
                                                                                Form 1                                                                             Page: 574

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2496     Acrylic Conformal Coating Quick Dry 12oz Aerosol                  33.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2497     IC AMP DIFF 50KHZ 8SOIC                                           33.66                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2498     MOSFET P-CH 50V 130MA SOT23-3                                     34.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2499     DIODE ZENER 10V 500MW SOD-123                                      3.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 575 of 735
                                                                               Form 1                                                                             Page: 575

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2500     DIODE SUPER FAST REC 2A 100V SMB                                  3.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2501     FERRITE CHIP 950 OHMS 500MA 1206                                  0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2502     INDUCTOR 10UH 340MA 10% SMD                                      15.91                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2503     FUSEBLOCK W/1A FUSE SMD FAST                                     16.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 576 of 735
                                                                               Form 1                                                                             Page: 576

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2504     INDUCTOR POWER 10UH 6.2A SMD                                     29.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2505     INDUCTOR SHIELDED 10UH SMD                                       40.20                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2506     IC VOLT MONITOR QUAD 16SSOP                                      18.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 577 of 735
                                                                               Form 1                                                                             Page: 577

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2507     IC WATCHDOG TIMER SOT23-8                                        14.34                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2508     MOSFET N-CH 60V 500MA SOT23-3                                    51.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2509     RES 1.02K OHM 1/4W 1% 1206 SMD                                    0.62                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2510     RES 1.30K OHM 1/4W 1% 1206 SMD                                    0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 578 of 735
                                                                               Form 1                                                                            Page: 578

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2511     RES 115K OHM 1/4W 1% 1206 SMD                                    0.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2512     RES 11.0K OHM 1/4W 1% 1206 SMD                                   0.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2513     RES 124K OHM 1/4W 1% 1206 SMD                                    0.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2514     RES 150 OHM 1/4W 5% 1206 SMD                                     0.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 579 of 735
                                                                               Form 1                                                                            Page: 579

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2515     RES 16K OHM 1/4W 5% 1206 SMD                                     0.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2516     RES 21.5K OHM 1/4W 1% 1206 SMD                                   0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2517     RES 220K OHM 1/4W 1% 1206 SMD                                    0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 580 of 735
                                                                               Form 1                                                                            Page: 580

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2518     RES 232K OHM 1/4W 1% 1206 SMD                                    0.62                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2519     RES 240K OHM 1/4W 1% 1206 SMD                                    0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2520     RES 4.32K OHM 1/4W 1% 1206 SMD                                   0.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2521     RES 4.3K OHM 1/4W 5% 1206 SMD                                    0.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 581 of 735
                                                                               Form 1                                                                            Page: 581

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2522     RES 4.53K OHM 1/4W 1% 1206 SMD                                   1.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2523     RES 10.0K OHM 1/4W 1% 1206 SMD                                   0.85                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2524     RES 4.7K OHM 1/4W 5% 1206 SMD                                    1.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2525     RES 4.70K OHM 1/4W 1% 1206 SMD                                   0.10                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 582 of 735
                                                                               Form 1                                                                            Page: 582

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2526     RES 44.2K OHM 1/4W 1% 1206 SMD                                   0.05                        0.00                                        0.00                  0.00

2527     RES 470K OHM 1/4W 5% 1206 SMD                                    0.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2528     RES 6.20K OHM 1/4W 1% 1206 SMD                                   0.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2529     RES 931 OHM 1/4W 1% 1206 SMD                                     0.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 583 of 735
                                                                               Form 1                                                                             Page: 583

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2530     LED 1210 BLU/RD 470/620NM TRANSP                                  1.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2531     RES 100K OHM 1/4W 5% 1206 SMD                                     0.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2532     EMI-RFI Ferrite Round 7mm Black Clamp                            30.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2533     EMI-RFI Ferrite 233 Ohms 100MHz 0.315in I.D.                      8.54                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 584 of 735
                                                                               Form 1                                                                              Page: 584

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2534     12V POWER SUPPLY                                                 292.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2535     24V Power Supply                                                 381.25                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2536     POWER SWITCH DPDT ROCKER ILLUMINATED                              12.72                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 585 of 735
                                                                               Form 1                                                                             Page: 585

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2537     FUSE HOLDER                                                      10.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2538     FUSE 1.6A FAST 250V                                               1.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2539     FUSE 0.25AFAST 250V                                               6.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2540     POWER ENTRY MODULE AND FILTER                                    30.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 586 of 735
                                                                               Form 1                                                                            Page: 586

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2541     30g SMD Load Cell                                            3,640.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2542     RES 120 OHM 0.125W 5% 0603 SMD                                   0.42                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2543     Isolated converter RS232-RS485                               1,161.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2544     DC BRUSHLESS MOTOR 24V;3.71-1; 512L ENC                      1,982.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 587 of 735
                                                                               Form 1                                                                             Page: 587

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2545     Transil Array Bidir ESD Sot-666                                  12.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2546     Transil For Dataline Bidir 8SOIC                                 22.68                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2547     Diode TVS 30V 400W Bl 5% SMD                                      4.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 588 of 735
                                                                               Form 1                                                                             Page: 588

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2548     Switch Slide Dpdt 12V 100MA GW                                   11.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2549     Fuse Fast 125V 2.5A SMD                                          14.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2550     INDUCTOR POWER 10UH 2.1A SMD                                      8.58                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2551     PIM2403 24V, 3A, 75W                                         2,760.30                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 589 of 735
                                                                               Form 1                                                                             Page: 589

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2552     Suppressor ESD 24VDC 0603 SMD                                    45.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2553     IC Switch Hall EffectSOT23W                                      24.24                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2554     IC Hex Inverter 14-TSSOP                                          3.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2555     Micro Switch,Button,SPDT,500mA DH2CC5AA                          38.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 590 of 735
                                                                                Form 1                                                                             Page: 590

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2556     Switch Snap Spdt 500MA SLD LUG DH2CB1AA                           31.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2557     Two port RS-232/422/485 Card - optically isolate              1,276.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2558     LED 2X1.2MM 470NM BL WTR CLR CMD                                   3.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 591 of 735
                                                                               Form 1                                                                             Page: 591

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2559     LED 2X1.2MM 640NM RD WTR CLR SMD                                 13.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2560     Switch Lever SPDT SLD LUG DH2CB1PA                               28.71                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2561     RES 120 OHM 0.125W 5% 0805 SMD                                    1.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2562     #6 0.148ID x 0.25 OD x0.031 TH Split Washer                      15.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 592 of 735
                                                                               Form 1                                                                              Page: 592

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2563     Screw, button head, 2-56 x .125, 316                               9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2564     Washer, Spring Lock, .375 ID                                      29.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2565     SCREW, SOCKET HEAD CAP, 3_8-16 X 1.75 LONG                       193.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2566     Flat Washer, 5/16                                                 11.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 593 of 735
                                                                               Form 1                                                                              Page: 593

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2567     Split Washer, 5/16                                                 8.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2568     HEX NUT, M3X.5, WITH TOOTH WASHER                                115.93                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2569     HEX NUT, THIN, 1/4-20 UNC, ZINC PLATED STEEL                       4.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 594 of 735
                                                                                Form 1                                                                              Page: 594

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2570     Screw, Socket Head Cap, 4-40 x long                                 3.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2571     Screw, Soc Pan Head, M4-0.7x10MM long,18-8 StStl                    5.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2572     SOCKET HEAD CAP SCREW M5 X 8 mm SS 18-8                             4.95                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2573     FLat head Scktcap screw,1/4-20x.75,18-8 SS                        101.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 595 of 735
                                                                                Form 1                                                                             Page: 595

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2574     Socket HeadCap screw,M6x20mm Long                                  8.16                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2575     SOCKET hEADCAP SCREW,3/8-16X.75                                   25.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2576     Socket headcap screw,6-32x1.00                                     6.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2577     Flat socketheadcap screw,6-32x.5,SS18-8 BlackOxi                   9.13                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 596 of 735
                                                                               Form 1                                                                             Page: 596

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2578     Spring Lock Washer for#8 SS 18-8 screw                            1.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2579     Socket HeadCap screw,8-32x.5 SS Blkoxide                          0.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2580     Socket HeadCap screw,6-32x.5 SS BlackOxide                       37.79                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 597 of 735
                                                                               Form 1                                                                             Page: 597

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2581     Flat Headcar screw,M4x.7mm SS 18-8                                6.23                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2582     Socket Head Cap Screw,4-40x,375                                   4.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2583     Socket Head Cap Screw M3x,5x18MM,SS18-8                          10.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2584     Socket Head Cap Screw, 4-40 x 1.00, SS 18-8                       1.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 598 of 735
                                                                               Form 1                                                                             Page: 598

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2585     Shoulder Screw,4-40,.125X.25Long Shoulder                        95.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2586     Set Screw Alloy 4-40x.125, Brass Tip                             16.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2587     Socket Head Cap Screw,4-40x.875in,SS18-8                         13.44                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2588     SOC HD CAP SCREW, 6-32X0.62,SS,BlackOxide                        47.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 599 of 735
                                                                               Form 1                                                                             Page: 599

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2589     Low Hd Soc Cap Screw 6-32Thd 0.38in Lng                           9.25                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2590     SOC HD CAP SCREW,6-32X0.38,SS Black                              22.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2591     CONICAL SPRING WASHER, .138 ID X .281                            10.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 600 of 735
                                                                               Form 1                                                                             Page: 600

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2592     SCREW, PHILIPS HEAD, M3 X 10 SS18-8                              17.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2593     SCREW, PHILIPS HEAD, M3 X 5 SS18-8                                6.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2594     SCREW, PHILIPS HEAD, M3 X 35 SS18-8                              15.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2595     HEX NUT M8 X 1.25                                                14.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 601 of 735
                                                                               Form 1                                                                             Page: 601

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2596     SCREW, FLAT HEAD, 6-32 X 2.00 SS 18-8                            26.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2597     SCREW, FLAT HEAD, M4 X 8 MM, SS 18-8                              7.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2598     SCREW, FLAT HEAD, M8 X 16 MM, SS 18-8                            36.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2599     SCREW, FLAT HEAD, M4 X 12 MM, SS 18-8                             6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 602 of 735
                                                                               Form 1                                                                             Page: 602

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2600     FHCS, 1/4-20 X 0.75 , SS 18-8, BLK OXIDE                         16.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2601     FHCS, 6-32 X 0.375 , SS 18-8, BLK OXIDE                           9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2602     SHCS, 8-32 x 2.00, SS 18-8                                       10.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 603 of 735
                                                                                Form 1                                                                              Page: 603

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2603     SHCS, 4-40 x .50, SS 18-8, Blk Oxide                                3.24                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2604     SHCS, M4X.7 x 12mm, SS 18-8                                        10.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2605     SHCS SCREW, 8-32 X 3.00 SS 18-8                                   110.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2606     STANDOFF, THREADED, 6-32 UNC X 1/4 DIA. X 1/4 LO                   41.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 604 of 735
                                                                               Form 1                                                                             Page: 604

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2607     SOCKET HEAD CAP SCREW, #6-32 X .75                                8.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2608     SOCKET HEAD CAP SCREW 1/4"-20 X 2.00                              7.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2609     S0CKET HEAD CAP SCREW, 1/4-20 X 2.50                             10.39                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2610     PHILIPS HEAD PAN SCREW 10-32 X 3/16 SS 18-8                      12.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 605 of 735
                                                                               Form 1                                                                              Page: 605

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2611     FLAT HEAD PAN SCREW 4-40 X .312                                    1.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2612     4-40 NYLOC                                                        10.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2613     STANDOFF .625 INCH 6-32 F                                        119.70                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 606 of 735
                                                                               Form 1                                                                             Page: 606

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2614     BUTTON HEAD CAP SCREW 8-32 X 5/8 SS 18-8                          6.67                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2615     FLAT HEAD CAP SCREW 4-40 X 7/16 SS 18-8                           5.57                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2616     STANDOFF 1/4 OD X 3/4 LONG 6-32 UNC2B                            31.39                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2617     HEX NUT WITH TOOTH WASHER 6-32 SS 18-8                            2.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 607 of 735
                                                                               Form 1                                                                             Page: 607

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2618     PHILIPS FLAT HEAD SCREW 6-32 X 1.12 SS 18-8                       7.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2619     PHILIPS FLAT HEAD SCREW 1/4"-20 X 0.5 SS 18-8                    16.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2620     WASHER M4 4.3 ID X 12 OD X 1 SS 18-8                              6.03                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2621     HEX NUT WITH TOOTH WASHER 10-32                                   9.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 608 of 735
                                                                                Form 1                                                                              Page: 608

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2622     LOW HEAD CAP SCREW #10-32 SS 18-8                                   8.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2623     SHOULDER SCREW 5/32 DIA X .375 LG, 6-32 THRD                      168.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2624     SET SCREW CONE TIP, 6-32 X .125                                    12.45                        0.00                                        0.00                  0.00
2625     CONICAL SPRING WASHER .138 ID X .281                               14.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 609 of 735
                                                                               Form 1                                                                             Page: 609

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2626     BUTTON HEAD CAP SCREW 6-32 X .50 SS 18-8                          0.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2627     TIE WRAP, 3/4 X 3/4 X 1/8                                        12.70                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2628     CABLE TIE HOLDER 3/4X3/4                                         11.07                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2629     SET SCREW, 6-32 X 1/4, BRASS TIPPED                               5.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 610 of 735
                                                                               Form 1                                                                            Page: 610

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2630     SOCKET HEAD CAP SCREW, M4 X 18 SS 18-8                           5.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2631     SCREW, FLAT HEAD SOCKET. 6-32 UNC X 1/2" SS18-8                  8.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2632     SET SCREW, 5/16X18 0.25 LONG SS 18-8                             4.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 611 of 735
                                                                                Form 1                                                                              Page: 611

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2633     STANDOFF 2 INCH 6-32 MF                                           159.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2634     PLASTIC SCREWS                                                      6.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2635     WASHER, #2, .099 ID X .25 OD X .029 THK SS 18-8                     4.96                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2636     BUTTON HEAD CAP SCREW 2-56 X .25 SS 18-8                            9.32                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 612 of 735
                                                                                Form 1                                                                             Page: 612

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2637     WASHER, FLAT, #4                                                   1.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2638     BUTTON HEAD CAP SCREW 6-32 X .188 SS 18-8                         16.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2639     Type 316 SS Flat Head Socket Cap Screw 6-32 Thre                  34.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2640     18-8 Stainless Steel Socket Head Cap Screw 6-32                   38.83                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 613 of 735
                                                                               Form 1                                                                             Page: 613

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2641     STANDOFF, 0.625 INCH LONG THREADED, 6-32                          5.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2642     STANDOFF, 2.0 LONG MALE FEMALE TH'D, 6-32                        15.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2643     WASHER .41 ID X 1.0 OD X .05 THK                                  7.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 614 of 735
                                                                                Form 1                                                                            Page: 614

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2644     NUT, HEX, 6-32 NYLON 6/6                                          5.57                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2645     1/4-20 SLOTTED SCREW X .25 LONG                                   9.51                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2646     BUTTON HEAD SCREW, 6-32 X .25 SS 18-8                             7.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2647     Zinc-Plated Steel Split Lock Washer 3/8" Screw S                  0.14                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 615 of 735
                                                                                Form 1                                                                              Page: 615

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2648     SETSCREW, CUP PT., KNURLED, .3125-16 X .25, 18-8                   17.82                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2649     PRECISION SHOULDER SCREW, SHOULDER .156                           187.20                        0.00                                        0.00                    FA
         DIA. X .
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2650     BUTTON HEAD CAP SCREW 0-80 X .25 SS 18-8                            2.87                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2651     ACRON NUT 4-40 SS 18-8                                              3.86                        0.00                                        0.00                    FA


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 616 of 735
                                                                                Form 1                                                                             Page: 616

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2652     Zinc-Plated Alloy Steel Socket Head Cap Screw 3/                   1.16                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2653     Zinc-Plated Steel Type A SAE Flat Washer 3/8" Sc                   3.14                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2654     Plastic Head Thmb Scrw Blk 4-40Trd 1-4L                           20.56                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 617 of 735
                                                                                Form 1                                                                             Page: 617

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets



2655     SET SCREW 6-32 X .25 W PLASTIC TIP                                 9.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2656     SOCKET HEAD CAP SCREW 6-32 X 1.125                                 5.66                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2657     Pan Head Phil Machine Screw with StarWasher 18-8                   0.31                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2658     Pan Head Phil Machine Screw with StarWasher 18-8                  17.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 618 of 735
                                                                                Form 1                                                                            Page: 618

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2659     JACK SCREW, 4-40 UNC -2B X .1 X 4-40 X .312 UNC-                  9.77                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2660     FLAT HEAD CAP SCREW 6-32 X .25 SS 18-8                            4.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2661     SPLIT LOCK WASHER .25ID X .49OD X .06 THK.                        0.97                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 619 of 735
                                                                                Form 1                                                                             Page: 619

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2662     Metric 18-8 SS Socket Head Cap Screw M3 Thread,                    1.57                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2663     Screw, Button Head, 2-56 x .375, SS                               15.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2664     Setscrew, Flat Tip, 2-56 x .188                                   14.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2665     SHCS 6-32 x .25 Polypropylene                                     23.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 620 of 735
                                                                                Form 1                                                                             Page: 620

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2666     Hex Nut 5-16 -18                                                   6.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2667     Pan Head Screw with Star Washer 6-32 x 3/8                        30.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2668     PAN HEAD PHILIPS SCREW 10-32 X .25 SS 18-8                        17.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2669     SCREW, PHILIPS FLAT HEAD 6-32 X 1.25 , SS 18-8                    11.58                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 621 of 735
                                                                               Form 1                                                                             Page: 621

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2670     PTFE FLAT WASHER #6 .32IN OD .50IN THICK                         79.13                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2671     Screw, Flat Head, 2-56 x 532, 316 SS                              9.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2672     SETSCREW, CUP TIP, 6-32 X .125, SS                                5.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 622 of 735
                                                                                Form 1                                                                             Page: 622

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2673     SETSCREW, SOCKET, CONE PT., 2-56, SS                              15.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2674     Screw, Flat Head, Phillips, 0-80 x .25, SS                         9.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2675     Screw, Flat Head, Socket. 6-32 x .500, SS, Black                   8.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2676     Screw, Flat Head, Phillips, 1-64 x .125, SS                       18.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 623 of 735
                                                                               Form 1                                                                             Page: 623

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2677     Screw, Socket Head, 6-32 x .875, 316SS                           17.76                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2678     Cable Kit for NLP                                            4,970.26                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2679     GBH Installation Kit, Field                                 Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2680     Cover slips, 22x22mm squared                                     19.88                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 624 of 735
                                                                               Form 1                                                                              Page: 624

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2681     Label, CE MARK                                                    41.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2682     Label, Warning Serious Shock Hazard                              124.65                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2683     Label, No Waste                                                   41.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 625 of 735
                                                                               Form 1                                                                             Page: 625

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2684     Lable, Caut./Invisible Laser                                     92.12                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2685     LABEL, ATTENTION- ESD                                             8.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2686     Dedicated Ground Connection Label                            1,040.99                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2687     Label, NLP AC Unit Serial #                                 Unknown                           0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 626 of 735
                                                                                Form 1                                                                              Page: 626

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2688     LABEL, BURN HAZARD, HOT SURFACE 3/8 X                              14.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2689     Warning Label, Severe shock hazard                                 20.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2690     Vistek Series 320 Vibration Isolation Bearings,              12,540.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2691     Clip, Vistek Vibration Isolation                                  800.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 627 of 735
                                                                                Form 1                                                                             Page: 627

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2692     REAR HANDLE CUP                                                   90.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2693     MEC-0171-0Twin-Wheel Caster with Hood & Brake1                     2.84                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2694     Twin-Wheel Caster with Hood                                        1.98                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 628 of 735
                                                                                Form 1                                                                             Page: 628

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2695     Wear-Resistant 440c StStl Ball,.12in Dia, Grade                    0.05                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2696     BUMPER, 0.875 DIA X .4 TALL                                        1.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2697     Double-Sided Magnetic Catch Surface                               35.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2698     Wiring Duct, 2in X 2in                                        1,377.90                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 629 of 735
                                                                               Form 1                                                                             Page: 629

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2699     01LOCKING CHANNEL                                                 3.50                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2700     Very High 2400 Cps Viscosity                                     57.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2701     Foam,Locking Channel                                              5.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2702     Standard Nylon Cable Tie                                          0.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 630 of 735
                                                                               Form 1                                                                              Page: 630

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2703     DUCT TAPE, 2 " WIDE                                                9.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2704     MOTORS AND MICROSCOPE WIRE WRAP 0.75 DIA.                          2.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2705     Sphere Magnet, neodymium,.125 diameter                           189.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 631 of 735
                                                                                Form 1                                                                              Page: 631

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2706     Polyurethane Tubing, 6mm OD, white, 20m length r                   69.27                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2707     Straight Male Connector Fitting, 6mm tubing to M                  213.18                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2708     WRAP AROUND ENCODERS WIRES                                        130.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2709     CABLE TIE, 4" X .10" Wide                                           7.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 632 of 735
                                                                                Form 1                                                                              Page: 632

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2710     SPRING, COMPRESSION, 3/8 LONG X .032 DIA. WIRE,                    67.20                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2711     TOOLING BALL, 1/4 DIA. BALL X 1/8 SHAFT                           404.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2712     Cable Wrap-Around Sleeving Braided, 1/4 inch ID                    14.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2713     COPPER FOIL TAPE, 0.0035 THK.X 3" WIDE                             20.12                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 633 of 735
                                                                               Form 1                                                                             Page: 633

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2714     Port Surface Mount Housing                                        5.37                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2715     2 TON CLEAR EPOXY, DEVCON 14310                                  12.99                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2716     FINGER GUARD 60MM PLASTIC                                         1.53                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 634 of 735
                                                                                Form 1                                                                             Page: 634

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2717     WIRE DUCT ,Controller BOX                                          1.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2718     Loctite Instant-Adhesive Accelerator No. 7452 ,                    7.43                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2719     Loctite? Tak Pak #382 Adhesive, 20 Gram Bottle                    12.43                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2720     High-Temp VHB Foam Tape-Adhesive Both Sides .025                  22.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 635 of 735
                                                                                Form 1                                                                              Page: 635

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2721     FLUX PEN FORMULA 186 RMA                                            1.74                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2722     TIE WRAP ANCHOR                                                     2.58                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2723     TIE WRAP                                                            0.05                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2724     ZincPlated Steel IntTooth Lock Washer #3 0,3inOD                  113.92                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 636 of 735
                                                                               Form 1                                                                              Page: 636

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2725     COMP SPRING, .088 OD X .012 WT X .5 FREE LEN                     153.51                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2726     COMPRESION SPRING, .24 OD X .016 WIRE X .25                       82.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2727     O-RING #16, BUNA N                                                 2.59                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 637 of 735
                                                                               Form 1                                                                             Page: 637

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2728     RTV                                                               8.02                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2729     O-RING #006, BUNA N                                               9.87                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2730     STANDOFF .25 OD X .281 TALL                                      64.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2731     Thermal Joint Compound                                           26.29                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 638 of 735
                                                                               Form 1                                                                              Page: 638

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2732     Pin, Spring, .0625 x .188, 420 SS                                  2.01                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2733     Caster, 2.50NLP Compon                                           220.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2734     Shrink Tubing for Hose, 2 inch Diameter                          105.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2735     Micrometer 50mm travel, .1 mic resolution                    2,170.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 639 of 735
                                                                                Form 1                                                                             Page: 639

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2736     tube fitting, barbed elbow, .0625 I.D. x 10-32,                   21.60                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2737     Force Load Sensor Assembly Case                               3,088.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2738     Shim, Round, .313 O.D. x .206 I.D. x .020 thK                      7.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 640 of 735
                                                                                Form 1                                                                              Page: 640

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2739     Tube Fitting, Male Adapter, .625 Tube I.D. X 10-                    5.04                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2740     Tube, .0625 I.D. x .125 O.D. Silicone, soft/high                  125.46                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2741     Miniature Air Regulator 1/8" Pipe Size, 19 Max S                  101.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2742     Tube Adaptor, Push-to-Connect 1/8" Tube OD X 1/8                   26.73                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 641 of 735
                                                                               Form 1                                                                              Page: 641

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2743     Tube Adapter,6mm Tube OD X .125 Female Pipe                       18.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2744     Coupling, Helical 0.125x0.0625 bore Aluminum                     306.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2745     Flanged bearing, 7mm ODx3mm ID x 3mm wide                        210.56                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2746     Tube Fitting 0.25OD Tube x 0.125 NPT                              39.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 642 of 735
                                                                                Form 1                                                                             Page: 642

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2747     Tube 0.25OD x 0.125ID                                             19.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2748     Valve push to connect Polypropylene, Inline, 0.2                  38.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2749     Adhesive backed Cable holder press in, 1/8" max                    7.56                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 643 of 735
                                                                                Form 1                                                                              Page: 643

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2750     O-Ring, 1mm Dia x 28mm ID, Buna-N                                   0.15                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2751     Ball, Ruby, 2MM, Grade 4                                          250.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2752     Kapton Tape,.0035 thcik x 2.00 wide                          Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2753     Foam Tape-Both Sides,0.5in W,72Yd L,0.031in Thk,                    8.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 644 of 735
                                                                               Form 1                                                                             Page: 644

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2754     Spring,Extension                                                 64.48                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2755     Micrometer, 50mm Travel                                      3,420.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2756     22X18X16" Box 275 Lb. Double corregated                          42.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2757     10x8x6" Box                                                      10.25                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 645 of 735
                                                                               Form 1                                                                              Page: 645

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2758     24x24x2" Pick & Pack Foam Sheets                                 114.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2759     LEVER,PEN HOLDER                                                 100.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2760     PLATE,PEN HOLDER                                                 406.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 646 of 735
                                                                               Form 1                                                                              Page: 646

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2761     Block, Humidity dish NLP                                         455.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2762     Base Plate Cuboid                                            2,700.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2763     Plate, Interface Sample Carrier - Motors                         204.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2764     Top Plate, Cuboid                                            1,650.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 647 of 735
                                                                               Form 1                                                                              Page: 647

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2765     Plate Mount Pen Base                                         1,610.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2766     Plate, Cover Cuboid                                              104.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2767     Post, Sample Carrier                                             294.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2768     sample carrier                                               1,320.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 648 of 735
                                                                               Form 1                                                                              Page: 648

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2769     Plate, Bottom, Sample Carrier                                    774.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2770     Wire Holder                                                  1,326.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2771     BASE HANDLE, NANOARRAY                                           482.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 649 of 735
                                                                               Form 1                                                                            Page: 649

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

2772     BASE, NANO ARRAY                                             2,748.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2773     MICROSCOPE PLANK                                             5,060.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2774     Environmental Chamber                                        1,500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2775     Cover, Cuboid                                                1,293.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 650 of 735
                                                                               Form 1                                                                              Page: 650

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2776     Housing Door, Microscope                                         575.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2777     Housing, Microscope, Lower Left Cover                            335.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2778     Housing, Microscope, Upper Column Cover                      1,575.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2779     Bezel, Front, Controller Box                                     720.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 651 of 735
                                                                               Form 1                                                                              Page: 651

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2780     A Bezel, Back, Controller Box                                    640.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2781     Housing, Microscope, Lower Right Cover                           335.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2782     Housing, Microscope Base Cover                                   918.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 652 of 735
                                                                               Form 1                                                                              Page: 652

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2783     TOP PANEL, CONTROLLER                                            850.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2784     AIR TUBES                                                        560.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2785     Side Wall, Cuboid                                            2,023.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2786     Front Wall, Cuboid                                           1,500.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 653 of 735
                                                                               Form 1                                                                            Page: 653

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2787     Back Plate, Cuboid                                           1,200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2788     Support Beam, Pen Base                                       2,189.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2789     Back-Front Wall, AC Unit                                     1,908.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2790     A Back Wall, AC Unit                                         2,148.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 654 of 735
                                                                               Form 1                                                                            Page: 654

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2791     End Wall, AC Unit                                            1,246.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2792     Top / Bottom Plate, AC Unit                                  2,535.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2793     Outer Housing, Temperature Sensor                            1,656.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 655 of 735
                                                                               Form 1                                                                              Page: 655

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2794     Gasket, AC Corner Duct                                           204.35                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2795     Bottom Cover                                                     800.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2796     TOP COVER                                                        800.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2797     FRONT GRILL                                                      600.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 656 of 735
                                                                               Form 1                                                                              Page: 656

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2798     REAR GRILL                                                   1,000.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2799     RIGHT CORNER DUCT                                                500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2800     LEFT CORNER DUCT                                                 400.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2801     RIGHT PARTITION                                                  200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 657 of 735
                                                                               Form 1                                                                              Page: 657

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2802     TOP PLATE, AC UNIT                                           1,859.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2803     LEFT PARTITION                                                   200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2804     AIR LOCKS                                                    2,200.01                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 658 of 735
                                                                               Form 1                                                                             Page: 658

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

2805     AIR LOCK FLANGE PLATES                                       1,100.02                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2806     CONNECTOR RECIPTICAL                                             15.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2807     FOAM PAD, AC UNIT                                                75.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2808     SEAL, 200F CLOSECELL XTRA SOFT 3_16HI X 1_8WD                    58.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 659 of 735
                                                                               Form 1                                                                              Page: 659

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2809     Magnet, Striker Plate                                            206.51                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2810     FILTER LINE BRACKET                                              869.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2811     TEMPERATURE CUTOFF SENSOR BRACKET                                480.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2812     FOAM PAD, AC UNIT                                                  4.68                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 660 of 735
                                                                               Form 1                                                                              Page: 660

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2813     HUMIDITY DISH, COLD BATH                                     3,174.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2814     HUMIDITY DISH, HOT BATH                                      2,880.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2815     CERAMIC JACKET, HEATER                                           540.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 661 of 735
                                                                               Form 1                                                                              Page: 661

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2816     CERAMIC HOUSING, HEATER ASSEMBLY                             2,490.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2817     HEATER, COPPER JACKET                                            720.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2818     HOT BATH COVER                                               1,980.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2819     CAP, COLD BATH                                                   720.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 662 of 735
                                                                               Form 1                                                                              Page: 662

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2820     FOAM, HEATER ASSEMBLY                                             12.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2821     HUMIDITY DISH FOAM WASHER                                         26.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2822     THERMAL BARRIER, MICA                                        1,248.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2823     COVER, OVERFLOW DRAIN                                            174.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 663 of 735
                                                                               Form 1                                                                              Page: 663

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2824     OVERFLOW DISCHARGE TUBE, INTERNAL                            5,382.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2825     OVERFLOW NUT SPACER                                              171.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2826     ALIGNMENT ROD                                               Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 664 of 735
                                                                               Form 1                                                                              Page: 664

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2827     RUBBER TUBE, DRAIN                                                88.01                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2828     HUMIDITY DISH SPACER, TOP                                        247.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2829     PLATE, UNIVERSAL PEN HOLDER                                  2,475.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2830     SEALING GASKEKT, AC UNIT                                         199.92                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 665 of 735
                                                                               Form 1                                                                              Page: 665

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2831     INSULATION, CORNER, TOP                                            2.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2832     INSULATION, CORNER DUCT, INISDE                                    2.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2833     FAN SPACER                                                       188.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2834     Mtg. Plate, Spring Clip, Contact Cantilever                  2,058.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 666 of 735
                                                                               Form 1                                                                              Page: 666

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2835     Base, Spring , Clip Fixture                                      936.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2836     Clamp, Spring Clip Fixture                                       696.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2837     Back, Spring Clip Fixture                                        528.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 667 of 735
                                                                               Form 1                                                                              Page: 667

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2838     Spring Clip, Contact Cantilever                              1,176.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2839     LIGHT PIPE BRACKET                                           1,053.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2840     Humidity Dish Thumb Screw                                        418.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2841     Kinematic Mount Groove                                           468.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 668 of 735
                                                                               Form 1                                                                              Page: 668

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2842     Bracket, Linear drive, single ball leveler                       690.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2843     Mounting bracket, stepper motor                              3,405.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2844     Adjustment plate                                                 494.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2845     Flex Arm Clamp Plate                                             450.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 669 of 735
                                                                               Form 1                                                                             Page: 669

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2846     Base, Kinematic Mount, NLP                                   4,770.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2847     Kinematic Mount Alignment Plate                              1,596.00                         0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2848     Holding Block, Temp. Sensor, Kinematic Mount                     77.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 670 of 735
                                                                               Form 1                                                                              Page: 670

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2849     Force Sensor Cover Plate                                         792.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2850     Load Cell Cover Plate                                            688.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2851     Plate, Pen Adjustment, Kinematic Mnt.                            996.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2852     Universal Pen Mtg. Bracket                                   1,196.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 671 of 735
                                                                               Form 1                                                                              Page: 671

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2853     Plate, Force Center Mount                                    2,155.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2854     Shoulder Screw, 4-40, Load cell Mtg. Screw                       200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2855     Cap, Threaded, Isolation Tube                                      0.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2856     Connector Sleeve, Isolation Tube                                 231.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 672 of 735
                                                                               Form 1                                                                              Page: 672

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2857     Isolation Tube, Lemo Connector                                    93.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2858     Strain Relief, Load cell                                         100.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2859     Gasket, Load Cell Strain Relief                                  220.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 673 of 735
                                                                               Form 1                                                                              Page: 673

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2860     Digitizer Cover Plate                                            285.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2861     SLOTTED CONNECTOR                                                 35.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2862     Bracket, Solenoid Valve & PCB                                    450.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2863     Tooling Ball, Kinematic mount, NLP                                35.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 674 of 735
                                                                                Form 1                                                                              Page: 674

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2864     Panel, Rear, Force Sensor Power Supply Box                        240.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2865     Plate, Sample Holder, Vacuum Chuck, NLP, Brass                3,620.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2866     Stamp motor mounting plate                                    1,650.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2867     Lead screw assy nut 0.188                                         180.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 675 of 735
                                                                               Form 1                                                                              Page: 675

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2868     Lead Screw Assembly                                               95.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2869     Motor alignment, bracket, single ball leveler                    870.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2870     Insert, Grommet clamp                                             25.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 676 of 735
                                                                               Form 1                                                                              Page: 676

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2871     Universal Pen Mounting Bracket                               1,671.43                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2872     Plate, Kinematic Mount,Adjustable                            1,950.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2873     Plate, Side Cover, Single Ball Leveler                            60.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2874     Plate, Cable Cover                                               441.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 677 of 735
                                                                               Form 1                                                                              Page: 677

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2875     Cover, PCB Wiring                                                280.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2876     Adjustment Shaft MTG.Bracket                                     250.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2877     Adjustment Shaft MTG. Disk                                       190.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2878     Adjustment Shaft                                                  98.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 678 of 735
                                                                               Form 1                                                                              Page: 678

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2879     Rotation Arm, Rigid, Single Ball Leveler                         488.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2880     Flex Arm Removable MTG. Bracket                                  150.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2881     PCB Cover Plate                                                  375.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 679 of 735
                                                                               Form 1                                                                              Page: 679

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2882     Adjustment Table Mtg. Block                                      990.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2883     Bearing Retaining Bracket                                        125.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2884     Spring Isolation Sleeve                                          160.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2885     Adjustment Stop Screw                                            234.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 680 of 735
                                                                               Form 1                                                                              Page: 680

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2886     Adjustment Screw, Leveling Arm                                   285.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2887     Switch Mounting Adjustment Plate                                 279.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2888     Plug, Vacuum Chuck, Long                                          60.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2889     Plug, Vacuum Chuck, Short                                        525.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 681 of 735
                                                                               Form 1                                                                              Page: 681

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2890     Force Sensor Mtg. Plate                                          580.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2891     Tube, Vacuum connection                                          108.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2892     Bearing Inner Race Clamping Nut                                   14.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 682 of 735
                                                                               Form 1                                                                              Page: 682

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2893     Stopper Screw                                                    252.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2894     Base Plate, X-Y Plate                                        1,350.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2895     Top Plate, X-Y Stage                                             597.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2896     Micrometer Bracket, X-Y Stage                                    294.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 683 of 735
                                                                               Form 1                                                                              Page: 683

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2897     Push Bracket, X-Y Stage                                          126.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2898     Shipping Bracket, X-Y Stage                                      180.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2899     Screw, Flex Table Mount                                          300.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2900     Isolation Block, Bottom                                      2,145.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 684 of 735
                                                                               Form 1                                                                              Page: 684

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2901     Isolation Block, Middle                                      2,550.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2902     Isolation Block, Top                                         2,145.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2903     Collet, .125 Dia Cable                                           135.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 685 of 735
                                                                               Form 1                                                                              Page: 685

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2904     Collet, .156 Dia. Cable                                          135.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2905     Kinematic Mount Groove Insert, Short                             225.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2906     Motor Bracket Alignment Screw                                     20.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2907     Pen Handle, Glue Version                                     2,323.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 686 of 735
                                                                                Form 1                                                                              Page: 686

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2908     GBH Motion Controller Mtg. Block, 2D Field Insta                  260.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2909     Plate, Pen Holder for Clip                                        418.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2910     Cable Restraint, Foam                                             125.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2911     Hard Stop Mtg. Block                                              170.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 687 of 735
                                                                                Form 1                                                                              Page: 687

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2912     NLP Reusable Shipping Crate (New single crate)                    824.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2913     Trunk, NLP2000 & Controller Trunk                            Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2914     Dust Cover, NLP Standard                                          266.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 688 of 735
                                                                               Form 1                                                                              Page: 688

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2915     Deionized Water Bottle                                           225.36                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2916     NLP Production Shipping Crate                                4,974.20                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2917     Step motor, Frame 14, Step size 0.9 deg                      2,085.86                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2918     Manual, NLP 2000 User Guide v2                              Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 689 of 735
                                                                               Form 1                                                                            Page: 689

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2919     Manual, NLP 2000 Getting Started Guide                      Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2920     Manual, NLP 2000 Getting Started Guide v2                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2921     Software, NLP 2000 System Software                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2922     MICROSCOPE, Z70 R&D SYSTEM                                  48,922.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 690 of 735
                                                                               Form 1                                                                              Page: 690

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2923     LENS, OBJECTIVE 10X/0.30 NA M PLAN                           3,412.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2924     72mm UV Protection Filter                                        182.90                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2925     Motor Focus Cable                                                375.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 691 of 735
                                                                               Form 1                                                                              Page: 691

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2926     Fiber Light Source                                           3,108.30                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2927     Fiber Optics Cable, 8 Feet                                   2,250.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2928     Bushing, Light Source                                            260.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2929     Workstation, NLP 2000 System & Monitor                      17,335.50                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 692 of 735
                                                                                Form 1                                                                            Page: 692

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2930     PC Workstation, NanoProfessor Program (NO Monito             12,733.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2931     Monitor, LCD/LED Display for NanoProfessor Progr              4,600.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2932     PC Workstation, NLP 2000 System (NO Monitor)                  1,676.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2933     NLP Controller PCA                                            2,344.54                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 693 of 735
                                                                               Form 1                                                                              Page: 693

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2934     RH&T Sensor PCB Assembly                                         479.67                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2935     AC Unit Front Wiring Assembly                                    413.07                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2936     AC Unit Back Wiring Assembly                                     114.45                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 694 of 735
                                                                               Form 1                                                                              Page: 694

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2937     Gumballhead 1D Module Temp Sensor                                 79.09                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2938     Gumballhead Cuboid COM and Power PCA                             140.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2939     Gumballhead Cuboid 2D Controller PCA                         2,855.93                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2940     2D TOP COVER PCA                                                 436.08                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 695 of 735
                                                                                Form 1                                                                              Page: 695

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2941     NLP electronics PCB, Motor control and Echamber               3,600.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2942     Relative Humidity and Temperature Sensor PCB                      966.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2943     AC Unit Front PCB                                                 330.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2944     AC Unit Back PCB                                                  990.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 696 of 735
                                                                               Form 1                                                                              Page: 696

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2945     BI-COLOR INDICATOR PCB                                           308.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2946     Gumballhead 1D Module Temp Sensor PCB                            200.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2947     Gumballhead Cuboid COM and Power PCB                               0.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 697 of 735
                                                                               Form 1                                                                              Page: 697

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2948     Gumballhead 2D Motion Controller PCB                             437.40                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2949     Gumballhead 2D Main PCB                                          360.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2950     GUMBALLHEAD 2D Interconnect PCB                                  627.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2951     GBH PSU PCB                                                      550.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 698 of 735
                                                                               Form 1                                                                             Page: 698

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2952     Pin, Dowel .1251_.1253DIA x 0.25L 18-8StStl                      14.88                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2953     DOWEL PIN M3 X 20 mm LONG SS 18-8                                17.86                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2954     Dowel Pin, .0625 Dia. X .125, 316 SS                              6.69                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2955     Controller box                                               5,148.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 699 of 735
                                                                               Form 1                                                                              Page: 699

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2956     Upper Bracket, AB2 Amplifier                                     140.30                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2957     Lower Bracket, AB2 Amplifier                                     323.30                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2958     Bracket, AB2 Amplifier                                           553.40                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 700 of 735
                                                                               Form 1                                                                              Page: 700

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2959     Lower rail, control box                                          744.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2960     Side Panel, Control box                                      1,234.38                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2961     AC BASE PLATE                                                    500.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2962     Bracket, Power Supply                                            463.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 701 of 735
                                                                               Form 1                                                                              Page: 701

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2963     Bracket, Power supply switching                                  432.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2964     Bracket, Motors Board                                        1,360.00                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2965     Spring, Thermocouple holder                                      274.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2966     BRACKET, FAN, POWER BOARD                                        640.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 702 of 735
                                                                               Form 1                                                                              Page: 702

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2967     RETAINER, AC UNIT SHIPPING                                       284.99                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2968     EMI SHIELD, CONTROLLER BOX                                       440.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2969     BRACKET, SHELL TO TOP                                            360.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 703 of 735
                                                                               Form 1                                                                              Page: 703

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2970     BRACKET, WIRE SUPPORT ASSEMBLY                                   586.52                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2971     RS232 HOLE COVER                                                 400.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2972     Adjustment Bracket, Y Direction                                  904.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2973     Flex table, Single ball leveler, 0.005 thick                     210.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 704 of 735
                                                                                Form 1                                                                              Page: 704

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2974     Flex Arm,.005 Beryllium Copper                                    163.24                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2975     SP-0226-01Plate, Cable Restraint                              1,020.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2976     Power Supply Support                                              735.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2977     Ext. Spring, .125 O.D. x .018 dia. Wire, x .875              Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 705 of 735
                                                                                Form 1                                                                              Page: 705

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2978     STAGE, NANOMOTION 5-AXIS XYZGG                               69,855.00                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2979     Cable, Unshielded; 3; 16 AWG; 19 x 0.0117; 0.29                     0.38                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2980     Cable; Unshielded; 6C/18AWG; 100ft                                172.47                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 706 of 735
                                                                               Form 1                                                                              Page: 706

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

2981     Multi conductor cable 20C/22AWG                                  203.80                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2982     Wire, AWG 18, Black                                                9.41                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2983     Wire, AWG 18, Solid Single Conductor, Red                         10.63                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2984     Wire, Stranded Single condutor, 18 AWG, Red                       27.89                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 707 of 735
                                                                                Form 1                                                                             Page: 707

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2985     Stranded Single Conductor; 24AWG; 300VAC; BLACK                    3.17                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2986     Stranded 1-Cond;24AWG;300VAC;RED                                   0.01                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2987     Stranded Single Conductor; 24AWG; 300VAC; GREEN                   51.76                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2988     Stranded Single Conductor,14AWG,300VAC,RED                         0.10                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 708 of 735
                                                                                Form 1                                                                              Page: 708

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2989     Cable, !0 Conductor, 300', Gray Ribbon                             11.64                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2990     Cable-Tray Rated Continuous-Flex Multi Cable Shi                  114.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2991     Category 5E Cable Standard, Gray Jacke                             25.90                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 709 of 735
                                                                                Form 1                                                                              Page: 709

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

2992     1C_16 AWG Wire, Green _Yellow                                      40.14                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2993     Cable 22C-12AWG 0.21inOD 300VAC GRAY Nonplenum                     16.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2994     Tinned Copper Expandable Mesh Sleeving 25-32"ID,                  168.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2995     SHIELDED 22AWG UL2464 15 COND                                      64.69                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                  Document      Page 710 of 735
                                                                                Form 1                                                                             Page: 710

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                             Claims Bar Date:            07/12/13

                               1                                       2                        3                          4                   5                     6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


2996     Tinned Copper Flat Braid 12AWG 40A 288Wires                       39.52                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2997     Single Stranded Conuctor, 24AWG, 300 VAC, White                    5.98                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2998     Single Stranded Conuctor, 24AWG, 300 VAC, Purple                   5.98                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


2999     Single Stranded Conuctor, 24AWG, 300 VAC, Blue                     5.91                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 711 of 735
                                                                               Form 1                                                                            Page: 711

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3000     Stranded Single Conductor; 22AWG; Yellow                         6.65                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3001     Stranded Single Conductor; 22AWG; Black                          6.83                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3002     Stranded Single Conductor; 22AWG; Green                          6.65                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                  Document      Page 712 of 735
                                                                                Form 1                                                                              Page: 712

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                          §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                              Claims Bar Date:            07/12/13

                               1                                       2                         3                          4                   5                     6

                       Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

3003     Cable 2C-22AWG; HIGH TEMP; 18KV; CLEAR                             37.06                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3004     WIRE KYNAR INS 30AWG BLACK 100'                                    10.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3005     Portable Cordage 3C-18AWG Shielded PVC Black                      274.91                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3006     Cable; Shielded; 5C-28AWG; Gray 600V; Flexible                    417.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                            Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 713 of 735
                                                                                Form 1                                                                            Page: 713

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


3007     Cable; Shielded; 2C-24AWG; Black; 200V                            0.22                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3008     Bare Copper Wire .025" Diameter, 1/4-lb Spool, 1                  4.94                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3009     Wire - Single Conductor 30AWG KYNAR INSUL RED\WI                  0.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3010     Single Conductor 30AWG KYNAR INSUL 100' SPOOL                     0.75                        0.00                                        0.00                    FA
         BL


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 714 of 735
                                                                               Form 1                                                                             Page: 714

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3011     STRANDED, 1C, 28 AWG, 300V, RED                                  12.71                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3012     STRANDED, 1C, 28 AWG, 300V, BLUE                                 16.75                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3013     STRANDED, 1C, 28 AWG, 300V, WHITE                           Unknown                           0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                 Document      Page 715 of 735
                                                                               Form 1                                                                             Page: 715

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                             Claims Bar Date:            07/12/13

                              1                                       2                        3                          4                   5                     6

                      Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



3014     Stranded 1C; 28AWG; 300V;BLACK                                   12.64                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3015     Multi-Paired Cable 2 PR 22AWG 100                                14.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3016     Braid, Tubular, 0.125in, 14AWG,Tinned Copper                      1.65                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3017     NLP 2000 Controller sub-assembly                           205,371.51                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 716 of 735
                                                                               Form 1                                                                            Page: 716

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3018     NLP 2000 Instrument sub-assembly                           578,896.78                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3019     Test item & BOM                                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3020     System, Flourescence Microscope                             38,395.50                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 717 of 735
                                                                               Form 1                                                                              Page: 717

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

3021     Accessories, NanoProfessor                                  Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3022     Book, NanoProfessor Student Laboratory Guide                     571.60                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3023     Educator Support                                            Unknown                            0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3024     System, Zeiss Flourescence Microscope                      200,071.30                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                  Document      Page 718 of 735
                                                                                Form 1                                                                            Page: 718

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/14                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


3025     System, Nanosurf? AFM                                       398,168.55                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3026     NanoSurf easyScope                                           37,000.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3027     NanoSurf Micrometer Translation Stage                        18,780.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3028     iZon, qNano Nanoparticle Characterization System            116,880.00                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                          Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 719 of 735
                                                                               Form 1                                                                              Page: 719

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3029     System, qNano Nanoparticle Analyzer                              949.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3030     Lab Supplies Kit                                                 197.14                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3031     Laboratory Kit 11                                           Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 720 of 735
                                                                               Form 1                                                                              Page: 720

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

3032     Laboratory Kit 1                                             1,616.56                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3033     Laboratory Kit 2                                                 994.28                        0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3034     Laboratory Kit 3                                             1,244.56                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3035     Laboratory Kit 5                                             1,393.36                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET

                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                 Document      Page 721 of 735
                                                                               Form 1                                                                            Page: 721

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                            Claims Bar Date:            07/12/13

                              1                                       2                       3                          4                   5                     6

                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


3036     Laboratory Kit 7                                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3037     Laboratory Kit 8                                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3038     Laboratory Kit 9                                            Unknown                          0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3039     Reflector Module for Zeiss Microscope                        1,588.65                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED


                                                                                                                                         Printed: 07/28/2014 01:08 AM   V.13.18
                                  Case 13-14126        Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                 Document      Page 722 of 735
                                                                               Form 1                                                                              Page: 722

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       13-14126 ERW                                                          Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                         Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:     06/30/14                                                              Claims Bar Date:            07/12/13

                              1                                       2                         3                          4                   5                     6

                      Asset Description                            Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3040     Kit, Training Solutions Kit, NLP 2000                       Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3041     DUST COVER, Fluorescence Microscope                              364.00                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3042     INSULATION, LEFT SUDE, HUMIDITY DISH                        Unknown                            0.00                                        0.00                    FA
           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


                                                                                                                                           Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126            Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                       Document      Page 723 of 735
                                                                                     Form 1                                                                             Page: 723

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                              §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                 Claims Bar Date:            07/12/13

                                1                                           2                        3                          4                   5                     6

                       Asset Description                                 Petition/           Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled      (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

3043     Dust Cover, NANOPROFESSOR NLP                                      1,216.00                         0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3044     Wire, Black Stranded, 18 AWG                                           28.11                        0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


3045     Prepayment to supplier, Asylum Research, 6310 Ho                 210,350.00                         0.00                                        0.00                  0.00

3046     Exhibitry in possession of Hamilton Exhibits (u)                  Unknown                       Unknown                                         0.00              Unknown

3047     All personal property located in Campbell, CA .                   Unknown                       Unknown                                  266,500.00                     FA

3048     Account receivable                                                Unknown                       Unknown                                     2,396.73                    FA

3049     10% Bid Deposit                                                         0.00                        0.00                                 119,635.39                     FA

3050     Petty Cash (u)                                                          0.00                        0.00                                       65.82                    FA
           coins on premises in Skokie collected by Trustee and
         exchanged for cashier's check for deposit

3051     Rebate from cancellation of unused insurance cov (u)                    0.00                        0.00                                  10,697.75                     FA


                                                                                                                                                Printed: 07/28/2014 01:08 AM   V.13.18
                                    Case 13-14126          Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                       Document      Page 724 of 735
                                                                                     Form 1                                                                            Page: 724

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/14                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

3052     Acquired Assets                                                        0.00                        0.00                                 925,000.00                     FA
           Sale proceeds in the aggregate amount of $925,000.00
         were received from Maynard Industries (1991), Ltd.,
         Biditup Capital Corporation, PPL Group, Capital Recovery
         Group, LLC and the Ettin Group, LLC (collectively the
         "Buyer") for the purchase of all "Acquired Assets" in bulk.
         The Sale Order of July 10, 2013 (docket 108) authorizing
         this transaction is attached to the Trustee's Report of
         Sale, which Report of Sale is reflected in this Court's
         docket as docket number 117

         Against the purchase price of $925,000.00 Trustee
         applied the Maynards Industries (1991) deposit of
         $27,500.00 received on June 25, 2013, the PPL Group,
         LLC deposit of $20,500.00 received June 26,2013, the
         Maynard's Industries 1991 bid deposit of $65,000.00
         received on June 17, 2013, and the PPL Ettin Group
         deposit of $65,000 received on June 17, 2013.

         In addition to the foegoing, the Allowed administrative
         claim of Lessor in the amount of $375,000.00 was
         satisfied from these sale procceeds pursuant to Court
         Order.

3053     Refund from AT&T via class action award (u)                            0.00                        0.00                                       10.01                    FA

3054     class action member vs. Ferderal Express Corp. (u)                Unknown                      Unknown                                         0.00              Unknown
           class action member of lawsuit against Federal Express


                                                                                                                                               Printed: 07/28/2014 01:08 AM   V.13.18
                                      Case 13-14126       Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                       Desc Main
                                                                      Document      Page 725 of 735
                                                                                     Form 1                                                                                Page: 725

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:           13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:             NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                                §341(a) Meeting Date:       05/29/13
Period Ending:         06/30/14                                                                 Claims Bar Date:            07/12/13

                                  1                                          2                         3                          4                     5                    6

                       Asset Description                                 Petition/             Estimated Net Value             Property           Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                          Values             Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                   Remaining Assets

         Corporation

3055     CLASS ACTION RECOVERY - GoKare v. Federal Expres                         0.00                         0.00                                         32.63                    FA
         (u)

3056     Refund (u)                                                               0.00                         0.00                                          3.26                    FA

3057     Sale of Designated IP Assets                                             0.00                         0.00                                    30,050.00                     FA

3058     Settlement for allocation of costs of (u)                                0.00                         0.00                                     2,737.78                     FA
          pill destruction

3058     Assets           Totals (Excluding unknown values)           $12,417,805.57                          $0.00                               $1,589,170.50                   $0.00


    Major Activities Affecting Case Closing:
              This case entails a complicated administration of both of Nano technology personal property and intellectual property. All personal property have been sold pursuant
              to orders of the Court and Trustee is in the process of marketing the intellectual property to obtain the highest maximum for the Estate

    Initial Projected Date Of Final Report (TFR): December 31, 2018                         Current Projected Date Of Final Report (TFR): December 31, 2018




                                                                                                                                                   Printed: 07/28/2014 01:08 AM   V.13.18
                                   Case 13-14126            Doc 230       Filed 07/29/14 Entered 07/29/14 22:17:33                       Desc Main
                                                                         Document      Page 726 of 735
                                                                                        Form 2                                                                                      Page: 1
                                                                Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                        Trustee:             DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                       Bank Name:           Rabobank, N.A.
                                                                                                          Account:             ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                          Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                            Separate Bond:       N/A

   1           2                             3                                           4                                           5                    6                     7
 Trans.     {Ref #} /                                                                                                            Receipts          Disbursements            Checking
  Date      Check #             Paid To / Received From                    Description of Transaction              T-Code           $                    $               Account Balance
05/06/13     {3047}       PPl Group                               Deposit for purchase of California Assets       1129-000           25,000.00                                  25,000.00
05/06/13                  Entered in error                        Entered in error                                1129-000                                                      25,000.00
05/09/13       {1}        Nano INk, INc                           turnover of bank account                        1129-000                  0.15                                25,000.15
05/09/13       {1}        Nano Ink, Inc                           turnover of debtor bank account. Amount of        1129-000        168,625.98                                 193,626.13
                                                                  check is 168,625.00 but it will not enter as
                                                                  such in the above ledger. It repeatedly will only
                                                                  accept the entry as $16.00. I need to get the
                                                                  check to the UPS box though and can not
                                                                  spend more time with data ent
05/09/13                  PPl Group                               This entry Reversed                             1129-000           25,000.00                                 218,626.13
05/09/13                  Posting error                           ERROR                                           9999-000                                 -2,744.82           221,370.95
05/09/13                  Lung Tin International Intellectual     " Wire transfer authorized by Dean Harvalis".   7100-000                                     633.90          220,737.05
                          PRoperty Agent, Ltd
05/09/13                  Isenbruck Bosl Horschler, LLP           " Wire transfer authorized by Dean Harvalis".   2420-000                                    2,047.00         218,690.05
05/09/13                  PPl Group                               Reverses above entry                            1129-000          -25,000.00                                 193,690.05
05/12/13                  Isenbruck Bosl Horschler LLP            Duplicate wire out entry / no funds             2420-000                                 -2,047.00           195,737.05
                                                                  transferred---Error
05/12/13      101         Moglia Advisors                         Per Ordrer - docket 42                          2990-000                                15,000.00            180,737.05
05/12/13                  Isenbruck Bosl Horschel LLP             " Wire transfer authorized by Dean Harvalis".   2420-000                                    2,047.00         178,690.05
                                                                  Debit Note 313003613-68300
05/13/13                  Isenbruck Bosl Horschler LLP            Bank Error Duplicate Wire Transfer--Jesse       9999-000                                 -2,744.82           181,434.87
                                                                  Osorio Banking Center
05/13/13                  Fr 5003933166 To 11015                  Fr 5003933166 To 11015                          9999-000                                    2,744.82         178,690.05
05/13/13                  Isenbruck Bosl Horschler LLP            " Wire transfer authorized by Dean       2420-000                                            697.82          177,992.23
                                                                  Harvalis".Ref # YOUR REFER. # F66179PCEP
                                                                  /Exchange rate difference 1.3409
05/13/13                  Isenbruck Bosl Horschler LLP            Isenbruck Bosl Horshler LLP Outgoing Wire       9999-000                                    2,744.82         175,247.41


                                                                                                              Subtotals :          $193,626.13           $18,378.72
  {} Asset reference(s)                                                                                                                              Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126           Doc 230     Filed 07/29/14 Entered 07/29/14 22:17:33                      Desc Main
                                                                      Document      Page 727 of 735
                                                                                    Form 2                                                                                       Page: 2
                                                           Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                      Trustee:           DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                     Bank Name:         Rabobank, N.A.
                                                                                                        Account:           ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                        Blanket Bond:      $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                          Separate Bond:     N/A

   1           2                             3                                       4                                           5                     6                     7
 Trans.     {Ref #} /                                                                                                        Receipts           Disbursements            Checking
  Date      Check #            Paid To / Received From                  Description of Transaction              T-Code          $                     $               Account Balance
05/19/13                  Bereskin & Parr, LLP/S.E.N.C.R.L,    " Wire transfer authorized by Dean Harvalis".    2420-000                                   1,146.16         174,101.25
                          srl
05/20/13                  Bank Error Duplicate Wire Transfer   Bank Error Duplicate Wire Transfer--Jesse        9999-000                                -1,361.25           175,462.50
                                                               Osorio Banking Center
05/20/13                  Fr 5003933166 To 11015               Fr 5003933166 To 11015                           9999-000                                   1,361.25         174,101.25
05/20/13                  Shimizu Patent Office                " Wire transfer authorized by Dean Harvalis".    2420-000                                   1,361.25         172,740.00
05/23/13      102         FC Skokie, LLC                       partial payment of use and occupancy for         2410-000                               20,000.00            152,740.00
                                                               Skokie lease
05/28/13     {3048}       TNT USA, Inc                         AR collection                                    1121-000              544.23                                153,284.23
05/28/13     {3047}       PPL Group, LLC                       ABA 071001737 - California asset sale            1129-000        241,500.00                                  394,784.23
                                                               balance less deposit and break up fee
05/28/13     {3048}       Lot-Quantumdesign AG                 Account receivable                               1121-000             1,292.50                               396,076.73
05/29/13                  Bereskin & Parr                      " Wire transfer authorized by Dean Harvalis".    2420-000                                   1,146.16         394,930.57
05/29/13                  SHIMIZU Patent Office                yen239,428 - exchange rate needed to post -      2420-000                                       0.00         394,930.57
                                                               $2,458.21 american dollars
05/29/13                  Isenbruck Bosl Horschler LLP                                                          2420-000                                       0.00         394,930.57
05/30/13                  Bank of Tokyo Mitsubishi- Bank       Bank of Tokyo Mitsubishi- Bank Error--           9999-000                                -2,458.21           397,388.78
                          Error                                Duplicate wire transfer
05/30/13                  Fr 5003933166 To 11015               Fr 5003933166 To 11015                           9999-000                                   2,458.21         394,930.57
05/30/13      103         Travelers Insurance                  umbrella coverage through 8/1/2013               2420-000                                   4,908.75         390,021.82
05/30/13                  Bank of Tokjo Adjustment Outgoing    Bank Error- Processed trans code outgoing        2420-000                                   2,458.21         387,563.61
                          Wire                                 wire as a transfer instead of an outgoing wire
05/31/13                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                    195.92          387,367.69
06/03/13     {3048}       City of San Jose                     A/R                                              1121-000              560.00                                387,927.69
06/03/13      {21}        Oakton Community College             A/R                                              1129-000             3,100.00                               391,027.69
06/04/13                  NASPA WIESBADEN Outgoing             Bank Error on trans code- reflects as a transfer 9999-000                                -5,606.21           396,633.90
                          Wire adjustment                      rather then a outgoing wire

                                                                                                           Subtotals :         $246,996.73            $25,610.24
  {} Asset reference(s)                                                                                                                           Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126         Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                     Document      Page 728 of 735
                                                                                    Form 2                                                                                     Page: 3
                                                            Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                    Trustee:            DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                   Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                      Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                        Separate Bond:      N/A

   1           2                            3                                       4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                       Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction             T-Code         $                    $               Account Balance
06/04/13                  Fr 5003933166 To 11015               Fr 5003933166 To 11015                          9999-000                                  5,606.21         391,027.69
06/04/13                  NASPA WIESBADEN                      " Wire transfer authorized by Dean              2420-000                                  5,606.21         385,421.48
                                                               Harvalis".Funds went out in Euros 4156.75
                                                               exchange to USD AS 5606.21
06/05/13      {12}        Dakota County Technical College                                                      1129-000             815.00                                386,236.48
06/17/13     {3049}       New Mill Capital LLC/CAL BK          10% Bid deposit                                 1129-002        47,500.00                                  433,736.48
                          TRUST LA
06/17/13     {3052}       Maynards Industries 1991 Inc/ BMA    Purchase deposit - Maynards                     1129-000        65,000.00                                  498,736.48
                          HArris Bank NA
06/17/13     {3049}       Auction Services Group a/k/a/ Loeb   10% bid                                         1129-002        60,000.00                                  558,736.48
                          Winternitz-Heritage Globa
06/17/13     {3052}       PPL Ettin Group                      Purchase deposit -                              1129-000        65,000.00                                  623,736.48
06/17/13     {3049}       Bio Force Nano Science               10% bid                                         1129-002            4,035.39                               627,771.87
06/18/13     {3049}       Rave. LLC                            10% bid deposit                                 1129-002            1,000.00                               628,771.87
06/18/13     {3049}       Rave, LLC                            10% Bid deposit                                 1129-002            2,000.00                               630,771.87
06/18/13     {3049}       Capital Asset Exchange & Trading,    10% bid deposit                                 1129-002            5,100.00                               635,871.87
                          LLC
06/20/13                  Isenbruck Bosl Horschler LLP         $2,772.03 incorrect - actual payment            2420-000                                    -50.00         635,921.87
                                                               $2,722.03
06/20/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean       2420-000                                          612.16          635,309.71
                                                               Harvalis".Ref # YOUR REFER. # F66179PCEP
06/20/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean       2420-000                                         2,772.03         632,537.68
                                                               Harvalis".Ref # YOUR REFER. # F66179PCEP
06/20/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean       2420-000                                          755.38          631,782.30
                                                               Harvalis".Ref # YOUR REFER. # F66179PCEP
06/20/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean       2420-000                                          410.84          631,371.46
                                                               Harvalis".Ref # YOUR REFER. # F66179PCEP


                                                                                                           Subtotals :        $250,450.39           $15,712.83
  {} Asset reference(s)                                                                                                                         Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126          Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                       Desc Main
                                                                      Document      Page 729 of 735
                                                                                   Form 2                                                                                         Page: 4
                                                             Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                         Trustee:         DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                        Bank Name:       Rabobank, N.A.
                                                                                                           Account:         ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                           Blanket Bond:    $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                             Separate Bond:   N/A

   1           2                             3                                         4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                         Receipts           Disbursements            Checking
  Date      Check #            Paid To / Received From                  Description of Transaction               T-Code          $                     $               Account Balance
06/20/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean       2420-000                                             811.78          630,559.68
                                                               Harvalis".Ref # YOUR REFER. # F66179PCEP
06/20/13                  SHIMIZU PATENT OFFICE                " Wire transfer authorized by Dean               2420-000                                     302.47          630,257.21
                                                               Harvalis".Ref # SHIMIZU PATENT OFFICE
06/20/13                  SHIMIZU PATENT OFFICE                " Wire transfer authorized by Dean               2420-000                                     216.81          630,040.40
                                                               Harvalis".Ref # SHIMIZU PATENT OFFICE
06/21/13      104         Harvey Bendix Auctioneers            Auctioneer                                       3610-000                                    6,475.00         623,565.40
06/21/13      105         Harvey Bendix Auctioneers            Auctioneer                                       3610-000                                     960.39          622,605.01
06/25/13     {3052}       PPPL Group, LLC                      Increase back up bid deposit to 10%              1129-000          20,500.00                                  643,105.01
06/25/13     {3052}       Maynards Industries 1991 Inc         Increase successful bid deposit to 10%           1129-000          27,500.00                                  670,605.01
06/25/13      106         New Mill Capital                     Return of bid deposit                            2990-002                                47,500.00            623,105.01
06/25/13      107         BioForce Nano Sciences               Return of bid deposit                            2990-000                                    4,035.39         619,069.62
06/25/13      108         Capital Asset Exchange & Trading,    Return of bid deposit                            2990-000                                    5,100.00         613,969.62
                          LLC
06/25/13      109         Rave, LLC                            Return of bid deposit                            2990-000                                    2,000.00         611,969.62
06/25/13      110         Rave, LLC                            Return of bid deposit- unqualified bidder        2990-000                                    1,000.00         610,969.62
06/25/13      111         Auction Services Group a/k/a Loeb    Return of bid deposit                            2990-000                                60,000.00            550,969.62
                          Winternitz - Global Herita
06/26/13                  Takino, Kawasaki & Associates        " Wire transfer authorized by Dean Harvalis"     2420-000                                    5,458.80         545,510.82
06/28/13                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     649.82          544,861.00
07/01/13     {3050}       NanoInk, Inc                         coins on premises in Skokie collected by      1290-000                   65.82                                544,926.82
                                                               Trustee and exchanged for cashier's check for
                                                               deposit
07/02/13     {3051}       Travelers Property & Casualty CL     insurance coverage rebate                        1290-000              1,537.00                               546,463.82
                          Agency
07/11/13     {3052}       Maynards Industries 1991 Inc         balance of purchase price for acquired assets    1129-000         747,000.00                                1,293,463.82
                                                               less deposits of PPL and Maynards

                                                                                                            Subtotals :         $796,602.82          $134,510.46
  {} Asset reference(s)                                                                                                                            Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126         Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                    Desc Main
                                                                     Document      Page 730 of 735
                                                                                Form 2                                                                                      Page: 5
                                                         Cash Receipts And Disbursements Record
Case Number:        13-14126 ERW                                                                    Trustee:             DEBORAH K. EBNER, Trustee (330480)
Case Name:          NANOINK, INC.                                                                   Bank Name:           Rabobank, N.A.
                                                                                                    Account:             ******3166 - Checking Account
Taxpayer ID #:      **-***6802                                                                      Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending:      06/30/14                                                                        Separate Bond:       N/A

   1           2                            3                                     4                                           5                   6                     7
 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements            Checking
  Date      Check #            Paid To / Received From                Description of Transaction             T-Code           $                  $               Account Balance
07/16/13      112         Carol Raber                       Court Reporter                                  2500-000                                   616.25        1,292,847.57
07/16/13      113         FC Skokie, LLC                    Settled post petition rent claim per Court order- 2410-000                           355,000.00            937,847.57
                                                            full and final payment
07/22/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                   210.60          937,636.97
                                                            Harvalis"#313005987-68313 - Euro 155.00
07/22/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                   210.60          937,426.37
                                                            Harvalis"313005984-68313 Euro 155.00
07/22/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                   210.60          937,215.77
                                                            Harvalis"313005980-68313 Euro 155.00
07/22/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                   210.60          937,005.17
                                                            Harvalis"313005978-68313 Euro 155.00
07/22/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                   210.60          936,794.57
                                                            Harvalis"313005974-68313 Euro 155.00
07/22/13                  Harrison Goddard Foote            " Wire transfer authorized by Dean Harvalis"Inv 2420-000                                   142.10          936,652.47
                                                            299340 - GB 90.00
07/22/13                  Gowlings                          " Wire transfer authorized by Dean Harvalis"Inv 2420-000                                   122.92          936,529.55
                                                            # 17751706
07/25/13      114         Law Office of Deborah Kanner      Per Ordrer - docket #109                        3110-000                              20,000.00            916,529.55
                          Ebner
07/26/13                  Isenbruck Bosl Horschler LLP      " Wire transfer authorized by Dean              2420-000                                  3,586.60         912,942.95
                                                            Harvalis"313005505-68313 -Euro 2,61490
07/31/13                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                  1,394.55         911,548.40
08/13/13      115         Viking Printing                   Copies                                          2500-002                                   216.00          911,332.40
08/27/13      116         Hacienda Investors                PAYMENT STOPPED                                 2410-000                              26,013.00            885,319.40
                                                            Stopped on 11/19/13
08/30/13                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                  1,310.98         884,008.42
09/09/13      117         Viking Printing                   Copiesof pleadings for mailing of notices       2500-000                                   122.10          883,886.32
                                                            Voided on 09/09/13
                                                                                                        Subtotals :                $0.00       $409,577.50
  {} Asset reference(s)                                                                                                                      Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126           Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                  Desc Main
                                                                       Document      Page 731 of 735
                                                                                    Form 2                                                                                    Page: 6
                                                           Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                    Trustee:           DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                   Bank Name:         Rabobank, N.A.
                                                                                                      Account:           ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                      Blanket Bond:      $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                        Separate Bond:     N/A

   1           2                            3                                       4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                  Description of Transaction             T-Code         $                    $               Account Balance
09/09/13      117         Viking Printing                     Copiesof pleadings for mailing of notices       2500-000                                   -122.10         884,008.42
                                                              Voided: check issued on 09/09/13
09/09/13      118         Viking Printing                     Copies                                          2200-000                                   122.10          883,886.32
09/12/13      {20}        Oakton Community College District   balance due                                     1129-000        59,500.00                                  943,386.32
                          535
09/18/13     {3051}       Travelers Property Casualty CL      Refund Travelers #3704MA096                     1290-000            9,160.75                               952,547.07
                          Agency
09/19/13      119         Anthony Scandora                    Fees and Expense Reimbursement per Order        2990-000                                  7,003.98         945,543.09
                                                              -doc #147
09/19/13      120         Quarrels & Brady LLP                Per Order - doc 148                             3210-000                             208,032.01            737,511.08
09/19/13      121         Quarles & Brady LLP                 Per Order - doc 148                             3220-000                              13,033.43            724,477.65
09/19/13      122         Moglia Advisors                     VOID                                            2990-000                                  3,919.00         720,558.65
                                                              Voided on 09/19/13
09/19/13      122         Moglia Advisors                     VOID                                            2990-000                               -3,919.00           724,477.65
                                                              Voided: check issued on 09/19/13
09/19/13      123         Pacific Gas and Electric            VOID                                            2410-000                                   461.64          724,016.01
                                                              Voided on 09/19/13
09/19/13      123         Pacific Gas and Electric            VOID                                            2410-000                                   -461.64         724,477.65
                                                              Voided: check issued on 09/19/13
09/19/13      124         The Ettin Group                     VOID                                            2410-000                                  8,305.81         716,171.84
                                                              Voided on 09/19/13
09/19/13      124         The Ettin Group                     VOID                                            2410-000                               -8,305.81           724,477.65
                                                              Voided: check issued on 09/19/13
09/19/13      125         Moglia Advisors                     Per Ordrer - docket #146                        2990-000                                  3,919.00         720,558.65
09/19/13      126         Pacific Gas and Electric            Per Ordrer - docket #149                        2410-000                                   461.64          720,097.01
09/19/13      127         The Ettin Group                     VOID                                            2410-000                                  8,305.81         711,791.20
                                                              Voided on 09/19/13


                                                                                                          Subtotals :         $68,660.75         $240,755.87
  {} Asset reference(s)                                                                                                                        Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126            Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                        Document      Page 732 of 735
                                                                                    Form 2                                                                                     Page: 7
                                                            Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                     Trustee:            DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                    Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                         Separate Bond:      N/A

   1           2                            3                                        4                                          5                    6                     7
 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction            T-Code           $                   $               Account Balance
09/19/13      127         The Ettin Group                      VOID                                           2410-000                                -8,305.81           720,097.01
                                                               Voided: check issued on 09/19/13
09/19/13      128         The Ettin Group                      Per Ordrer - docket #149                       2410-000                                   8,305.81         711,791.20
09/30/13                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   1,268.45         710,522.75
10/01/13     {3053}       ATT Mobility Universal Services      refund fo Universal Services Charges that were 1249-000               10.01                                710,532.76
                          Fund                                 paid to AT&T Mobility
10/02/13      129         Deborah K. Ebner, Trustee            Per Ordrer - docket #154                       2100-000                               39,495.53            671,037.23
10/02/13      130         Deborah K. Ebner, Trustee            VOID                                           2200-000                                   1,198.39         669,838.84
                                                               Voided on 10/02/13
10/02/13      130         Deborah K. Ebner, Trustee            VOID                                           2200-000                                -1,198.39           671,037.23
                                                               Voided: check issued on 10/02/13
10/02/13      131         Deborah K. Ebner, Trustee            Per Ordrer - docket #154                       2200-000                                   1,198.39         669,838.84
10/21/13      132         Viking Printing                      Copies                                         2500-002                                    259.00          669,579.84
10/31/13                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   1,110.80         668,469.04
11/19/13      116         Hacienda Investors                   PAYMENT STOPPED                                2410-000                              -26,013.00            694,482.04
                                                               Stopped: check issued on 08/27/13
11/29/13                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                    932.31          693,549.73
12/02/13      133         Northwestern University              Ref # NORTHWESTERN                             2420-000                                   6,852.02         686,697.71
12/04/13                  Isenbruck Bosl Horschler LLP         VOIDED Deposit Rev. 57 Wire Transfer           2420-000                                -4,801.42           691,499.13
12/04/13                  Isenbruck Bosl Horschler LLP         Actual wire was 4801.42 - prior entry entered in 2420-000                           -342,225.00          1,033,724.13
                                                               error
12/04/13                  Isenbruck Bosl Horschler LLP         approx. $4,801.42 American / as of 12/4/13     2420-000                              342,225.00            691,499.13
12/04/13                  Isenbruck Bosl Horschler LLP         VOIDED                                         2420-000                                   4,801.42         686,697.71
12/04/13                  Isenbruck Bosl Horschler LLP         " Wire transfer authorized by Dean Harvalis"   2420-000                                   4,801.42         681,896.29
                                                               Wire transfer
12/31/13                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   1,091.15         680,805.14
01/08/14      134         Paychex, Inc                         Ref # #405-2963                                2690-000                                    490.58          680,314.56

                                                                                                         Subtotals :                 $10.01         $31,486.65
  {} Asset reference(s)                                                                                                                         Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126            Doc 230      Filed 07/29/14 Entered 07/29/14 22:17:33                     Desc Main
                                                                        Document      Page 733 of 735
                                                                                     Form 2                                                                                       Page: 8
                                                            Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                          Trustee:         DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                         Bank Name:       Rabobank, N.A.
                                                                                                            Account:         ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                            Blanket Bond:    $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                              Separate Bond:   N/A

   1           2                             3                                         4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction               T-Code          $                    $               Account Balance
01/23/14     {3058}       McElroy, Deutsch, Mulvaney &         settlement for allocation of costs of pill        1229-000             2,737.78                               683,052.34
                          Carpenter, LLP                       destruction
01/27/14      135         Hacienda Investments                 FInal resolution of use and occuapncy claim for 2410-000                                 26,013.00            657,039.34
                                                               Campbell CA premises
01/29/14     {3055}       Gokare Settlement Administrator      Class Action recovery                             1249-000                 5.00                               657,044.34
01/29/14     {3055}       GoKare Settlement Adminstrator       Class Action recovery                             1249-000               27.63                                657,071.97
01/31/14                  Rabobank, N.A.                       Bank and Technology Services Fee                  2600-000                                   1,022.60         656,049.37
02/03/14      136         International Sureties               BOND PREMIUM PAYMENT ON LEDGER                    2300-000                                    895.21          655,154.16
                                                               BALANCE AS OF 02/03/2014 FOR CASE
                                                               #13-14126, Bond #016026455
02/12/14     {3057}       1/XIE NING/China Merchants Bank      (Bo He - APA deposit)                             1129-000             7,525.00                               662,679.16
02/12/14                  Kim & Chang                          " Wire transfer authorized by Dean Harvalis"      2420-000                                   1,359.57         661,319.59
02/12/14                  Kim & Chang                          " Wire transfer authorized by Dean Harvalis"      2420-000                                   1,361.35         659,958.24
02/12/14                  Shimizu Patent Office                                                                  2420-000                                       0.00         659,958.24
02/12/14                  SHIMIZU PATENT OFFICE                Ref # SHIMIZU PATENT OFFICE                       2420-000                                   1,353.57         658,604.67
02/12/14                  SHIMIZU PATENT OFFICE                Ref # SHIMIZU PATENT OFFICE                       2420-000                                   1,628.53         656,976.14
02/13/14                  To Account #******3167               Deposit of Advanced (Bo He) for asset sale -      9999-000                                   7,500.00         649,476.14
                                                               IP
02/28/14                  Rabobank, N.A.                       Bank and Technology Services Fee                  2600-000                                    890.93          648,585.21
03/17/14     {3057}       Advanced Nanosolutions, LLC          Balance of purchase price per order               1129-000         22,525.00                                  671,110.21
03/20/14                  From Account #******3167                                                               9999-000             7,500.00                               678,610.21
03/20/14      137         Viking Printing                      Copies                                            2500-000                                   1,200.60         677,409.61
03/20/14      138         Ettin Group, LLC                     VOID                                              2420-000                               21,035.00            656,374.61
                                                               Voided on 03/20/14
03/20/14      138         Ettin Group, LLC                     VOID                                              2420-000                              -21,035.00            677,409.61
                                                               Voided: check issued on 03/20/14
03/20/14      139         Popowcer Katten                      Per Order - docket 212                            3410-000                               10,732.50            666,677.11

                                                                                                             Subtotals :          $40,320.41           $53,957.86
  {} Asset reference(s)                                                                                                                            Printed: 07/28/2014 01:08 AM    V.13.18
                                   Case 13-14126         Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                 Desc Main
                                                                   Document      Page 734 of 735
                                                                                Form 2                                                                                   Page: 9
                                                         Cash Receipts And Disbursements Record
Case Number:          13-14126 ERW                                                                 Trustee:         DEBORAH K. EBNER, Trustee (330480)
Case Name:            NANOINK, INC.                                                                Bank Name:       Rabobank, N.A.
                                                                                                   Account:         ******3166 - Checking Account
Taxpayer ID #:        **-***6802                                                                   Blanket Bond:    $5,000,000.00 (per case limit)
Period Ending:        06/30/14                                                                     Separate Bond:   N/A

   1           2                             3                                     4                                     5                     6                     7
 Trans.     {Ref #} /                                                                                                 Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                Description of Transaction         T-Code          $                    $               Account Balance
03/20/14      140         Popowcer Katten                   Per Order - docket 212                      3320-000                                     39.82          666,637.29
03/20/14      141         Anthony Scandora                  Ref # S                                     2990-000                                   9,712.50         656,924.79
03/20/14      142         Anthony Scandora                  Ref # S                                     2990-000                                   1,511.63         655,413.16
03/20/14      143         Deborah K. Ebner, Trustee         Per Order - docket 210                      2200-000                                   5,048.00         650,365.16
03/20/14      144         Law Office of Deborah Kanner      Ref # EBNER LAW                             3110-000                               49,685.13            600,680.03
                          Ebner
03/20/14      145         Ettin Group, LLC                  Per Order of 3/20/14                        2420-000                               21,035.99            579,644.04
03/31/14      146         Jackleen De Fini, CSR, RPR        Court Reporter                              2500-000                                     15.00          579,629.04
03/31/14                  Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                    906.01          578,723.03
04/02/14      147         Carol Raber                       Court Reporter                              2500-000                                    152.00          578,571.03
04/04/14                  SHIMIZU PATENT OFFICE             EXTENSION OF PATENT RIGHTS                  2420-000                                    274.81          578,296.22
04/25/14                  Isenbruck Bosl Horschler LLP      Wired - Refund                              2420-000                                -1,814.80           580,111.02
04/30/14                  Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                    887.95          579,223.07
05/27/14     {3056}       FedEx                             Refund Fedex                                1221-000                 3.26                               579,226.33
05/30/14                  Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                    833.12          578,393.21
06/30/14                  Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                    804.20          577,589.01
                                                                             ACCOUNT TOTALS                            1,596,670.50         1,019,081.49           $577,589.01
                                                                                 Less: Bank Transfers                      7,500.00             7,500.00
                                                                             Subtotal                                  1,589,170.50         1,011,581.49
                                                                                 Less: Payments to Debtors                                             0.00
                                                                             NET Receipts / Disbursements             $1,589,170.50        $1,011,581.49




  {} Asset reference(s)                                                                                                                   Printed: 07/28/2014 01:08 AM    V.13.18
                                  Case 13-14126          Doc 230    Filed 07/29/14 Entered 07/29/14 22:17:33                   Desc Main
                                                                   Document      Page 735 of 735
                                                                                Form 2                                                                                 Page: 10
                                                         Cash Receipts And Disbursements Record
Case Number:        13-14126 ERW                                                                    Trustee:          DEBORAH K. EBNER, Trustee (330480)
Case Name:          NANOINK, INC.                                                                   Bank Name:        Rabobank, N.A.
                                                                                                    Account:          ******3167 - Checking Account
Taxpayer ID #:      **-***6802                                                                      Blanket Bond:     $5,000,000.00 (per case limit)
Period Ending:      06/30/14                                                                        Separate Bond:    N/A

   1           2                         3                                       4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                   Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From               Description of Transaction            T-Code          $                    $               Account Balance
02/13/14                  From Account #******3166          Deposit of Advanced (Bo He) for asset sale -   9999-000            7,500.00                                    7,500.00
                                                            IP
03/20/14                  To Account #******3166                                                           9999-000                                  7,500.00                  0.00
                                                                            ACCOUNT TOTALS                                     7,500.00              7,500.00                $0.00
                                                                                Less: Bank Transfers                           7,500.00              7,500.00
                                                                            Subtotal                                               0.00                  0.00
                                                                                Less: Payments to Debtors                                                0.00
                                                                            NET Receipts / Disbursements                          $0.00                $0.00



                                                                                                                             Net               Net                   Account
                                                                            TOTAL - ALL ACCOUNTS                           Receipts       Disbursements              Balances
                                                                            Checking # ******3166                        1,589,170.50         1,011,581.49            577,589.01
                                                                            Checking # ******3167                                0.00                 0.00                  0.00

                                                                                                                        $1,589,170.50        $1,011,581.49           $577,589.01




  {} Asset reference(s)                                                                                                                     Printed: 07/28/2014 01:08 AM     V.13.18
